Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 1 of 355




             EXHIBIT
               40
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 2 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 3 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 4 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 5 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 6 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 7 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 8 of 355




             EXHIBIT
               41
       Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 9 of 355




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,              §
                                                 §
                    Plaintiffs                   §
                                                 §
       v.                                        §       Consolidated Case
                                                 §       No. 5:21-cv-00844-XR
THE STATE OF TEXAS, et al.,                      §
                                                 §
                    Defendants.
                                                 §
                                                 §

 DEFENDANT LISA WISE’S OBJECTIONS AND SUPPLEMENTAL AND AMENDED
       RESPONSES TO LUPE PLAINTIFFS’ AMENDED THIRD SET OF
                         INTERROGATORIES

PROPOUNDING PARTY:               LUPE PLAINTIFFS

RESPONDING PARTY:                DEFENDANT LISA WISE

SET NUMBER:                      THREE

       Pursuant to Federal Rules of Civil Procedure 26 and 33, Defendant Lisa Wise, in her

official capacity as the El Paso County Elections Administrator, responds as follows to LUPE

Plaintiffs’ Amended Third Set of Interrogatories (the “Interrogatories,” and each individually, an

“Interrogatory”):

I.     GENERAL RESPONSES.

       1.      These responses and objections are made solely for the purpose of and in relation

to this matter.     Defendant’s responses herein are based only upon the information and

documentation that is presently available and known to Defendant. It is possible that further

investigation, discovery, analysis, legal research, and/or preparation may result in ascertainment

of additional documentation or provide additional meaning to currently known factual conclusions

and legal contentions, all of which may result in the modification of these objections and responses.

Accordingly, Defendant reserves the right to amend and/or supplement her responses and

objections at a later time and to make additional objections that may become apparent. By this
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 10 of 355




statement, however, Defendant does not agree to or adopt any duty to supplement beyond those

set forth in the Federal Rules of Civil Procedure, the Local Rules, or any applicable rule or order.

       2.      The following General Responses and Objections apply to each Interrogatory

propounded by Plaintiffs and are incorporated by reference into each of the specific Interrogatory

responses with the same force and effect as if set forth in full therein.

       3.      Defendant reserves the right to make any use of, or to introduce at any hearing and

at trial, information and/or documents responsive to the Interrogatories but discovered subsequent

to the date of this response, including, but not limited to, any such information or documents

obtained in discovery in this matter.

       4.      Defendant will not respond to Interrogatories that Defendant or any other party to

this litigation deems to embody material that is private, business confidential, proprietary, trade

secret, or otherwise protected from disclosure pursuant to Texas law, Federal Rule of Civil

Procedure 26(c)(7), or Federal Rule of Evidence 501. Under appropriate circumstances, Defendant

may agree to respond to such Interrogatories pursuant to the Stipulated Confidentiality and

Protective Order entered in the above-captioned case (ECF No. 237).

       5.      Defendant reserves all objections or other questions as to the competency,

relevance, materiality, privilege, or admissibility as evidence in any subsequent proceeding in or

trial of this or any other action for any purpose whatsoever of this response and any document or

thing identified or provided in response to the Interrogatories.

       6.      Defendant will not construe the Interrogatories as an attempt to impose discovery

obligations on Defendant beyond those authorized by the Federal Rules of Civil Procedure.

Defendant will not undertake discovery obligations beyond those authorized by the Federal Rules

of Civil Procedure or the applicable Local Rules.

       7.      Defendant reserves the right to object on any ground at any time to such other or

supplemental interrogatories as Plaintiffs may at any time propound involving or relating to the

subject matter of these Interrogatories.
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 11 of 355




II.    GENERAL OBJECTIONS.

       1.      Defendant objects to all Definitions, Instructions, and Interrogatories inclusive, to

the extent they purport to enlarge, expand, or alter in any way the plain meaning and scope of any

specific Interrogatory on the ground that such enlargement, expansion, or alteration renders said

Interrogatory vague, ambiguous, unintelligible, overly broad, unduly burdensome, and uncertain.

       2.      Defendant objects to all Definitions, Instructions, and Interrogatories inclusive,

insofar as they seek information protected by the attorney-client privilege, the work product

doctrine, the common interest or joint defense privilege, or any other applicable privilege or

protection from discovery. Such information or documents shall not be produced in response to

the Interrogatories and any inadvertent disclosure or production thereof shall not be deemed a

waiver of any privilege or right with respect to such documents or information or documents or of

any work product immunity that may attach thereto.

       3.      Defendant objects to all Definitions, Instructions, and Interrogatories inclusive, to

the extent they seek information protected from disclosure pursuant to Texas law or Federal Rule

of Evidence 501. Such information shall not be provided in response to the Interrogatories, and

any inadvertent production thereof shall not be deemed a waiver of any privilege or right with

respect to such information.

       4.      Defendant objects to Definition No. 1 to the extent it defines the “County” to mean

“Defendant Lisa Wise and any of their past or present agents, advisors, employees, representatives,

attorneys, consultants, contractors, or other persons or entities acting or purporting to act on

Defendant’s behalf or subject to Defendant’s control.” Said definition is vague and ambiguous.

Defendant will interpret the “County” to mean Defendant Lisa Wise and the El Paso County

Elections Department.

       5.      Defendant objects to Definition No. 3 to the extent it defines “ABBM” to mean

“Application for a Ballot By Mail.” Said definition is vague and ambiguous to the extent it

potentially encompasses multiple types of applications for ballots by mail. Defendant will

interpret “ABBM” to mean an application for ballot by mail as described in Section 84.001 of the
       Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 12 of 355




Texas Election Code, and to exclude any such applications made by military personnel or other

persons overseas as described in Section 105.001 of the Texas Election Code.

        6.      Defendant objects to Definition No. 4 on the grounds that it is vague and ambiguous

to the extent it defines “Omission Defect,” in relevant part, as an “impairment” because this term

is neither self-evident nor defined. Defendant will interpret the term to mean any defect on an

ABBM or ballot carrier envelope caused by a voter failing to provide the number from his or her

driver’s license, election identification certificate, or personal identification card, or the last four

digits of his or her social security number, or failing to state that he or she has never been issued

such a number.

        7.      Defendant objects to Definition No. 5 on the grounds that it is vague and ambiguous

to the extent it defines “Mismatch Defect,” in relevant part, as an “impairment” because this term

is neither self-evident nor defined. Defendant will interpret the term to mean any defect on an

ABBM or ballot carrier envelope caused by a voter failing to provide a number from his or her

driver’s license, election identification certificate, or personal identification card, or the last four

digits of his or her social security number that matches one associated with their voter file.

        8.      Defendant objects to Instruction No. 6 to the extent it seeks to enlarge Defendant’s

obligations under the Federal Rules of Civil Procedure. Defendant is willing to meet and confer

with Plaintiffs regarding any attorney-client-privilege or work-product objection that she makes.

        9.      Defendant objects to Instruction No. 7 to the extent that it seeks to impose an

obligation to provide supplemental information greater than that required by the Federal Rules of

Civil Procedure. Defendant also objects to the extent it seeks information protected by the

attorney-client privilege, attorney work product doctrine, or any applicable privilege or protection.

Defendant further objects to Instruction No. 7 on the grounds that it would subject Defendant to

unreasonable and undue annoyance, oppression, burden, and expense.

III.    SPECIFIC OBJECTIONS AND RESPONSES TO INTERROGATORIES.

        Without waiving or limiting in any manner any of the foregoing General Objections, but

rather incorporating them into each of the following responses to the extent applicable, Defendant
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 13 of 355




responds to the specific interrogatories in LUPE Plaintiffs’ Third Set of Interrogatories as follows:

INTERROGATORY NO. 1:

       State the following data regarding ABBMs and mail ballots from the November 2022

General Election:

       a. Number of ABBMs received by the County;

       b. Number of ABBMs the County flagged for rejection because of an application defect

           of any kind;

       c. Number of ABBMs that the County ultimately accepted after an applicant cured a

           recorded defect of any kind;

       d. Number of ABBMs the County flagged for rejection because of an Omission Defect;

       e. Number of ABBMs the County flagged for rejection because of a Mismatch Defect;

       f. Number of ABBMs that the County ultimately accepted after an applicant cured either

           a Mismatch Defect or Omission Defect;

       g. Number of ABBMs the County ultimately rejected because of an Omission Defect or

           Mismatch Defect;

       h. Number of ABBMs the County ultimately rejected because of any other reason;

       i. Number of ABBMs the County ultimately accepted;

       j. Number of mail ballots received by the County;

       k. Number of carrier envelopes the County received and reviewed for defects of any kind;

       l. Number of carrier envelopes the County flagged for rejection because of a defect of

           any kind;

       m. Number of mail ballots cancelled by voters who voted in person, either using an

           ordinary or provisional ballot;

       n. Number of mail ballots that the County ultimately accepted and counted after a voter

           cured a carrier envelope defect of any kind;

       o. Number of carrier envelopes the County flagged for rejection because of an Omission

           Defect;
          Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 14 of 355




          p. Number of carrier envelopes the County flagged for rejection because of a Mismatch

             Defect;

          q. Number of carrier envelopes the County flagged for rejection because of an Omission

             Defect or Mismatch Defect, then the mail ballot was cancelled by the voter;

          r. Number of ballots that the County ultimately accepted and counted after a voter cured

             either a Mismatch Defect or Omission Defect; and

          s. Number of mail ballots ultimately accepted and counted by the County.

RESPONSE TO INTERROGATORY NO. 1:

          In addition to the foregoing General Objections, which Defendant incorporates by

reference herein, Defendant objects to this Interrogatory because it is improperly compound and

contains multiple subparts. Defendant further objects that this Interrogatory’s subparts (g)-(s)

exceed the 25 interrogatory limit imposed by Federal Rule of Civil Procedure 33(a)(1) when

considered in the aggregate with prior interrogatories served by LUPE Plaintiffs and when the

discrete subparts in all sets of interrogatories served by LUPE Plaintiffs are considered. In

responding to these Interrogatories, Defendant reserves all rights to raise objections to Plaintiffs

serving Interrogatories beyond those permitted under the Federal Rules of Civil Procedure in the

future.

          Without waiving the General and Specific Objections above, Defendant responds that for

the November 2022 General Election, El Paso County (a) received 10,380 ABBMs; (b) flagged

238 ABBMs for rejection because of an application defect of any kind; (c) does not maintain a

record of the number of ABBMs ultimately accepted after an applicant cured a recorded defect of

any kind; (d) does not maintain a record of the number of ABBMs flagged for rejection because

of an Omission Defect; (e) does not maintain a record of the number of ABBMs flagged for

rejection because of a Mismatch Defect; (f) does not maintain a record of the number of ABBMs

ultimately accepted after an applicant cured either a Mismatch Defect or Omission Defect; (g)

ultimately rejected 157 ABBMs because of an Omission Defect or Mismatch Defect; (h) ultimately

rejected 81 ABBMs for any other reason; (i) ultimately accepted 10,142 ABBMs; (j) received
          Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 15 of 355




8,866 mail ballots; (k) received and reviewed 8,264 carrier envelopes for defects of any kind; (l)

flagged 1,191 carrier envelopes for rejection because of a defect of an kind; (m) had 639 mail

ballots that were cancelled by voters who voted in person, either using an ordinary or provisional

ballot; (n) ultimately accepted and counted 602 mail ballots after a voter cured a carrier envelope

defect of any kind; (o) does not maintain a record of the number of carrier envelopes flagged for

rejection because of an Omission Defect; (p) does not maintain a record of the number of carrier

envelopes flagged for rejection because of a Mismatch Defect; (q) does not maintain a record of

the number of carrier envelopes flagged for rejection because of an Omission Defect or Mismatch

Defect, then the mail ballot was cancelled by the voter; (r) ultimately accepted and counted 598

mail ballots after a voter cured either a Mismatch Defect or Omission Defect; and (s) ultimately

accepted and counted 8,103 mail ballots during the November 2022 General Election in Texas.

Defendant further responds that 157 ABBMs were flagged for rejection because of either an

Omission Defect or a Mismatch Defect.

SUPPLEMENTAL AND AMENDED RESPONSE TO INTERROGATORY NO. 1:
          In addition to the foregoing General Objections, which Defendant incorporates by

reference herein, Defendant objects to this Interrogatory because it is improperly compound and

contains multiple subparts. Defendant further objects that this Interrogatory’s subparts (g)-(s)

exceed the 25 interrogatory limit imposed by Federal Rule of Civil Procedure 33(a)(1) when

considered in the aggregate with prior interrogatories served by LUPE Plaintiffs and when the

discrete subparts in all sets of interrogatories served by LUPE Plaintiffs are considered. In

responding to these Interrogatories, Defendant reserves all rights to raise objections to Plaintiffs

serving Interrogatories beyond those permitted under the Federal Rules of Civil Procedure in the

future.

          Without waiving the General and Specific Objections above, Defendant responds that for

the November 2022 General Election, El Paso County (a) received 10,380 ABBMs, excluding

Federal Post Card Applications; (b) rejected 238 ABBMs because of an application defect of any

kind, and does not separately maintain records of the total number of ABBMs initially flagged due
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 16 of 355




to a defect of any kind; (c) does not maintain a record of the number of ABBMs ultimately accepted

after an applicant cured a recorded defect of any kind; (d) does not maintain a record of the number

of ABBMs flagged for rejection because of an Omission Defect; (e) does not maintain a record of

the number of ABBMs flagged for rejection because of a Mismatch Defect; (f) does not maintain

a record of the number of ABBMs ultimately accepted after an applicant cured either a Mismatch

Defect or Omission Defect; (g) ultimately rejected 157 ABBMs because of an Omission Defect or

Mismatch Defect; (h) ultimately rejected 81 ABBMs for any other reason; (i) ultimately accepted

10,142 ABBMs; (j) received 8,866 mail ballots; (k) received and reviewed 8,264 carrier envelopes

for defects of any kind; (l) flagged 1,191 carrier envelopes for rejection because of a defect of an

kind; (m) had 639 mail ballots, including 8 FPCA [Federal Post Card Application] ballots, that

were cancelled by voters who voted in person, either using an ordinary or provisional ballot; (n)

ultimately accepted and counted 602 mail ballots after a voter cured a carrier envelope defect of

any kind; (o) does not maintain a record of the number of carrier envelopes flagged for rejection

because of an Omission Defect; (p) does not maintain a record of the number of carrier envelopes

flagged for rejection because of a Mismatch Defect; (q) does not maintain a record of the number

of carrier envelopes flagged for rejection because of an Omission Defect or Mismatch Defect, then

the mail ballot was cancelled by the voter; (r) ultimately accepted and counted 598 mail ballots

after a voter cured either a Mismatch Defect or Omission Defect; and (s) ultimately accepted and

counted 8,103 mail ballots during the November 2022 General Election in Texas. Defendant

further responds that 157 ABBMs were flagged for rejection because of an Omission Defect, a

Mismatch Defect, or both. While the El Paso County Elections Department maintains records for

ABBMs rejected due to an identification document defect, it does not designate such defects as

“Omission” defects or “Mismatch” defects, and so 157 ABBMs were ultimately rejected because

of any identification document defect, i.e., including, potentially, an “Omission” defect, a

“Mismatch” defect, or both.

INTERROGATORY NO. 2:

       State the following data regarding ABBMs and mail ballots from the November 2020
       Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 17 of 355




General Election:

        a. Number of ABBMs the County received;

        b. Number of ABBMs the County rejected;

        c. Number of carrier envelopes the County received and reviewed in processing ballots

            by mail;

        d. Number of carrier envelopes the County flagged for defects of any kind;

        e. Number of mail ballots cancelled by voters who voted in person, either using an

            ordinary or provisional ballot; and

        f. Number of carrier envelopes with defects of any kind that were cured and ultimately

            counted.

RESPONSE TO INTERROGATORY NO. 2:
        In addition to the foregoing General Objections, which Defendant incorporates by

reference herein, Defendant objects to this Interrogatory because it is improperly compound and

contains multiple subparts. Defendant further objects that this Interrogatory exceeds the 25

interrogatory limit imposed by Federal Rule of Civil Procedure 33(a)(1) when considered in the

aggregate with prior interrogatories served by LUPE Plaintiffs and when the discrete subparts in

all sets of interrogatories served by LUPE Plaintiffs are considered. In responding to these

Interrogatories, Defendant reserves all rights to raise objections to Plaintiffs serving Interrogatories

beyond those permitted under the Federal Rules of Civil Procedure in the future. Defendant further

objects that subparts (a) and (b) are duplicative of Interrogatories 8 and 9 served in Plaintiffs’ First

Set of Interrogatories, to which Defendant has already responded.

        Without waiving the General and Specific Objections above, Defendant responds that for

the November 2020 General Election (a) El Paso County received 46,563 ABBMs; (b) El Paso

County rejected 1,535 ABBMs; (c) El Paso County received and reviewed 26,563 carrier

envelopes in processing ballots by mail; (d) El Paso County flagged 115 carrier envelopes for

defects of any kind; (e) 2,748 mail ballots were cancelled by voters who voted in person, either

using an ordinary or provisional ballot; and (f) does not maintain a record of the number of carrier
       Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 18 of 355




envelopes with defects of any kind that were cured and ultimately counted in the November 2020

election.

SUPPLEMENTAL AND AMENDED RESPONSE TO INTERROGATORY NO. 2:

        In addition to the foregoing General Objections, which Defendant incorporates by

reference herein, Defendant objects to this Interrogatory because it is improperly compound and

contains multiple subparts. Defendant further objects that this Interrogatory exceeds the 25

interrogatory limit imposed by Federal Rule of Civil Procedure 33(a)(1) when considered in the

aggregate with prior interrogatories served by LUPE Plaintiffs and when the discrete subparts in

all sets of interrogatories served by LUPE Plaintiffs are considered. In responding to these

Interrogatories, Defendant reserves all rights to raise objections to Plaintiffs serving Interrogatories

beyond those permitted under the Federal Rules of Civil Procedure in the future. Defendant further

objects that subparts (a) and (b) are duplicative of Interrogatories 8 and 9 served in Plaintiffs’ First

Set of Interrogatories, to which Defendant has already responded.

        Without waiving the General and Specific Objections above, Defendant responds that for

the November 2020 General Election (a) El Paso County received 45,563 ABBMs, including

Federal Post Card Applications and duplicate applications; (b) El Paso County rejected 1,535

civilian ABBMs, excluding Federal Post Card Applications; (c) El Paso County received and

reviewed 26,563 carrier envelopes in processing ballots by mail; (d) El Paso County flagged 115

carrier envelopes for defects of any kind; (e) 2,748 mail ballots, excluding FPCA ballots, were

cancelled by voters who voted in person, either using an ordinary or provisional ballot; and (f)

does not maintain a record of the number of carrier envelopes with defects of any kind that were

cured and ultimately counted in the November 2020 election.

INTERROGATORY NO. 3:

        State the following data regarding ABBMs and mail ballots from the November 2018

General Election:

        a. Number of ABBMs the County received;

        b. Number of ABBMs the County rejected;
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 19 of 355




       c. Number of carrier envelopes the County received and reviewed in processing ballots

           by mail;

       d. Number of carrier envelopes the County flagged for defects of any kind;

       e. Number of mail ballots cancelled by voters who voted in person, either using an

           ordinary or provisional ballot; and

       f. Number of carrier envelopes with defects of any kind that were cured and ultimately

           counted.

RESPONSE TO INTERROGATORY NO. 3:

       In addition to the foregoing General Objections, which Defendant incorporates by

reference herein, Defendant objects to this Interrogatory because it is improperly compound and

contains multiple subparts. Defendant further objects that this Interrogatory exceeds the 25

interrogatory limit imposed by Federal Rule of Civil Procedure 33(a)(1) when considered in the

aggregate with prior interrogatories served by LUPE Plaintiffs and when the discrete subparts in

all sets of interrogatories served by LUPE Plaintiffs are considered. Defendant further objects that

this Interrogatory subjects Defendant to unreasonable and undue annoyance, oppression, and

burden, and it is not proportional to the needs of the case, because it concerns the November 2018

General Election.

       Without waiving the General and Specific Objections above, Defendant responds that for

the November 2018 General Election (a) El Paso County does not have records indicating the

number of ABBMs it received for the November 2018 General Election; (b) El Paso County does

not have records indicating the number of ABBMs it rejected in the November 2018 General

Election; (c) El Paso County received and reviewed 11,723 carrier envelopes in processing ballots

by mail; (d) El Paso County flagged 89 carrier envelopes for defects of any kind; (e) 1,024 mail

ballots were cancelled by voters who voted in person, either using an ordinary or provisional ballot,

in El Paso County; and (f) does not maintain a record of the number of carrier envelopes with

defects of any kind that were cured and ultimately counted in El Paso County.
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 20 of 355




SUPPLEMENTAL AND AMENDED RESPONSE TO INTERROGATORY NO. 3:

       In addition to the foregoing General Objections, which Defendant incorporates by

reference herein, Defendant objects to this Interrogatory because it is improperly compound and

contains multiple subparts. Defendant further objects that this Interrogatory exceeds the 25

interrogatory limit imposed by Federal Rule of Civil Procedure 33(a)(1) when considered in the

aggregate with prior interrogatories served by LUPE Plaintiffs and when the discrete subparts in

all sets of interrogatories served by LUPE Plaintiffs are considered. Defendant further objects that

this Interrogatory subjects Defendant to unreasonable and undue annoyance, oppression, and

burden, and it is not proportional to the needs of the case, because it concerns the November 2018

General Election.

       Without waiving the General and Specific Objections above, Defendant responds that for

the November 2018 General Election (a) El Paso County did not track the total number of ABBMs

it received in the November 2018 General Election, but it received and accepted 11,634 ABBMs

during the November 2018 election, including Federal Post Card Applications; (b) El Paso County

does not have records indicating the number of ABBMs it rejected in the November 2018 General

Election; (c) El Paso County received and reviewed 11,723 carrier envelopes in processing ballots

by mail; (d) El Paso County flagged 89 carrier envelopes for defects of any kind; (e) 1,024 civilian

and FPCA mail ballots were cancelled by voters who voted in person, either using an ordinary or

provisional ballot, in El Paso County; and (f) El Paso County does not maintain a record of the

number of carrier envelopes with defects of any kind that were cured and ultimately counted in El

Paso County.

 Dated: April 17, 2023                        Respectfully submitted,

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Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 21 of 355




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Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 22 of 355




                              *Admitted pro hac vice

                              Attorneys for Lisa Wise, in her official capacity as
                              the El Paso County Elections Administrator
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 23 of 355




                                 CERTIFICATE OF SERVICE

       I certify that on April 17, 2023, a true and correct copy of the foregoing document was sent

via electronic mail to all counsel of record.

                                                /s/ David S. Louk
                                                David S. Louk
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 24 of 355




             EXHIBIT
               42
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 25 of 355



                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,   §
            Plaintiffs,               §
                 v.                   §   Case No. 5:21-cv-844-XR
                                      §
     GREGORY W. ABBOTT, et al.,       §
           Defendants.
                                      §
                                      §

   OCA-GREATER HOUSTON, et al.,       §
           Plaintiffs,                §
                 v.                   §
                                      §   Case No. 1:21-cv-780-XR
        JANE NELSON, et al.,          §
           Defendants.                §
                                      §

      HOUSTON JUSTICE, et al.,        §
            Plaintiffs,               §
                 v.                   §
                                      §   Case No. 5:21-cv-848-XR
  GREGORY WAYNE ABBOTT, et al.,       §
          Defendants.
                                      §
                                      §

        LULAC TEXAS, et al.,          §
            Plaintiffs,               §
                 v.                   §
                                      §   Case No. 1:21-cv-0786-XR
        JANE NELSON, et al.,          §
           Defendants.
                                      §
                                      §

      MI FAMILIA VOTA, et al.,        §
            Plaintiffs,               §
                 v.                   §
                                      §   Case No. 5:21-cv-0920-XR
        GREG ABBOTT, et al.,          §
           Defendants.                §
                                      §




                                      1
     Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 26 of 355




             UNITED STATES OF AMERICA,          §
                        Plaintiff, v.           §
                                                §
           THE STATE OF TEXAS, et al.,                Case No. 5:21-cv-1085-XR
                      Defendants.
                                                §
                                                §
                                                §
                                                §

        DEFENDANT BEXAR COUNTY ELECTION ADMINISTRATOR
     JACQUELYN CALLANEN’S OBJECTIONS AND RESPONSES TO LULAC
            PLAINTIFFS’ THIRD SET OF INTERROGATORIES

       TO:      LULAC Plaintiffs, through their counsel of record.

       Pursuant to Federal Rules of Civil Procedure 33, Defendant Bexar County Elections

Administrator Jacquelyn Callanen hereby submits her objections and responses to LULAC

Plaintiffs’ Third Set of Interrogatories.

Dated: March 17, 2023.


                                            Respectfully submitted,

                                            JOE D. GONZALES
                                            Bexar County Criminal District Attorney

                                            By: /s/ Lisa V. Cubriel
                                            LISA V. CUBRIEL
                                            Bar No. 24045731
                                            Assistant District Attorney – Civil Division
                                            LARRY L. ROBERSON
                                            Bar No. 24046728
                                            Civil Section Chief
                                            Bexar County District Attorney’s Office
                                            101 W. Nueva, 7th Floor
                                            San Antonio, Texas 78205-3030
                                            Telephone: (210) 335-2142
                                            Facsimile: (210) 335-2773
                                            Email: Lisa.Cubriel@bexar.org
                                            lroberson@bexar.org
                                            Attorney for Defendant Bexar County
                                            Elections Administrator Jacquelyn
                                            Callanen

                                                2
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 27 of 355



                             CERTIFICATE OF SERVICE

       I do hereby certify that, on the 17th day of March, 2023, a true and correct copy of
Defendant Bexar County Election Administrator Jacquelyn Callanen’s Responses to LULAC
Plaintiffs’ Third Set of Interrogatories has been sent via e-mail to all counsel of record.




                                                      Lisa V. Cubriel
                                                By: /s/
                                                   LISA V. CUBRIEL




                                            3
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 28 of 355




BEXAR COUNTY ELECTIONS ADMINISTRATOR JACQUELYN CALLANEN’S
       OBJECTIONS AND RESPONSES TO LULAC PLAINTIFFS’
               THIRD SET OF INTERROGATORIES


INTERROGATORY NO. 1: Identify and describe all the government interests you
purport to be advanced by each of the Challenged Provisions of SB1. Include in your
description how each of the Challenged Provisions serves each interest, including any
evidence, and whether you contend each interest was in fact the basis for the enactment of
each Challenged Provision.

RESPONSE: Defendant Callanen objects to this interrogatory because she is not a state
policymaker and had no involvement in the enactment of SB 1, which is a creation of the
Texas Legislature. Defendant Callanen cannot speculate as to the Texas Legislature’s basis
for enacting the Challenged Provisions. Defendant Callanen further objects to this
Interrogatory to the extent it seeks legal conclusions which Defendant Callanen is not
qualified to render. The information Plaintiffs seek may be found in the legislative history
materials or obtained through discovery requests to state officials involved in the
enactment of the Challenged Provisions now codified in the Texas Election Code.

INTERROGATORY NO. 2: State and describe all instances of which you are aware, if
any, of voter fraud in your county connected to:

       (a) any person advocating for “specific candidate or measure” to a voter who is

           holding a sealed mail ballot;

       (b) the use of “photocopied” signature or signatures other than “ink on paper” on
           ABBMs.

RESPONSE: None; Defendant Callanen is not aware of any instances of voter fraud as
outlined in subsections (a) and (b) above.

INTERROGATORY NO. 3: For the November 2022 general election, please provide
the following data regarding ABBMS and mail ballots:

       a. Number of ABBMs received by the county;

       b. Number ABBMs the county flagged for rejection because of an application defect
          of any kind;

       c. Number of ABBMs that the county ultimately accepted after an applicant cure a
          recorded defect of any kind;

       d. Number of ABBMs the county flagged for rejection because of an Omission
          Defect;


                                             4
     Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 29 of 355




      e. Number of ABBMs the county flagged for rejection because of a Mismatch
         Defect;

      f. Number of ABBMs that the county ultimately accepted after an applicant cured
         either a Mismatch Defect or Omission Defect;

      g. Number of carrier envelopes the county received and reviewed for defects of any
         kind;

      h. Number of carrier envelopes the county flagged for rejection because of a defect
         of any kind;

      i. Number of mail ballots that the county ultimately accepted and counted after a
         voter cured a carrier envelope defect of any kind;

      j. Number of carrier envelopes the county flagged for rejection because of any
         Omission Defect;

      k. Number of carrier envelopes the county flagged for rejection because of a
         Mismatch Defect;

      l. Number of ballots that the county ultimately accepted and counted after a voter
         cured either a Mismatch Defect or Omission Defect.

RESPONSE: The numbers provided below were generated by the Bexar County Election
Department’s vendor, VOTEC.

   a. 39,655
   b. 1482
   c. 468
   d. 1459
   e. Unable to provide because this is not listed as a separate category in the vendor’s
      software. The vendor does not provide a code.
   f. Unable to provide because this is not listed as a separate category in the vendor’s
      software. The vendor does not provide a code.
   g. 40,189
   h. 662
   i. 39,655
   j. 662
   k. 410
   l. 299




                                           5
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 30 of 355




             EXHIBIT
               43
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 31 of 355




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


 LA UNIÓN DEL PUEBLO ENTERO, et al.,
                                Plaintiffs,
                                                           5:21-cv-844-XR
         v.


 GREGORY W. ABBOTT, et al.,
                              Defendants.
 OCA-GREATER HOUSTON, et al.,
                                Plaintiffs,
                                                           1:21-CV-0780-XR
         v.


 JANE NELSON, et al.,
                              Defendants.


  DEFENDANT HARRIS COUNTY ELECTIONS ADMINISTRATOR, CLIFFORD
 TATUM’S RESPONSES AND OBJECTIONS TO OCA PLAINTIFF’S FIRST SET OF
                        INTERROGATORIES
TO:    OCA Plainitffs’, by and through their attorneys’ of record, Zachary Dolling, et al., Texas
       Civil Rights Project, 1405 Montopolis Drive, Austin, Texas 78741,
       zachary@texascivilrightsproject.org

       Defendant Clifford Tatum, in his official capacity at Harris County Elections Administrator

pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure serves these responses and

objections on Plaintiffs OCA- Greater Houston, League of Women Voters of Texas, REVUP-

Texas, and Workers Defense Action Fund interrogatories.




                                               1
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 32 of 355



Dated: March 17, 2023                 Respectfully submitted,


                                          /s/ Sameer S. Birring
                                          CHRISTIAN D. MENEFEE
                                          Harris County Attorney
                                          Texas Bar No. 24088049
                                          Christian.Menefee@harriscountytx.gov
                                          JONATHAN G.C. FOMBONNE
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                                          Texas Bar No. 24102702
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                                          Managing Counsel
                                          Texas Bar No. 24012287
                                          Tiffany.Bingham@harriscountytx.gov
                                          SAMEER S. BIRRING
                                          Senior Assistant County Attorney
                                          Texas Bar No. 24087169
                                          Sameer.Birring@harriscountytx.gov
                                          OFFICE OF THE HARRIS COUNTY ATTORNEY
                                          1019 Congress Plaza, 15th Floor
                                          Houston, Texas 77002
                                          Telephone: (713) 274-5101
                                          Facsimile: (713) 755-8924

                                          Attorneys for Defendant Clifford Tatum, in his
                                          Official Capacity as Harris County Elections
                                          Administrator




                                      2
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 33 of 355




 DEFENDANT TATUMS’ OBJECTIONS AND RESPONSES TO OCA-PLAINTIFFS
                FIRST SET OF INTERROGATORIES


INTERROGATORY NO. 1: For the November 2022 general election, and with respect only
to timely received applications for a ballot by mail (“ABBMs”), state:

OBJECTION: Defendant Tatum objects to this interrogatory as it is a compound interrogatory
consisting of discrete subparts. Defendant Tatum will respond as if each discrete subpart is a
separate interrogatory.


          a. The number of ABBMs received by Harris County.
                     Response: 82,276

          b. The number of ABBMs initially rejected by Harris County:

                  i. Pursuant to SB 1 Section 5.07 because the information required under Texas
                     Election Code Section 84.002(a)(1-a) included on the application did not
                     identify the same voter identified on the applicant’s application for voter
                     registration (i.e., pursuant to Texas Election Code § 86.001(f)).
                             Response: 1,556

                  ii. Pursuant to any other provision of the Texas Election Code.

                             Response: 892

          c. The number of ABBMs initially rejected by Harris County pursuant to SB 1 Section
             5.07 (i.e., pursuant to Texas Election Code § 86.001(f)) but later accepted because
             the applicant cured the defect necessitating rejection, whether via an online tool,
             through the mail, or in person. This includes curing through the submission of a
             subsequent ABBM.

                     Response: 732

          d. The number of ABBMs finally rejected by Harris County:

                  i. Pursuant to SB 1 Section 5.07 because the information required under Texas
                     Election Code Section 84.002(a)(1-a) included on the application did not
                     identify the same voter identified on the applicant’s application for voter
                     registration (i.e., pursuant to Texas Election Code § 86.001(f)).

                             Response: 677

                                               3
     Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 34 of 355




                ii. Pursuant to any other provision of the Texas Election Code.

                            Response: 582

         e. The number of ABBMs finally accepted by Harris County.

                            Response: 81,075

INTERROGATORY NO. 2: For the November 2022 general election, and with respect only
to timely received ballots by mail, state:
         a. The number of ballots by mail received by Harris County.

                    RESPONSE: 64,175

         b. The number of ballots by mail initially flagged for rejection by Harris County:

                 i. Pursuant to SB 1 Sections 5.12, 5.13, and/or 5.14 because the information
                    provided by the voter did not identify the same voter identified on the
                    voter’s application for voter registration (i.e., pursuant to Texas Election
                    Code §§ 87.0271(a)(4), 87.041(b)(8), and/or 87.0411(a)(4)).

                            RESPONSE: 4,751

                ii. Pursuant to any other provision of the Texas Election Code.

                            RESPONSE: 2,192

         c. The number of ballots by mail initially flagged for rejection pursuant to SB
         1
            Sections 5.12, 5.13, and/or 5.14 (i.e., pursuant to Texas Election Code §§
            87.0271(a)(4), 87.041(b)(8), and/or 87.0411(a)(4)) but ultimately accepted because
            the voter cured the flagged defect, whether via an online tool, through the mail, or
            in person.

                    RESPONSE: 2,003

         d. The number of ballots by mail initially flagged for rejection pursuant to SB
         1
            Sections 5.12, 5.13, and/or 5.14 (i.e., pursuant to Texas Election Code §§
            87.0271(a)(4), 87.041(b)(8), and/or 87.0411(a)(4)) and then cancelled by the voter.
                    RESPONSE: 0
         e. The number of voters whose ballots by mail were initially flagged for rejection
            pursuant to SB 1 Sections 5.12, 5.13, and/or 5.14 (i.e., pursuant to Texas Election
                                              4
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 35 of 355




              Code §§ 87.0271(a)(4), 87.041(b)(8), and/or 87.0411(a)(4)) who did not cure the
              flagged defect and then voted in person:

                 i. By casting a regular ballot.
                             RESPONSE: 9

                     ii. By casting a provisional ballot.
                             RESPONSE: 117
           f. The number of ballots by mail finally rejected by Harris County:

                  i. Pursuant to SB 1 Sections 5.12, 5.13, and/or 5.14 because the information
                     provided by the voter did not identify the same voter identified on the
                     voter’s application for voter registration (i.e., pursuant to Texas Election
                     Code §§ 87.0271(a)(4), 87.041(b)(8), and/or 87.0411(a)(4)).

                              RESPONSE: 2,557

                  ii. Pursuant to any other provision of the Texas Election Code.

                             RESPONSE: 2,184

           g. The number of ballots by mail finally accepted by Harris County.
                            RESPONSE: 61,508

INTERROGATORY NO. 3: For the November 2022 general election, state Harris County’s
final rejection rate of timely received ABBMs, expressed as a percentage of all timely received
ABBMs and rounded to two decimal places.
       RESPONSE:        1.47%

INTERROGATORY NO. 4: State the difference, and indicate whether it is positive or negative,
between the percentage set out in response to Interrogatory No. 3 and the final rejection rate of
timely received ABBMs, expressed as a percentage of all timely received ABBMs and rounded
to two decimal places, during:


           a. The November 2020 general election



           b. The November 2018 general election

      OBJECTION: Defendant Tatum objects to this interrogatory because, at the time these
      interrogatories were propounded, the scheduling order in this litigation limited discovery
                                                   5
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 36 of 355




      to matters related to the 2022 general election (Dkt. 437). Thus, these requests were
      outside the scope of the discovery. Without waiving this objection, Defendant may
      supplement this response with data if it can be obtained later.


INTERROGATORY NO. 5: For the November 2022 general election, state Harris County’s
final rejection rate of timely received ballots by mail, expressed as a percentage of all timely
received ballots by mail and rounded to two decimal places.

               RESPONSE: 4.16%

INTERROGATORY NO. 6: State the difference, and indicate whether it is positive or negative,
between the percentage set out in response to Interrogatory No. 5 and the final rejection rate of
timely received ballots by mail, expressed as a percentage of all timely received ballots by mail
and rounded to two decimal places, during:
           a. The November 2020 general election


           b. The November 2018 general election
      OBJECTION: Defendant Tatum objects to this interrogatory because, at the time these
      interrogatories were propounded, the scheduling order in this litigation limited discovery
      to matters related to the 2022 general election (Dkt. 437). Thus, these requests were
      outside the scope of the discovery. Without waiving this objection, Defendant may
      supplement this response with data if it can be obtained later.




                                                6
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 37 of 355




             EXHIBIT
               44
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 38 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 39 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 40 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 41 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 42 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 43 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 44 of 355




             EXHIBIT
               45
       Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 45 of 355


From:                Keith Ingram
To:                  justin.williamson@house.texas.gov
Cc:                  Adam Bitter
Subject:             county by county mail ballot numbers
Date:                Thursday, April 7, 2022 3:00:57 PM
Attachments:         image001.png
                     2022 Primary BBM A-R.xlsx
Sensitivity:         Personal


Based on Canvassed totals, below are the official turnout figures for the March 1 Primary Elections:
                                  Total Number of Ballots Cast
          Democratic              1,075,601
          Republican              1,954,172
          Statewide Total         3,029,773
Based on vote history data submitted to our office by each of Texas’ 254 counties, the mail-ballot
rejection numbers and rates are as follows:
                                 Total Number of Mail             Total Mail Ballots              Rejection
          Party
                                 Ballots                          Rejected                        Percentage
          Democratic             110,967                          14,281                          12.87%
          Republican             87,980                           10,355                          11.77%
          Statewide Total 198,947                                 24,636                          12.38%
Keith Ingram
Director, Elections Division
Office of the Secretary of State
800-252-VOTE(8683)
www.sos.state.tx.us/elections/index.shtml
For Voter Related Information, please visit:




The information contained in this email is intended to provide advice and assistance in election matters per §31.004 of the
Texas Election Code. It is not intended to serve as personal legal advice to you for any matter. Please review the law
yourself, and consult with an attorney when your legal rights are involved.




                                                                                                                 STATE087299
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 46 of 355




             EXHIBIT
               46
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 47 of 355
                Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 48 of 355
                                                                    Sponsored Links

                  Discover in a Minute: The Game Everyone's
                  Talking About
                  Raid Shadow Legends




Look ng at the numbers, a tota of 24,636 ma - n ba ots were rejected n the March 1
Democrat c and Repub can pr mar es wh e 7,244 ma - n ba ots were rejected n both runoffs.
For the May 7 Const tut ona Amendment e ect on, the ma - n ba ot reject on rate was just over
5% w th 9,420 ma - n ba ots rejected.

The Office of the Texas Secretary of State cred ts voter educat on on beha f of county e ect on
offic a s across the state w th the decrease n reject ons. The efforts nc ude educat ng about
the new D requ rement, updat ng the des gn of the carr er enve ope to p ace a red box around
the D fie d and educat ona pamph ets about ma - n vot ng.

"We are confident that these steps, n comb nat on w th more voter educat on and pos t ve
engagement from oca e ect on offic a s, he ped s gn ficant y reduce ma ba ot reject on rates
n both the May 7 and May 24 e ect ons," the Texas Secretary of State's Office sa d n an ema .

RELATED: More than 12% of mail-in ballots were rejected in Texas under new GOP voting
rules, final tally shows

The reject on of ma - n ba ots n the 2022 e ect ons has come nto focus as a resu t of the
passage of Texas Senate B 1 n 2021, the Repub can vot ng aw mp ement ng new changes
and t ghter restr ct ons on vot ng.

SB 1 was passed n the second eg s at ve sess on fo ow ng protests by Texas Democrats as
Repub cans argued that more e ect on secur ty was needed fo ow ng the 2020 pres dent a
e ect on.

n part, the b added D requ rements for ma - n vot ng by requ r ng voters to prov de the r
dr ver's cense number or the ast four d g ts of the r Soc a Secur ty number when app y ng for
the ba ot. t a so created fe ony charges for e ect on offic a s who send unso c ted ma - n ba ot
app cat ons.
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 49 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 50 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 51 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 52 of 355




             EXHIBIT
               47
       Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 53 of 355




              Texas 2022 General Election Supplement to Report
                      Voting Assistance & Vote by Mail
            La Union del Pueblo Entero et al. v. State of Texas et al.
                               Tammy Patrick

1. On February 28, 2022, I submitted a report entitled “Voting Assistance & Vote By Mail” in
connection with the case La Unión del Pueblo Entero et al. v. State of Texas et al., which I will refer to
here as the “Original Report.”

2. On April 29, 2022, I submitted a supplemental report extending the Original Report based on facts
and data related to voting by mail from Texas’s March 1, 2022, primary election, the first statewide
election conducted under the provisions of SB1, which I will refer to as the “First Supplemental Report.”

3. This report supplements and extends the Original Report and the First Supplemental Report based on
facts and data related to voting by mail from Texas’s November 8, 2022, general election.

4. This report also supplements Section One of the Original Report regarding my employment and
election experience. As of December 1, 2022, I serve as the Chief Executive Officer of Programs for the
National Association of Election Officials, commonly referred to as the Election Center. The Election
Center was established as the first national training and certification organization of election
professionals in 1992.1


Introduction & Summary of Conclusions
5. Since implementation of SB1, rejection rates of both the applications for ballots by mail (ABBMs) as
well as ballot carrier envelopes have continued to exceed the rejection rates historically seen in Texas
and nationwide. This supplemental report documents that although rejection rates have diminished
from the increase experienced in the initial elections of 2022, Texas reports that it is still rejecting mail
ballots at a rate of 2.7%2—almost three times the national average (1%3)—and more than the state’s



1
  Election Center ‐ About Us. https://www.electioncenter.org/about‐us.php.
2
  Lopez, Ashley. “Despite mail voting changes, ballot rejection rates remail relatively low in 2022 midterms.” NPR.
(January 13, 2023). https://www.npr.org/2023/01/13/1148799521/mail‐ballot‐rejection‐rates‐state‐tally
3
  United States Election Assistance Commission EAVs Survey data from 2020, Election 2020 at Page 36 (page 46 of
PDF): https://www.eac.gov/sites/default/files/document_library/files/2020_EAVS_Report_Final_508c.pdf
United States Election Assistance Commission EAVs Survey data from 2018, 2018 at Page 30 (page 39 of PDF):
https://www.eac.gov/sites/default/files/eac_assets/1/6/2018_EAVS_Report.pdf
United States Election Assistance Commission EAVs Survey data from 2016,2016 at Page 25 (Page 31 of PDF):
https://www.eac.gov/sites/default/files/eac_assets/1/6/2016_EAVS_Comprehensive_Report.pdf
       Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 54 of 355




average prior to SB1 passage.4 What I have observed supports the conclusion that SB1 creates
unnecessary barriers to eligible Texas voters to participate in the franchise.

6. Issues anticipated in the Original Report and in the First Supplemental Report with voters being able
to comply with the new requirements under SB1 in applying for an absentee ballot and completing a
ballot carrier envelope manifested in the general election, with rejection numbers exceeding both the
national trends as well as Texas’s historical trends.

7. Following the rise of rejection rates in the primary election, local election officials went to great
lengths to reduce the rejection rates, often at a substantial cost in time and resources—they hired
additional staff dedicated to answering voter calls and questions around the requirements,5 printed and
mailed additional voter instructions,6 and experienced what will be an ongoing expense given that new
Texas voters become eligible to vote by mail every day. Given the combined fact of an aging population
resulting in Texas voters who will encounter these new requirements for the first time in every election
cycle moving forward and the historic under‐funding of election offices,7 this level of effort is untenable.

8. Midterm voters are traditionally high‐efficacy voters,8 those with the propensity to have voting
experience and understanding of policies and procedures necessary to successfully engage with the
franchise as compared with presidential general election voters. Even within this voting cohort the
impact of SB1 was substantial.




4
  “In 2020, Texas had a 0.8% mail ballot rejection rate; in 2018 it was 1.7%.” Lopez, Ashley. “Despite mail voting
changes, ballot rejection rates remail relatively low in 2022 midterms.” NPR. (January 13, 2023).
https://www.npr.org/2023/01/13/1148799521/mail‐ballot‐rejection‐rates‐state‐tally
5
  Worthy, Ariel. “Fewer Harris County mail‐in ballots are being rejected compared to March Primaries.” Houston
Public Media. (November 4, 2022).
https://www.houstonpublicmedia.org/articles/news/politics/elections/2022/11/04/436774/fewer‐harris‐county‐
mail‐in‐ballots‐are‐being‐rejected‐compared‐to‐march‐primaries/
6
  Taylor Goldenstein. “10,000 mail ballots rejected in large Texas counties as new ID requirement is phased in.”
Houston Chronicle. (November 11, 2022). https://www.houstonchronicle.com/politics/election/2022/article/New‐
Texas‐law‐leads‐to‐10‐000‐rejected‐mail‐17577757.php and Cheng, Yilun. “Harris County leaders remind voters of
state ID requirements for casting mail ballots.” Houston Chronicle. (October 3, 2022)
https://www.houstonchronicle.com/news/houston‐texas/article/Harris‐County‐leaders‐remind‐voters‐of‐state‐ID‐
17484190.php
7
  Stewart, Charles III. “The Cost of Conducting Elections” (May 2022)https://www.commonsenseamerican.org/wp‐
content/uploads/2022/05/TheCostofConductingElections‐2022.pdf.
8
  Sometimes referred to as “core” voters: “One of the most commonly understood patterns in electoral turnout is
the fact that turnout in presidential elections tends to be much higher than for midterm elections. Traditional
analyses of these differential patterns in turnout have focused on the notion of “surge and decline” and “core and
peripheral” voters (Campbell 1960).” The paper looks at the impact of knowledge on a voter’s participation in the
franchise and finds that “core voting and persistent non‐voting appear to be strongly driven by both age and
knowledge.” Stephen Ansolabehere and Brian Schaffner. “Beyond the Core and Periphery: A New Look at Voter
Participation Across Elections.” (November 30, 2015).
https://cces.gov.harvard.edu/files/cces/files/ansolabehere_schaffner_core_periphery.pdf
       Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 55 of 355




Analysis

Overall Rejection Rates

9. Texas reported that the State rejected mail ballots at a rate of 2.7%—almost three times the national
average (1%), and more than the state’s average prior to SB1 passage (1.7% in the comparable midterm
election of 2018).9 Because the national average rejection rate of vote by mail ballots hovers around
1%, when a state or jurisdiction’s rate exceeds that it can spur additional review and analysis. Even
rejection rates below the national average can sometimes lead to performance audits of ballot
rejections. The Washington State Legislature mandated a performance audit of ballot rejection rates
even though they historically fall below the 1% rejection threshold.10


Curing and Use of the Ballot Tracking Portal

10. In the State Defendants’ Supplemental Interrogatory Responses, it is stated that hundreds of
thousands of Texas voters submitted ABBMs since the new requirements. The numbers of submittals in
each of the statewide elections in 2022 is as follows:11




9
  United States Election Assistance Commission EAVs Survey data from 2020, Election 2020 at Page 36 (page 46 of
PDF): https://www.eac.gov/sites/default/files/document_library/files/2020_EAVS_Report_Final_508c.pdf
United States Election Assistance Commission EAVs Survey data from 2018, 2018 at Page 30 (page 39 of PDF):
https://www.eac.gov/sites/default/files/eac_assets/1/6/2018_EAVS_Report.pdf
United States Election Assistance Commission EAVs Survey data from 2016,2016 at Page 25 (Page 31 of PDF):
https://www.eac.gov/sites/default/files/eac_assets/1/6/2016_EAVS_Comprehensive_Report.pdf
10
   McCarthy, Pat, Office of the Washington State Auditor. “Performance Audit Report Highlights: Evaluating
Washington’s Ballot Rejection Rates.” (February, 2022). https://sao.wa.gov/wp‐
content/uploads/Tabs/PerformanceAudit/PA_Evaluating_WA_Rejected_Ballots_2‐pager.pdf
11
   Defendants’ Supplemental Interrogatory Responses dated January 19, 2023 at Page 12.
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 56 of 355
       Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 57 of 355




in twenty voters who had an ABBM rejected used the tracker. Fewer than one in twenty‐five voters used
the tracker successfully to cure or cancel an ABBM.16




14. Across the elections conducted in 2022, almost a thousand voters—963—who used17 the Tracker in
an attempt to cure their ballot deficiencies were unable to do so.18 Beyond that, it was widely reported
that more than 10,000 ballots were rejected in the midterm alone.19 To date, I have not seen any
analysis as to why those voters did not attempt to cure their ballots through the use of the Tracker or
other methods (for instance, an analysis of the number of page hits on the tracker, number of login
attempts, number of successful logins but then incomplete or abandoned efforts, etc.), or why the
number of voters who attempted to use the tracker (6,24720) was considerably less than the overall
number of rejected ballots.

Election Officials' Education Efforts

15. Elevated rejection rates lingered because voters in Texas had continued challenges with satisfying
the requirements of SB1 in the submission of their absentee ballots despite substantial reported efforts

16
   Ibid Page 12.
17
   The term “used” is reflective of that utilized in the “State Defendants’ Supplemental Objections and Responses
to the United States’ Second Set of Interrogatories.” It is unclear if this means every log‐in or further attempt to
use after a log‐in attempt.
18
   Ibid pages 13‐14.
19
   Taylor Goldenstein. “10,000 mail ballots rejected in large Texas counties as new ID requirement is phased in.”
Houston Chronicle. (November 11, 2022). https://www.houstonchronicle.com/politics/election/2022/article/New‐
Texas‐law‐leads‐to‐10‐000‐rejected‐mail‐17577757.php
20
   “State Defendants’ Supplemental Objections and Responses to the United States’ Second Set of Interrogatories”.
Pages 13‐14.
       Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 58 of 355




by county election officials. Measures taken by these election officials resulted in the somewhat
decreased rejection rates. Some hired additional staff. According to Leah Shah with the Harris County
Election Administrator’s Office, they increased their “mail ballot team by 20 people dedicated to only
reaching out to voters who are voting by mail, that are needing assistance, that have questions about
the process,” Shah said. “And of course, reaching back out to the voters if they require corrections.”21
Some counties, such as Bexar County, included special inserts to explain the new process,22 as did Travis
County.23 Dallas County invested money in publicity campaigns that they attribute as a key factor in the
reduction in rejections: “The Dallas County Commissioners Court spent north of $42 million in the last
five years to ramp up staffing, equipment and advertising for elections. Daniel and Noble said this was
money well spent, because the rejection rate of mail‐in ballots was lower—something they attribute to
public campaigns on the issue.”24 The price tag that comes with implementation of new laws and
educating the electorate can be large,25 yet election officials are rarely provided sufficient funding to
adequately complete the task.26 It was reported that the Legislature actually reduced the voter
education budget from $4 million previously to $3.5 million for the current two‐year budget cycle.27
Additional funding is necessary to cover the additional activities required by SB1 to properly serve Texas
voters.



21
   Worthy, Ariel. “Fewer Harris County mail‐in ballots are being rejected compared to March Primaries.” Houston
Public Media. (November 4, 2022).
https://www.houstonpublicmedia.org/articles/news/politics/elections/2022/11/04/436774/fewer‐harris‐county‐
mail‐in‐ballots‐are‐being‐rejected‐compared‐to‐march‐primaries/
22
   Taylor Goldenstein. “10,000 mail ballots rejected in large Texas counties as new ID requirement is phased in.”
Houston Chronicle. (November 11, 2022). https://www.houstonchronicle.com/politics/election/2022/article/New‐
Texas‐law‐leads‐to‐10‐000‐rejected‐mail‐17577757.php
23
   Cheng, Yilun. “Harris County leaders remind voters of state ID requirements for casting mail ballots.” Houston
Chronicle. (October 3, 2022) https://www.houstonchronicle.com/news/houston‐texas/article/Harris‐County‐
leaders‐remind‐voters‐of‐state‐ID‐17484190.php
24
   Peterson, Josephine. “Dallas elections chief says it went well, amid state law changes and public anxiety.” The
Dallas Morning News. (November 21, 2022) https://www.dallasnews.com/news/politics/2022/11/20/dallas‐
elections‐chief‐says‐it‐went‐well‐amid‐state‐law‐changes‐public‐anxiety/
25
   One example from New Jersey: “According to the counties’ summation, both laws caused the county clerks to
spend an additional $2.8 million in printing, postage, labor and other costs on the 2018 general and 2019 primary
and general elections.” And “Neither of the new vote‐by‐mail laws included a funding mechanism to address the
costs incurred by the county boards of elections,” the NJAC continued, giving as one example the close to $63,000
in additional labor, supplies and contracted costs.” O’Dea, Colleen. “Changes in Vote‐by‐Mail Ruled Null and Void,
Unfunded Mandates.” NJ Spotlight News. (November 19, 2019).
26
   Stewart, Charles III. “The Cost of Conducting Elections” (May 2022)
https://www.commonsenseamerican.org/wp‐content/uploads/2022/05/TheCostofConductingElections‐2022.pdf
Zachary Mohr, PhD; Martha Kropf, PhD; JoEllen Pope, MPA CPA; Mary Jo Shephard, PhD; and Madison Esterle,
MPA. “Election Administration Spending in Local Election Jurisdictions: Results from a Nationwide Data Collection
Project”. Paper for the 2018 Election Sciences, Reform, and Administration (ESRA) conference University of
Wisconsin‐Madison on July 26‐27, 2018. https://esra.wisc.edu/wp‐content/uploads/sites/1556/2020/11/mohr.pdf
27
   Mizan, Nusaiba. “Texas has less to spend on voter outreach as election approaches under new rules.” Austin
American‐Statesman. (September 21, 2022)
https://www.statesman.com/story/news/politics/state/2022/09/21/texas‐election‐2022‐voter‐education‐
campaign‐has‐less‐money‐spend/69506679007/
        Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 59 of 355




Supplemental Conclusion on the General Election

16. Although the rates of rejection have declined, due to substantial efforts by county election officials—
there are still thousands of eligible Texas voters who are unable to successfully submit ABBMs and/or
have their voted ballots accepted for counting.

17. Texas rejection rates are still some of the highest in the nation, exceeding the traditional benchmark
of 1% and their pre‐SB1 midterm rate of 1.7%.28

18. These findings and concerns are echoed by election officials in other states who are seeing the
introduction of bills in their states similar to SB1.29

I declare under penalty of perjury that the foregoing is true and correct.

Date: February 10, 2023

Signed: Tammy Patrick

Tammy Patrick

Executed in: St. Mary’s County, Maryland




28
   United States Election Assistance Commission EAVs Survey data from 2018, 2018 at Page 30 (page 39 of PDF):
https://www.eac.gov/sites/default/files/eac_assets/1/6/2018_EAVS_Report.pdf
29
   Lopez, Ashley. “Local election officials in Florida call for scrapping new ID rules for mail voting.” NPR. (January 27,
2023). Florida election officials want to scrap mail ballot ID requirements : NPR
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 60 of 355




             EXHIBIT
               48
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 61 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 62 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 63 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 64 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 65 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 66 of 355




             EXHIBIT
               49
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 67 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 68 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 69 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 70 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 71 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 72 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 73 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 74 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 75 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 76 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 77 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 78 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 79 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 80 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 81 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 82 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 83 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 84 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 85 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 86 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 87 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 88 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 89 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 90 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 91 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 92 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 93 of 355




             EXHIBIT
               50
            Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 94 of 355




                               IN THE UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF TEXAS
                                       SAN ANTONIO DIVISION

     LA UNIÓN DEL PUEBLO ENTERO, et al.,                     §
           Plaintiffs,                                       §
                                                             §
     v.                                                      §      Case No. 5:21-cv-844-XR
                                                             §      [Lead Case]
     GREGORY W. ABBOTT, et al.,                              §
          Defendants.                                        §
                                                             §
     UNITED STATES OF AMERICA,                               §
           Plaintiff,                                        §
                                                             §
     v.                                                      §      Case No. 5:21-cv-1085-XR
                                                             §      [Consolidated Case]
     THE STATE OF TEXAS, ET AL.,                             §
           Defendants                                        §



           STATE DEFENDANTS’ SUPPLEMENTAL OBJECTIONS AND RESPONSES
              TO THE UNITED STATES’ SECOND SET OF INTERROGATORIES

    TO:      Plaintiff the United States of America, by and through their attorneys of record, Michael E.
             Stewart, Daniel J. Freeman, Richard Alan Dellheim, Dana Paikowsky, and Jennifer Yun,
             United States Department of Justice Civil Rights Division, 950 Pennsylvania Avenue NW,
             Washington, DC 20530

             Jane Nelson, in her official capacity as the Texas Secretary of State, and the State of Texas

    (collectively “State Defendants”1) hereby serve their Supplemental Objections and Responses to

    the United States’ Second Set of Requests for Interrogatories, pursuant to the Federal Rules of

    Civil Procedure. Because present circumstances prevent State Defendants from signing these

    responses, State Defendants’ counsel will serve properly executed interrogatory answers on the

    requesting party not later than 21 days after serving these unexecuted answers. See W.D. Tex.

    Local Rule CV-33(a).



1
    All previous references to “Defendants” have been changed to “State Defendants” for the sake of clarity.
                                                             1
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 95 of 355




Date: January 19, 2023                      Respectfully submitted.

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BRENT WEBSTER
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                                            Counsel for State Defendants




                               CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of January, 2023, the attached State Defendants’
Supplemental Objections and Responses to the United States’ Second Request of Interrogatories
was served on opposing counsel via electronic mail.

                                                  /s/ Kathleen T. Hunker
                                                  KATHLEEN T. HUNKER
                                                  Special Counsel




                                              2
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 96 of 355




                                    GENERAL OBJECTIONS

       Under Rule 26(b)(1), the proper scope of discovery is limited to “any nonprivileged matter

that is relevant to any party’s claim or defense and proportional to the needs of the case.” Fed. R.

Civ. P. 26(b)(1) (2015). Among the considerations that are germane to that inquiry are “the parties’

resources, the importance of the discovery in resolving the issues, and whether the burden or

expense of the proposed discovery outweighs its likely benefit.” Id. The twin demands for

relevancy and proportionality “are related but distinct requirements.” Samsung Electronics Am.,

Inc. v. Chung, 321 F.R.D. 250, 279 (N.D. Tex. 2017). Thus, if the information sought is irrelevant

to the party’s claims or defenses, “it is not necessary to determine whether it would be proportional

if it were relevant.” Walker v. Pioneer Prod. Servs., Inc., No. CV 15-0645, 2016 WL 1244510, at

*3 (E.D. La. Mar. 30, 2016). Conversely, “relevance alone does not translate into automatic

discoverability” because “[a]n assessment of proportionality is essential.” Motorola Sols., Inc. v.

Hytera Commc’ns Corp., 365 F. Supp. 3d 916, 924 (N.D. Ill. 2019). Accordingly, State Defendants

object to these requests to the extent that the information sought is either irrelevant or

disproportionate.

       State Defendants object to the definition of “conviction” or “convicted” as vague,

overbroad, and ambiguous. Specifically, the term “an admission or finding of guilt” is subject to

different interpretations. State Defendants understand the term to include pleas of guilt,

stipulations of guilt, and acknowledgments of the offense. Therefore, State Defendants understand

the terms “conviction” and “convicted” not to pertain to cases in which a defendant or suspect

pleaded nolo contendere or no contest, or to cases in which a defendant otherwise reached an

outcome that—though not a conviction by a judge or jury in a court of law—nonetheless involved

violation of Texas Law.


                                                 3
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 97 of 355




       State Defendants also object to the definition of “impermissible in-person voter assistance”

as vague and ambiguous. Specifically, it is defined as “the acts of influencing or coercing a voter

in the presence of their ballot”; yet Interrogatory No. 4 seeks instances of “impermissible in-person

voter assistance” that occurred “by influencing or coercing a voter in the presence of their ballot.”

Therefore, this definition is tautological, and its meaning is not discernible. For this reason, State

Defendants interpret the term “impermissible in-person voter assistance” to mean any in-person

voter assistance that is not permissible.

       Finally, State Defendants object to the definition of “voting by impersonation” as vague

and ambiguous. The definition uses the term “vote harvesting,” which is not defined. Therefore,

State Defendants adopt the meaning of “vote harvesting” that State Defendants have otherwise

used in the course of this litigation. Furthermore, the definition of “voting by impersonation”

includes “improperly returning a ballot on behalf of another,” which is a broad, sweeping, and

undefined category of conduct. For this reason, the term “voting by impersonation” is vague and

ambiguous because it is not limited in scope. Hence, State Defendants interpret the term “voting

by impersonation” as those instances in which someone illegally votes as or on behalf of someone

who is eligible to vote that does not constitute vote harvesting.

       These answers and objections are made without waiving any further objections to, or

admitting the relevancy or materiality of, any of the information requested. All answers are given

without prejudice to State Defendants’ right to introduce or object to the discovery of any

documents, facts, or information discovered after the date hereof. Likewise, these answers and

objections are not intended to be, and shall not be construed as, agreement with the United States’

characterization of any facts, circumstances, or legal obligations. State Defendants reserve the right

to contest any such characterization as inaccurate and object to the Requests insofar as they contain

any express or implied assumptions of fact or law concerning matters at issue in this litigation.
                                                  4
         Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 98 of 355



         State Defendants will provide their answers based on terms as they are commonly

understood and consistent with the Federal Rules of Civil Procedure. State Defendants object to

and will refrain from extending or modifying any words employed in the Requests to comport with

any expanded definitions or instructions. State Defendants will answer the Requests to the extent

required by the Federal Rules of Civil Procedure and the Local Rules of the Western District of

Texas.




                                               5
        Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 99 of 355




SPECIFIC OBJECTIONS AND RESPONSES TO THE UNITED STATES’ SECOND SET OF
                          INTERROGATORIES

INTERROGATORY NO. 4: State each instance in which a person has been convicted of violating
Texas law for providing or attempting to provide impermissible in-person voter assistance by
influencing or coercing a voter in the presence of their ballot, including but not limited to relevant
violations of Sections 64.012(a)(4), 64.036, 276.013(a)(1), and 276.013(a)(6) of the Texas Election
Code.

OBJECTIONS AND RESPONSE:

        State Defendants object to this interrogatory to the extent that the information sought is not
proportional to the needs of this case and unduly burdensome, including for the reason that the United
States does not limit its request to particular date ranges or particular statutory provisions. To that end,
State Defendants object to this interrogatory to the extent that it requires State Defendants to search
and examine all case records without limitation to time or statutory provision. See Fed. R. Civ. P.
26(b)(1). The Office of the Attorney General of Texas began tracking, investigating, and prosecuting
election fraud cases in 2004. Therefore, State Defendants read this interrogatory to seek information
dating from 2004 to the present. Furthermore, the Office of the Attorney General of Texas may not be
aware of other prosecutions that may have been filed by criminal district attorneys.

        Additionally, State Defendants object to this Interrogatory to the extent that it calls for
information that is publicly available or otherwise equally accessible to the United States. In that same
vein, the Office of the Attorney General has already produced charts of pending and completed
prosecutions from the Office of the Attorney General, as well as copies of prosecution-diversion
agreement at bates stamped ranges STATE087312–STATE087395. Those materials represent a
summary of business records held by the Office of the Attorney General, and ascertaining the
information requested in this interrogatory will impose substantially the same burden on OAG as it
would Plaintiffs’ counsel. Fed. R. Civ. P. 33(d).

        Finally, State Defendants object to this interrogatory to the extent that it calls for information
subject to investigative privilege, attorney–client privilege, or attorney work-product privilege.
Because the Office of the Attorney General is actively involved in investigations and prosecutions of
election-related crimes, all three privileges likely apply to on-going investigations and prosecutions.

       Subject to and without waiving these objections, State Defendants answer as follows:

        The following table represents convictions for providing impermissible in-person voter
assistance by influencing or coercing a voter in the presence of his or her ballot but does not include
mere instances of such occurrences without convictions:




                                                    6
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 100 of 355
    Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 101 of 355



14-CCR-02978-
C/14-CCR-
02998-C/14-
CCR-03000-                                                  Tex. Elec.
C/14-CCR-                                                   Code§§
03001-C/14-                                                 64.036,
CCR-03002-      Vicenta Verino Cameron         8/19/2015    86.010,    Pleaded Guilty
C/14-CCR-                      County                       86.0051,
03004-C/14-                                                 86.006
CCR-03005-
C/14-CCR-
03006-C/14-
CCR-03007-
C/14-CCR-
03008-C
CR-15-08767- E;
CR-15- 08768-E;
CR-15-08769-E;
CR-15-08770- E;
CR-15- 08771-E;
CR-15-08772-E;
CR-15-08773- E;
CR-15- 08774-E;                                             Tex. Elec.
CR-15-08775-E; Guadalupe       Hidalgo                      Code§
CR-15-08776- E; Rivera, Sr.    County          7/11/2016    64.036     Pleaded Guilty
CR-15- 08777-E;
CR-15-08778-E;
CR-15-08779- E;
CR-15- 08780-E;
CR-15-08781-E




                                                            Tex. Elec.
                Christina     Duval/Live                    Code§§
20080,20081     Lichtenberger Oak County 12/14/2010         64.036,    Pleaded Guilty
                                                            86.006

                                                            Tex. Elec.
                Andrea        Duval/Live                    Code§§     Acknowledgment
20082,20083     Campos        Oak County       12/14/2010   64.036,    of Offense
                Bierstedt                                   86.006




                                           8
       Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 102 of 355



                                                                      Tex. Elec.
 14-CCR-02979-                                                        Code§§
 A/14-CCR-            Bernice Garcia Cameron           4/8/2015       64.036,    Acknowledgment
 03010-A/14-                         County                           86.006,    of Offense
 CCR-03011-A                                                          86.0051

                      Consuelo                                        Tex. Elec.
 CX3772923814         Barrientos       Frio County     6/15/2018      Code§      Stipulation of Guilt
                      Cantu                                           64.036

                      Maria                                           Tex. Elec.
 CX3772923814         Delcarmen        Frio County     6/15/2018      Code§      Stipulation of Guilt
                      Vela                                            64.036

 20084, 20085,                                                        Tex. Elec.
 20086, 20087,        Alicia Pena      Duval/Live                     Code§§
 20088, 20089,        Perez            Oak County      12/14/2010     64.036,    Pleaded Guilty
 20090,20091                                                          86.006



INTERROGATORY NO. 5: State each instance in which a person has been convicted of violating
Texas law by voting or attempting to vote by impersonation using a mail ballot, including but not
limited to violations of Sections 64.012, 64.036, 276.013(a)(2), 276.013(a)(3), or 276.013(a)(7) of the
Texas Election Code.

OBJECTIONS AND RESPONSE:

         State Defendants object to this interrogatory to the extent that the information sought is not
proportional to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably
specific, and unduly burdensome, including for the reason that the United States does not limit its
request to particular date ranges or particular statutory provisions. To that end, State Defendants object
to this interrogatory to the extent that it requires State Defendants to search and examine all case records
without limitation to time or statutory provision. See Fed. R. Civ. P. 26(b)(l). The Office of the Attorney
General of Texas began tracking, investigating, and prosecuting election fraud cases in 2004.
Therefore, State Defendants read this interrogatory to seek information dating from 2004 to the present.
Furthermore, the Office of the Attorney General of Texas may not be aware of other prosecutions that
may have been filed by criminal district attorneys.

        Additionally, State Defendants object to this interrogatory to the extent that it calls for
information that is publicly available or otherwise equally accessible to the United States. In that same
vein, the Office of the Attorney General has already produced charts of pending and completed
prosecutions from the Office of the Attorney General, as well as copies of prosecution-diversion
agreement at bates stamped ranges STATE087312-STATE087395. Those materials represent a
summary of business records held by the Office of the Attorney General, and ascertaining the
information requested in this interrogatory will impose substantially the same burden on OAG as
it would Plaintiffs' counsel. Fed. R. Civ. P. 33(d).
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Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 103 of 355
          Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 104 of 355



State Defendants answer as follows:

        State Defendants do not possess the capability to provide information responsive to this
interrogatory. Aside from the methods specifically excluded in the interrogatory itself, the only “online
portal[]” through which the referenced identifying information could have been updated by a voter is
located on the Texas.gov website. That website is maintained by the Texas Department of Information
Resources, which is not a party to this case. A voter is required to enter his current driver license
number, ID number, voter registration card VUID, and Social Security Number in order to access this
portal for the purpose of updating the voter’s name or address. The identifying information of voters
who submit a change of name or address on Texas.gov is transmitted to the Office of the Texas
Secretary of State (“SOS”) on a nightly basis. If the TEAM database is missing the driver license/ID
number or Social Security number disclosed by the voter in gaining access to Texas.gov, that voter’s
missing information is updated in TEAM.

        There is no individual field or combination of fields in TEAM that would allow State
Defendants to isolate the specific information requested in this interrogatory. The TEAM system
contains an audit log that tracks the history of changes or updates made to a voter’s record, but that
audit log does not differentiate between the types of changes offered through the Texas.gov system.
Because of these limitations that are inherent in the TEAM system, State Defendants are unable to
provide data that is responsive to this interrogatory.

SUPPLEMENTAL RESPONSE:

Subject to State Defendants’ understanding of the meaning and parameters of this interrogatory
as set forth in their original response, State Defendants remain unable to provide data responsive
to this interrogatory.

INTERROGATORY NO. 7: State the number of voters who have cured identification defects in their
Application for a Ballot By Mail using any online portals provided pursuant to SB 1 from December
2, 2021 until the present, disaggregated by portal.

OBJECTIONS AND ORIGINAL RESPONSE:

        State Defendants object to this interrogatory to the extent that the information sought is not
proportional to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably
specific, or unduly burdensome. Additionally, State Defendants object to this interrogatory to the
extent that it requests information through "the present," which would result in the inclusion of
incomplete and inaccurate information if applied to the May 7, 2022 election, for which early
voting began on April 25, 2022. Subject to and without waiving these objections, State Defendants
answer as follows:

        The only “online portal[]” through which identification defects in a voter’s Application for a
Ballot By Mail (“ABBM”) may be cured is the Ballot by Mail Tracker available at VoteTexas.gov.2 A
voter can use the Tracker to cure an initial failure to provide any of the required personal identification
numbers or if the numbers provided do not match the voter registration record. While SOS can

2
    https://teamrv-mvp.sos.texas.gov/BallotTrackerApp/#/login

                                                     11
       Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 105 of 355



determine the number of voters who used the Tracker to correct a defect in their ABBM and
subsequently had their ABBM accepted, this total does not necessarily provide the exact information
requested in this interrogatory. That is because the TEAM system is a living database that captures
only the current or most recent status associated with any information in a voter’s record. Therefore,
State Defendants can only provide ABBM figures for the March 1, 2022 Primary reflecting the final
status of voters in the TEAM system. With those caveats and limitations in mind, State Defendants can
represent that the total number of ABBMs submitted for the March 1, 2022 Primary was 264,647; the
total number of voters who used the Tracker to correct a defect in their ABBM was 364; and the total
number of those voters who used the Tracker to correct a defect in their ABBM and either had their
ABBM accepted or cancelled their application and instead voted in person was 237.

SUPPLEMENTAL RESPONSE: Subject to State Defendants’ understanding of the meaning
and parameters of this interrogatory as set forth in their original response, State Defendants
supplement their response with the following counts as calculated by the Texas Secretary of State:

       May 7, 2022 Constitutional Amendment Election
       Total number of ABBMs submitted: 288,865.
       Total number of voters who used the Ballot by Mail Tracker to correct a defect in their
       ABBM: 48.
       Total number of voters who used the Ballot by Mail Tracker to correct a defect in their
       ABBM and had their ABBM accepted or cancelled their application and voted in person: 16.

       May 24, 2022 Primary Runoff Election
       Total number of ABBMs submitted: 280,277.
       Total number of voters who used the Ballot by Mail Tracker to correct a defect in their
       ABBM: 11.
       Total number of voters who used the Ballot by Mail Tracker to correct a defect in their
       ABBM and had their ABBM accepted or cancelled their application and voted in person: 7.

       November 8, 2022 General Election
       Total number of ABBMs submitted: 431,571.
       Total number of voters who used the Ballot by Mail Tracker to correct a defect in their
       ABBM: 523.
       Total number of voters who used the Ballot by Mail Tracker to correct a defect in their
       ABBM and had their ABBM accepted or cancelled their application and voted in person: 419.

INTERROGATORY NO. 8: State the number of voters who have cured carrier envelope
identification defects using any online portal provided pursuant to SB 1 from February 9, 2022 to
present, disaggregated by portal.

OBJECTIONS AND ORIGINAL RESPONSE:

        State Defendants object to this interrogatory to the extent that the information sought is not
proportional to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably
specific, or unduly burdensome. Additionally, State Defendants object to this interrogatory to the
extent that it requests information through "the present," which would result in the inclusion of
incomplete and inaccurate information if applied to the May 7, 2022 election, for which early
voting began on April 25, 2022. Subject to and without waiving these objections, State Defendants
                                                  12
       Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 106 of 355



answer as follows:

        The only “online portal[]” through which a voter may cure carrier envelope identification
defects is again the Ballot by Mail Tracker available at VoteTexas.gov. Using this portal, a voter can
cure the following three defects:

           1. The carrier envelope did not contain the voter’s Texas Driver’s License Number, Texas
              Personal Identification Number, Texas Election Identification Certificate Number, or
              the Last 4 digits of his Social Security Number;
           2. The identification number provided by the voter did not match the number associated
              with his voter registration record; or
           3. The voter was not issued one of the documents with the required number and did not
              indicate this fact on the carrier envelope.

        SOS can determine the number of voters who used the Tracker to correct a defective carrier
envelope and subsequently had their mail-in ballot accepted, but this total does not necessarily provide
the exact information requested in this interrogatory. That is because the TEAM system is a living
database that captures only the current or most recent status associated with any information in a voter’s
record. Therefore, State Defendants can only provide mail ballot figures for the March 1, 2022 Primary
reflecting the final status of voters in the TEAM system. Considering those limitations, State
Defendants can represent that the total number of mail ballots submitted for the March 1, 2022 Primary
was 198,947; the total number of voters who used the Tracker to correct a defective carrier envelope
was 2,628; and the total number of voters who used the Tracker to correct a defective carrier envelope
and either had their mail ballot accepted or cancelled their mail ballot and instead voted in person was
1,788.

SUPPLEMENTAL RESPONSE: Subject to State Defendants’ understanding of the meaning
and parameters of this interrogatory as set forth in their original response, State Defendants
supplement their response with the following counts as calculated by the Texas Secretary of State:

       May 7, 2022 Constitutional Amendment Election
       Total number of mail ballots submitted: 190,469.
       Total number of voters who used the Ballot by Mail Tracker to correct a defective carrier
       envelope: 1,017.
       Total number of voters who used the Ballot by Mail Tracker to correct a defective carrier
       envelope and had their mail ballot accepted or cancelled their mail ballot and voted in person:
       937.

       May 24, 2022 Primary Runoff Election
       Total number of mail ballots submitted: 183,260.
       Total number of voters who used the Ballot by Mail Tracker to correct a defective carrier
       envelope: 1,071.
       Total number of voters who used the Ballot by Mail Tracker to correct a defective carrier
       envelope and had their mail ballot accepted or cancelled their mail ballot and voted in person:
       1,063.

       November 8, 2022 General Election
       Total number of mail ballots submitted: 345,679.
                                                   13
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 107 of 355



Total number of voters who used the Ballot by Mail Tracker to correct a defective carrier
envelope: 1,531.
Total number of voters who used the Ballot by Mail Tracker to correct a defective carrier
envelope and had their mail ballot accepted or cancelled their mail ballot and voted in person:
1,496.




                                         14
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 108 of 355




              EXHIBIT
                51
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 109 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 110 of 355




              EXHIBIT
                52
  Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 111 of 355



                          DECLARATION OF J. SCOTT WIEDMANN


1. My name is Joseph Scott Wiedmann. I reside in Clifton, Virginia. I am the Acting Director of
   the Federal Voting Assistance Program (“FVAP” or “the Program”) in the United States
   Department of Defense (“DoD”), and have served in this capacity since 2022. After originally
   joining the FVAP in 1993, I have served in various capacities within FVAP with my most recent
   tenure as Acting Director.

2. Acting pursuant to the Uniformed and Overseas Citizens Absentee Voting Act, 52 U.S. Code §
   20301 (“UOCAVA” or the “Act”), the President of the United States on June 8, 1988, in
   Executive Order 12642, designated the Secretary of Defense to coordinate and facilitate all
   actions required to discharge federal responsibilities under the Act. Through the promulgation of
   DoD Instruction 1000.04, these responsibilities are assigned to FVAP.

3. UOCAVA protects the voting rights of U.S. citizens who are active members of the Uniformed
   Services, the Merchant Marine, the commissioned corps of the Public Health Service and the
   National Oceanic and Atmospheric Administration, their eligible family members and U.S.
   citizens residing outside the United States. UOCAVA provides the legal basis for absentee voting
   requirements for these citizens.

4. FVAP supports all eligible voters, both military and civilian, with the absentee voting process
   through consultations within the Department of Defense and the appropriate departments and
   agencies of the federal government. Through the dissemination of information FVAP assists
   potential voters, inclusive of members of the uniformed services, their eligible family members
   and overseas citizens to communicate with their election offices.

5. Pursuant to the Act, the Program is responsible for prescribing two key absentee voting related
   forms associated with establishing federal election eligibility for covered individuals. The Federal
   Post Card Application (“FPCA”) acts as a simultaneous voter registration and absentee ballot
   request, and the Federal Write-In Absentee Ballot (“FWAB”) acts as a “backup ballot” should the
   ballot requested from a state election office not arrive or remain unavailable. The Program also
   compiles and publishes information on state-by-state absentee registration and voting procedures
   in a Voting Assistance Guide and online at FVAP.gov, which is distributed to Voting Assistance
   Officers serving in our military as well as U.S. embassies and consulates. At its core, the
   information provided in the Voting Assistance Guide and on FVAP.gov is intended to help
   eligible voters successfully navigate the absentee voting processes prescribed by states by
   understanding key state election dates and deadlines for submission of documents. FVAP’s
   products and web site also provide instructions on how voters can complete and submit the FPCA
   and FWAB to their state of legal voting residence.

6. As authorized by 52 U.S. Code § 20301(b), the FPCA is intended to serve as a simultaneous
   instrument for eligible U.S. citizens to register and request absentee ballots from their legal voting
   jurisdiction. Section 20302(a)(4) requires that “each State shall use the official post card for
   simultaneous voter registration application and absentee ballot application.” State requirements
   under UOCAVA also include transmitting requested blank absentee ballots to voters by the 45th
   day prior to elections for federal office and offering an electronic option for the transmission of

    Declaration of J. Scott Wiedmann                                                          Page 1 of 4
  Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 112 of 355



    blank ballots if requested. States must also notify a voter if, and why, a registration or ballot
    request is rejected, and provide a free access system for voters to verify receipt of a ballot. The
    sense of Congress enshrined in UOCAVA is that election administrators should be aware of the
    importance of the ability of each uniformed services member to vote, and perform their election
    administrator’s duties with the intent to ensure that each uniformed services voter receive the
    utmost consideration and that each valid ballot is duly counted. Further, it provides that “all
    eligible American voters, regardless of race, ethnicity, disability, the language they speak, or the
    resources of the community in which they live, should have an equal opportunity to cast a vote
    and to have that vote counted.”

7. I am familiar with the challenges of supporting the absentee voting process for active duty
   military personnel and their families stationed away from their legal voting residence, either
   domestically or overseas, and for those United States citizens residing overseas. UOCAVA was
   amended in 2010 after Congress determined the need for a minimum 45-day ballot transmission
   and return timeframe, coupled with electronic transmission of the blank absentee ballot. The
   intent is to allow voters sufficient time to receive, vote, and return absentee ballots.

8. FVAP conducts post-election surveys of active duty military voters after each regularly scheduled
   general election for federal office. The 2020 post-election survey found that military members
   expressed difficulties with several aspects of the absentee voting process: the voter registration
   and ballot request process; not receiving an absentee ballot from their state or the ballot arriving
   too late; reaching the state’s election website; returning the ballot; and the mailing system.

9. On October 8, 2021, the State of Texas completed its coordination with FVAP and approved
   supporting instructions for the 2022-23 Voting Assistance Guide and FVAP.gov for the
   completion of the FPCA and its submission to appropriate Texas local election offices. The
   approved instructions specified to UOCAVA voters: “You must provide either a Texas-issued ID
   number or the last four digits of your Social Security Number. If you do not have either of these
   numbers you must enter in Section 6: ‘I do not have a Social Security Number or Texas-issued ID
   number.’”

10. During the 2022 general election FVAP responded to calls and emails from Texas UOCAVA
    voters who had questions regarding what identification numbers to provide on voting forms.
    FVAP personnel used informal guidance provided by the Texas Secretary of State’s Office
    stating that it is “permissible to provide both numbers” (Texas-issued ID number and the last four
    digits of their Social Security Number). Since both numbers are not required, no changes were
    made to the guidance provided on FVAP.gov. FVAP standard operating procedures require that
    state information contained on FVAP.gov reflect the Chief Election Official’s approved
    instructions to voters (which in 2022 stated that voters must provide one or the other number).

11. I am familiar with instructions issued by the Texas Secretary of State’s office contained in
    Elections Advisory 2021-18, which provides guidance and clarification on the review and
    acceptance of returned voted ballots where election officials determine a supporting carrier
    envelope contains defects under S.B. 1. As described, an Early Voting Ballot Board and Signature
    Verification Committee may convene between 20 days and four days prior to an election for
    federal offices to review returned carrier envelopes and review them for defects. If a defect is
    found in a carrier envelope for a voted ballot, the responsible board may determine it would be

    Declaration of J. Scott Wiedmann                                                           Page 2 of 4
  Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 113 of 355



    possible for the voter to correct the defect and return the carrier envelope before the time the polls
    are required to close on election day. In that case, the responsible board shall return the carrier
    envelope to the voter by mail. If, however, the board determines that it would not be possible for
    the voter to correct the defect and return the carrier envelope before the time the polls are
    required to close on election day, the board may notify the voter of the defect by phone or email
    along with information instructing that the voter may cancel their mail ballot or come to the early
    voting clerk’s office in person not later than the sixth day after election day to correct the defect.
    Given the time and distance complexities associated with voters attempting to vote absentee
    under UOCAVA, this provision effectively provides no choice in terms of correcting a defect for
    these voters. The potential for an active duty military service member or an overseas citizen to
    successfully return in person to the early voting clerk’s office within six days of the election is
    extremely unlikely and cost prohibitive.

12. I am familiar with instructions issued by the Texas Secretary of State’s office contained in
    Elections Advisory 2022-08 and the impacts on “Federal Post Card Application (FPCA) Voters.”
    This would allow “FPCA voters” who have a defect in their signature sheet to submit a corrected
    signature sheet by email, fax, personal delivery, or mail. This would increase the number of
    interactions required for a voter to successfully complete the absentee voting process, which
    could eliminate military voters in remote or sensitive locations, as well as those who may not
    have regular internet access. FVAP 2020 post-election surveys show that while about nine out of
    ten active-duty military have reliable internet access, just under three in four have reliable printer
    access, and fewer than two-thirds have reliable access to a scanner. Fewer than one in four active
    duty military members report reliable access to a fax machine.

13. It is my understanding, based on instructions issued by the Texas Secretary of State’s office
    contained in Elections Advisory 2022-08, that the online mechanisms provided by the state of
    Texas may be difficult to access for correcting reported defects as the login requires both the
    same social security and state identification number as what is on file. However, the voter may
    not have used both numbers when originally registering to vote. Another concern is the means by
    which an election official may choose to contact a voter with a defect on their signature sheet. It
    is unclear how this notification would occur, as it states notification is required to be same
    method by which all voters are contacted. U.S. citizens around the world will be in different time
    zones and may not be available to receive a phone call from a Texas county election official, and
    the time for mail to travel to the voter for a return response could severely limit the potential for a
    successful correction.

14. In general, I am of the understanding that S.B. 1 as implemented may negatively impact the
    ability of military members, their eligible family members, and overseas U.S. citizens to
    successfully register, request, and cast an absentee ballot in Texas elections for federal offices.
    Many of these citizens depend on the federally prescribed forms and accompanying instructions
    to provide voter registration and absentee ballot request upon submission. However, S.B. 1
    appears to impose a series of multiple follow-up communications in relatively short timeframes
    for ballot requests or for absentee ballots found to be defective under S.B. 1. This can lead to
    disenfranchisement, as these voters are regularly in situations where internet access, electronic
    communications, and postal delivery are not reliably or consistently available.




    Declaration of J. Scott Wiedmann                                                            Page 3 of 4
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 114 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 115 of 355




              EXHIBIT
                53
     Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 116 of 355




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,
                      Plaintiffs,

      v.                                       5:21-cv-0844-XR

GREGORY W. ABBOTT, et al.,
                       Defendants.
OCA-GREATER HOUSTON, et al.,
                        Plaintiffs,

      v.                                       1:21-cv-0780-XR

TEXAS SECRETARY OF STATE JOHN SCOTT,
et al.,
                         Defendants.
HOUSTON JUSTICE, et al.,
                          Plaintiffs,

      v.                                       5:21-cv-0848-XR

GREGORY WAYNE ABBOTT, et al.,
                     Defendants.
LULAC TEXAS, et al.,
                      Plaintiffs,

      v.                                       1:21-cv-0786-XR

JOHN SCOTT, et al.,
                           Defendants.
MI FAMILIA VOTA, et al.,
                           Plaintiffs,

      v.                                       5:21-cv-0920-XR

GREG ABBOTT, et al.,
                           Defendants.




                                         1
     Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 117 of 355




UNITED STATES OF AMERICA,
                      Plaintiff,
                                                           5:21-cv-1085-XR
      v.

STATE OF TEXAS, et al.,
                              Defendants.




                   Expert Report of Professor Douglas L. Kruse, Ph.D.

                                Distinguished Professor
                   Rutgers School of Management and Labor Relations
                     Co-Director, Program for Disability Research
                                  94 Rockafeller Road
                              New Brunswick, N.J. 08903

 On Behalf of Plaintiffs in La Unión Del Pueblo Entero, et. al. v. Abbott, et al.; Houston Area
  Urban League, et al. v. Abbott, et al.; and OCA-Greater Houston, et al. v. Esparza, et al.,
                                  Case No. 5:21-cv-844(XR)

                                      February 28, 2022




                                               2
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 118 of 355
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 119 of 355




                                Report on Texas voting lawsuit
                                     February 28, 2022

                       PURPOSE OF ENGAGEMENT
1.     I have been retained by Plaintiffs in La Union Del Pueblo Entero, et al. v. Abbott, et al.;
Houston Area Urban League, et al. v. Abbott, et al.; and OCA-Greater Houston, et al. v.
Esparza, et al., Consolidated Case No. 5:21-cv-844 (W.D. Tex.) to provide my expert opinions
on issues related to the ways in which SB 1 erects barriers that harm voters with disabilities by
impeding their access to voting in the State of Texas.

                                QUALIFICATIONS
2.      I am currently a Distinguished Professor in the School of Management and Labor
Relations at Rutgers University. I have been a Research Associate at the National Bureau of
Economic Research in Cambridge, Massachusetts since 1995, and a Research Fellow at the IZA
Institute of Labor Economics in Bonn, Germany since 2016. In 2013-14, I served as a Senior
Economist at the Council of Economic Advisers in the Executive Office of the President in
Washington, D.C.

3.     I received my Bachelor’s Degree in Economics from Harvard University in 1981, my
Master’s Degree in Economics and Certification in Public Policy Analysis and Program
Evaluation from the University of Nebraska-Lincoln in 1983, and my Ph.D. in Economics from
Harvard University in 1988.

4.     At Rutgers I am Co-Director of the Program for Disability Research, and am Associate
Director of the Institute for the Study of Employee Ownership and Profit Sharing. I have also
served as our school’s Associate Dean of Academic Affairs, and as Ph.D. Director where I
oversaw Ph.D. students in their coursework, exams, and dissertations.

5.      My research focuses on two areas: 1) economic, social, and political inclusion of people
with disabilities, with a focus on the relationship of disability to employment and political
participation, and 2) the causes, consequences, and implications of employee ownership and
profit sharing plans.

6.     I have authored, co-authored, or edited 14 books, along with 123 journal articles or book
chapters, and 22 reports. The book publishers include Cambridge University Press, University of
Chicago Press, and Yale University Press among others. Four of the books and 40 of the articles
and book chapters have been published within the past 10 years. My research has been cited
over 12,000 times according to Google Scholar.

7.      I have substantial expertise on the topic of voting among people with disabilities. I have
been principal investigator (PI) or Co-PI on four grant-funded national post-election surveys on
the voting experiences of people with and without disabilities. Two of these surveys were
funded by the U.S. Election Assistance Commission. Following the release of key results, the
data were further analyzed with results published in peer-reviewed journals; one of these articles
received a major award from the Western Political Science Association. In addition to these
                                                 4
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 120 of 355




surveys, I have analyzed U.S. Census microdata after each election since 2008 and co-authored
fact sheets with detailed analyses of disability and voter turnout in each election, along with pre-
election fact sheets projecting the number of eligible voters with disabilities in 2016 and 2020.
The most recent fact sheet analyzing the 2020 election was jointly released with the U.S.
Election Assistance Commission.

8.      My professional service includes being Associate Editor of the British Journal of
Industrial Relations from 2011 to 2021, and Associate Editor of the Journal of Participation and
Employee Ownership from 2017 to the present. My service to society includes being a member
of the President’s Committee on Employment of People with Disabilities from 1998 to 2000, and
a member of the State Rehabilitation Advisory Council, New Jersey Division of Vocational
Rehabilitation from 1999 to 2013.

9.     I have testified four times before Congress on my economic research.

10.    I have been PI or Co-PI on 24 grants with total funding of $16.4 million. Currently I am
PI or Co-PI on four disability-related grants, including two 5-year grants for centers funded by
the National Institute on Disability, Independent Living, and Rehabilitation Research in the U.S.
Department of Health and Human Services.

                            EXECUTIVE SUMMARY
11.    The U.S. Department of Justice–charged with enforcing and interpreting the Americans
with Disabilities Act (ADA)–has explained:

       Voting is one of our nation’s most fundamental rights and a hallmark of our democracy.
       Yet for too long, many people with disabilities have been excluded from this core aspect
       of citizenship. People with intellectual or mental health disabilities have been prevented
       from voting because of prejudicial assumptions about their capabilities. People who use
       wheelchairs or other mobility aids, such as walkers, have been unable to enter the polling
       place to cast their ballot because there was no ramp. People who are blind or have low
       vision could not cast their vote because the ballot was completely inaccessible to them.1

12.    This report finds that:

13.    Voting eligible people with disabilities vote at lower rates than those without disabilities,
vote by mail significantly more often than those without disabilities, and experience barriers to
voting—both in person and by mail—more frequently than people without disabilities.

14.    At least 3 million voting-eligible Texans have disabilities.

15.     Voting-eligible citizens in Texas with disabilities face a myriad of barriers in accessing
voting stemming from high rates of needing assistance in activities of daily living, higher

1
 The Americans with Disabilities Act and Other Federal Laws Protecting the Rights of Voters
with Disabilities, U.S. DEPARTMENT OF JUSTICE, October 10, 2014,
https://www.ada.gov/ada_voting/ada_voting_ta.htm.
                                                 5
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 121 of 355




likelihood of living alone, lower likelihood of having a vehicle they can drive, other barriers to
travel, lower likelihood of internet access, and lower average education levels compared to those
without disabilities. Voting-eligible disabled citizens in Texas are more socially isolated which
limits their support networks for assistance in voting. They also must contend with well-
documented social stigma that both reflects and reinforces their social isolation and increases the
barriers to obtaining necessary resources and assistance in exercising the right to vote.

16.    Only 59.4% of voting-eligible people with disabilities in Texas voted in 2020, compared
to 64.5% of those without disabilities. The 5.1 percentage point gap is well outside the statistical
margin of error, so we can be highly confident of a true gap in the population.

17.    Among Texas voters in 2020, 30.2% of people with disabilities and 8.2% of people
without disabilities voted using a mail ballot.

18.     While specific data on voting difficulties by disability status are not available in Texas,
national data show a high rate of voting difficulties among people with disabilities. In 2020,
21.3% of in-person voters with disabilities either required assistance or had difficulties in voting,
which is almost twice the 11.9% rate among voters without disabilities. There was also a
disability gap among mail voters, where 14.0% of voters with disabilities either required
assistance or had difficulties in voting compared to 3.2% of voters without disabilities.

19.     Based on these findings, and in my expert opinion, several provisions of SB 1 will pose
barriers to Texas citizens with disabilities who wish to exercise their right to vote.

20.    Sections 5.02, 5.03, 5.06, 5.07, 5.10, and 5.12 place restrictions on mail voting for
applications and correcting rejected applications that will burden many people with disabilities
who find it less difficult to vote by mail due to their disabilities.

21.     Section 6.01 requires any person other than a close relative who simultaneously drives
seven or more voters to the polls for curbside voting to complete and sign a form stating their
name and address and whether they only provided transportation assistance or also assistance
with voting. This new requirement will create additional barriers for voters with disabilities who
rely on group transportation to vote curbside. Because many people with disabilities face
transportation barriers and social isolation, this new requirement will make it harder for some
people with disabilities to find people willing to provide transportation assistance.

22.     Section 6.04 adds language to the assistor oath which substantially restricts the types of
assistance that can be given, which will burden people with disabilities who, because of their
disabilities, need assistance to vote. There are many types of assistance people with disabilities
need that go beyond the assistance permitted by SB 1. Because many people with disabilities will
need this assistance, this restriction will interfere with many people’s ability to vote.

23.     Sections 6.03 and 6.05 create extra requirements for assistors to document their
relationship to the voter and whether they received any compensation or benefit from a
candidate, campaign, or political committee. Because people with disabilities are far more likely
to use curbside voting and many people with disabilities need voting assistance, this will create
an extra barrier to voting for some people with disabilities in finding people willing to provide
assistance. It will also increase the likelihood that a voter’s ballot will be rejected, either due to a
                                                   6
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 122 of 355




clerical error because they had inadequate assistance, or a mistake in the documentation of the
assistance they did receive.

24.     Section 6.06 makes it a crime to compensate (or offer, solicit, receive, or accept
compensation for) someone for helping a voter vote by mail. While there is an exception for
previously known attendants or caregivers, this section will prohibit people with disabilities from
getting assistance from a substantial number of people who they may have routinely turned to,
including close friends or neighbors. It will also prohibit people with disabilities from getting
assistance from staff or volunteers with community or nonpartisan civic engagement
organizations that routinely provide voting support to the disability community.

25.     Section 7.04 makes it a crime      to receive any form of compensation or       benefit for
collecting another voter’s mail ballot. It also criminalizes in-person interaction with a voter about
a specific candidate or measure, in the physical presence of a ballot, while receiving any form of
compensation or benefit. This provision will impose barriers on        people with disabilities who
require assistance to vote, who live alone and face transportation barriers, and who may benefit
from assistance while continuing to vote independently.

26.   In sum, in my expert opinion, these provisions of SB 1 will harm a significant number of
Texans with disabilities and impose new barriers to them in exercising the right to vote.

                       DEFINITION OF DISABILITY
27.      The ADA protects all those with a substantial limitation in one or more major life
activities. The U.S. Department of Justice has explained:

       The term ‘substantially limits’ shall be construed broadly in favor of expansive coverage,
       to the maximum extent permitted by the terms of the ADA…The comparison of an
       individual’s performance of a major life activity to the performance of the same major
       life activity by most people in the general population usually will not require scientific,
       medical, or statistical evidence.2

                        INTERPRETING THE DATA
28.     This report presents an overview of the prevalence and characteristics of people with
disabilities, drawing on analysis of six nationally representative surveys. Three of these surveys
are conducted by the U.S. Census Bureau: the American Community Survey (ACS), the Survey
of Income and Program Participation SSA Supplement (SIPP), and the Current Population
Survey Voting and Registration Supplement (CPS).3 The other three surveys are the National
2
  Questions and Answers about the Department of Justice’s Notice of Proposed Rulemaking to
Implement the Americans with Disabilities Act Amendments Act of 2008, U.S. DEPARTMENT OF
JUSTICE, January 30, 2014, https://www.ada.gov/nprm_adaaa/adaaa-nprm-qa.htm.
3
  See American Community Survey, UNITED STATES CENSUS BUREAU,
https://www.census.gov/programs-surveys/cps/about/supplemental-surveys.html (last visited
2/28/2022) (the relevant supplemental surveys are the Social Security Administration
Supplement and Voter Registration Supplement, in addition to the general survey).
                                                 7
     Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 123 of 355




Household Travel Survey (NHTS) conducted by the Federal Highway Administration, the
Survey of the Performance of American Elections (SPAE) conducted by the Caltech/MIT Voting
Technology Project, and the Disability and Voting Accessibility Survey (DVAS) sponsored by
the U.S. Election Assistance Commission and conducted by Rutgers University and SSRS Inc. 4
Each of these surveys has a large sample and uses a combination of methods to obtain
information on a wide range of population characteristics. Responding households are chosen
randomly, and any differences from known values in the population are corrected using
statistical weights in order to ensure the final sample is representative of the population.

29.     I rely on ACS data where the measures are available, because this dataset: i) has a much
larger sample size ensuring estimates with smaller margins of error, and ii) is more
comprehensive by including residents living in group quarters, unlike the SIPP, CPS, and NHTS.
Group quarters are categorized in ACS into either “institutional” settings (nursing homes, mental
hospitals, and correctional facilities) or “non-institutional” settings (college dorms, military
barracks, group homes, missions, and shelters). As will be explained below, people with
disabilities are both significantly more likely than those without disabilities to be living by
themselves when living in the community, and are also more likely to be living in institutional
group quarters. To the extent that people with disabilities in institutional group quarters have
more severe disabilities and face greater barriers, the CPS, SIPP, and NHTS will underreport the
disparities faced by people with disabilities overall.

30.     The ACS and CPS have measures of both age and citizenship, so I limit the samples to
the voting-eligible population (citizens age 18 or older). The DVAS includes only the voting-
eligible population, and the SPAE includes only registered voters. The SIPP and NHTS have
age but not citizenship measures, so estimates from those surveys are based on the voting-age
population (age 18 or older).

31.     The ACS and CPS measure disability using six questions. Four of the questions measure
impairments (vision, hearing, cognitive, and mobility), and two of the questions measure activity
limitations (difficulty dressing or bathing, and difficulty going outside alone). These questions
were chosen after extensive cognitive research by the Census Bureau, using interviews and focus
groups to ascertain how respondents understood and interpreted the survey questions, to
maximize the likelihood that answers to the final chosen questions would reflect accurate
reporting of disabilities rather than alternative understandings of the questions.5 SIPP uses a
more extensive set of over 100 questions to derive its disability measure. The DVAS measures


4
  National Household Travel Survey, U.S. Department of Transportation, FEDERAL HIGHWAY
ADMINISTRATION, https://nhts.ornl.gov/ (last visited 2/28/2022); Survey of the Performance of
American Elections, MIT ELECTION LAB, https://electionlab.mit.edu/research/projects/survey-
performance-american-elections (last visited 2/28/2022); U.S. Election Assistance Commission
Study on Disability and Voting in the 2020 Elections, https://www.eac.gov/election-officials/us-
election-assistance-commission-study-disability-and-voting-accessibility-2020 (last visited
2/28/2022).
5
  Kristen Miller and Theresa J. Demaio, Report of Cognitive Research on Proposed ACS
Disability Questions, US CENSUS BUREAU, August 28, 2006,
https://www.census.gov/library/working-papers/2006/adrm/ssm2006-06.html.
                                                8
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 124 of 355




disability using the six ACS and CPS questions plus a seventh broader question, whereas the
NHTS and SPAE each use one general question to measure disability.

32.      An important note is that the six questions used by the ACS and CPS are likely to capture
only a portion of the full disability population (as defined by the broad ADA definition described
above). One issue is that people might underreport disabling conditions, as found in research
comparing subjective reports to objective reports of health conditions.6 A second important issue
is that measuring disability is made difficult by the wide variation in types of disability (e.g.,
hearing, vision, mobility, cognitive, developmental, chronic illnesses, and others) and the
severity of disabilities (e.g., whether the condition causes a major or mild limitation in life
activities). Asking about all types of disabilities is not feasible in a survey, and due to the wide
variation it is inevitable that any set of questions will miss some disabilities. The six standard
Census questions are likely to undercount speech impairments and learning disabilities, as well
as mental illnesses such as depression and bipolar disorder. They may also undercount people
with episodic conditions that wax and wane such as epilepsy, Lupus, and Multiple Sclerosis, and
conditions like cancer, long-COVID, or back problems that cause pain or fatigue. The Census
surveys nonetheless provide a valuable window on a large portion of the disability population.
Because the six questions are likely to undercount certain types of disabilities, I also present
results from a more extensive set of disability questions used in a SIPP module in 2014. These
more extensive questions have not been used in any major survey since 2014. Due to the greater
number of questions that cover a broader range of disabilities, the SIPP is likely to be a more
comprehensive portrait of the disability population, although it has the drawback that it excludes
people in institutional group quarters and does not have a citizenship measure as noted above.

33.     In this report I focus on the population of people with disabilities living in Texas. The
ACS has a large sample size of 127,398 for Texas, while the SIPP and CPS have smaller samples
of 1,569 and 4,290. The NHTS has a sample size of 44,040 for Texas. These sample sizes are
more than the standard sample size of 1,000 used to obtain reliable estimates within large
populations. Due to the smaller samples in SIPP and CPS, in several breakdowns I complement
the Texas numbers from those surveys with numbers for the overall U.S., plus estimates of the
significance of any differences between the U.S. and Texas samples. The SPAE and DVAS have
good samples for national estimates but do not have large enough samples within Texas for
meaningful analysis, so I only present national figures from those surveys.

34.     In a number of places, I compare results between people with and without disabilities,
showing that people with disabilities face economic and social disparities and higher rates of
voting difficulties that are linked to lower voter participation. These disparities are maintained
when holding constant the effects of demographic characteristics (race, ethnicity, gender, age,
and educational attainment). The effects of disability may be even greater than indicated by the
simple difference between people with and without disabilities, because voters without
disabilities may face many other non-disability-related difficulties, such as language barriers.

35.    All estimates presented in this report use survey weights to ensure the sample is
representative of the disability population on key characteristics. Due to the pandemic possibly

6
 Michael Baker, Mark Stabile, and Catherine Deri, What do self-reported, objective, measures of
health measure?, 39 J. HUMAN RESOURCES 1067 (2004).
                                                 9
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 125 of 355




affecting survey responses, the Census Bureau issued the 2020 ACS data with experimental
weights, which I use in this report. To ensure the results did not change substantially due to the
pandemic, I have also made comparisons to the 2019 ACS data. The results of this comparison
(not reported here but available on request) are very similar on all key variables between 2019
and 2020.

36.     In short, the Census surveys do a reasonable job of providing a portrait of a large portion
of the disability population, and are extensively used by scholars in peer-reviewed research on
the status of people with disabilities. To the extent that they undercount people with disabilities,
they will undercount the number of people who face disability-related disparities and challenges
in voting and other important activities.


   OVERVIEW: PREVALENCE AND GENERAL
CHARACTERISTICS OF PEOPLE WITH DISABILITIES
   AND IMPLICATIONS FOR VOTING ACCESS
Summary

37.     In order to fully understand the extensive barriers people with disabilities face in
accessing their fundamental right to vote, it is critical to provide an overview of the general
barriers people with disabilities face in their daily lives and how each of these factors can impact
access to voting. People with disabilities are likely to face a myriad of barriers in exercising the
right to vote. These barriers can stem from a number of disability-related issues, including the
need for assistance in activities of daily living, increased likelihood of living alone, lower
likelihood of having a vehicle one can drive, other barriers to traveling, lower likelihood of
internet access, and lower levels of education. In addition, the lower economic status of people
with disabilities, reflected in lower incomes and higher poverty rates, creates challenges in
exercising the right to vote. For example, people with disabilities are less likely to have the
money to buy computers or own their own vehicles, making it harder to access information or
get to election offices and polling sites. The social stigma many people with disabilities
experience further compounds the difficulties they face in accessing voting.

Overall Prevalence and Types of Disability

38.     Both ACS and SIPP data can be used to provide estimates of the number of people with
disabilities in Texas. The ACS uses only 6 questions so is a more conservative estimate, while
the SIPP disability measure is based on over 100 questions and is a more expansive estimate.
Based on the 2020 ACS 6-question measure, Table 1 shows that 15.6% of voting-eligible people
in Texas have disabilities, representing 3 million people. Based on the SIPP survey’s more
extensive set of disability questions, 30.5% of voting-age people in Texas have disabilities,
representing 5.6 million people when applied to 2020 population numbers.7 The range of 3 to


7
 The 5.6 million figure assumes that the proportion of adults with disabilities in Texas using the
SIPP measure did not change between 2014 and 2020, and that among all Texans with
                                                 10
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 126 of 355




5.6 million people reflects differences in whether disability is measured more narrowly or
broadly. Two important points about this range are: 1) both numbers indicate that a substantial
portion of Texans have disabilities; and 2) when the narrower ACS measure is used, this is likely
to result in conservative estimates of the number of people who face disability-related disparities.

39.    Whether one uses the narrower or broader measure, disability prevalence is projected to
grow as the overall population ages in the next few decades.8

40.    As shown in Table 1, a breakdown of ACS data by disability type shows that the Texas
population of citizens with disabilities includes (the categories may overlap):

   1,604,700 people with mobility impairments,

   1,082,500 with cognitive impairments,

   875,900 with hearing impairments,

   638,500 with vision impairments,

   596,300 with difficulty dressing or bathing, and

   1,127,500 with difficulty going outside alone due to a physical or mental condition.

41.    Table 1 also shows the margin of error for each estimate, reflecting the potential for
sampling error. The margin of error of 0.3% around the disability prevalence estimate of 15.6%
means that there is a 95% probability that the true population value lies within plus or minus
0.3% of the estimate, or between 15.3% and 15.9%.

42.    These numbers are very similar to those from before the onset of the pandemic in 2020.
In 2019, the ACS data indicate that 15.6% of the Texas adult citizen population and 16.4% of the
U.S. adult citizen populations had disabilities.

43.      The SIPP survey provides a more detailed look at variation in disabling conditions in
Texas. As shown in Table 2, more than 10% of the Texas population has difficulty with physical
activities of walking, climbing stairs, lifting, standing, pushing or pulling, and crouching. More
than one-eighth (13.4%) have difficulty with one or more basic activities of daily living such as
getting into a bed or chair, taking a bath or shower, eating, preparing meals, or using a telephone.
Applied to 2020 Texas population figures, 2.4 million Texans have difficulty with one or more



disabilities age 18 or older, the percent who are eligible citizens matches the percent in the 2020
ACS (93.9%).
8
  Ageing and Disability, UNITED NATIONS DEPARTMENT OF ECONOMIC AND SOCIAL AFFAIRS, last
visited 2/28/2022, https://www.un.org/development/desa/disabilities/disability-and-
ageing.html#:~:text=Currently%2C%20it%20is%20estimated%20that,experience%20moderate
%20to%20severe%20disability.
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      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 127 of 355




activities of daily living. The abilities needed for several of these activities are also needed in the
act of voting, both in person and by mail.

Demographic Characteristics

44.    The prevalence of disability in Texas is markedly higher among Native Americans, Black
people, older people, and those with lower levels of education. The 2020 ACS data in Table 3
show that:

   Black people (17.9%) and Native Americans (17.8%) are more likely to have disabilities,
    compared to white non-Hispanic (16.3%) people. While the overall rate of disability
    (14.2%) is lower among Hispanic/Latinx citizens than among non-Hispanic/Latinx
    citizens overall, this is largely due to their younger average age that is linked to lower
    disability rates. When broken down by age group, the rate of disability is significantly
    higher among Hispanic/Latinx citizens in every age group except for the youngest (18-
    34).9 As a consequence, Hispanic/Latinx citizens are likely to face disparities linked both
    to disability and to their Hispanic/Latinx heritage. Similarly, the higher rates of disability
    among Black citizens means that they are likely to face disparities linked both to
    disability and to race.

   The disability rate climbs strongly with age, from 7.7% among those aged 18-34 to
    70.3% among those aged 85 or older.

   The disability rate declines strongly as the rate of education rises, from 28.1% among
    those without a high school degree to 9.4% among those with a graduate degree.

45.     The relationship between education and disability reflects causality in both directions.
Disability can limit education due to barriers that people with disabilities often encounter in
furthering their education, such as lack of a correct diagnosis or appropriate accommodations,
especially for poorer children. Education also has an impact on disability: it can open up jobs
with safer working conditions that are less likely to lead to disability, and provide higher
incomes that increase access to health services and assistive technology that help people cope
with potentially disabling conditions.

46.     The estimated total number of voting-eligible people with disabilities in Texas is
1,551,800 among women, 1,472,400 among men, 1,533,400 among white non-Hispanic/Latinx
people, 428,300 among Black non-Hispanic/Latinx people, and 881,800 among Hispanic/Latinx
people. Compared to pre-pandemic 2019 data, the percentages and numbers of people with
disabilities in Texas are very similar between 2019 and 2020.

Economic Status


9
 The rates of disability for Hispanic/Latinx compared to white non-Hispanic people are 6.9%
compared to 8.0% among those age 18-34, 9.9% compared to 8.2% among those age 35-49,
18.8% compared to 14.9% among those age 50-64, and 42.5% compared to 35.0% among those
age 65 or older.
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        Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 128 of 355




47.     People with disabilities in Texas have very low employment rates and high poverty rates.
As shown in Table 4, only 40.1% of working-age (18-34) Texans with disabilities were
employed in 2020, which is just over half the rate of people without disabilities (74.2%). Among
all ages, people with disabilities were almost twice as likely to live in poverty (18.0% compared
to 9.2%). They were also much more likely to receive income from Social Security (47.4%
compared to 13.3%), reflecting both disability and retirement income provided through Social
Security. In part due to their low incomes, 20.3% receive public assistance income or food
stamps, and 26.5% receive health care coverage through Medicaid or another low-income plan,
compared to 10.3% and 6.1% (respectively) of people without disabilities. Additional
breakdowns show that this pattern is very similar between Texas and the U.S. as a whole, and
between 2019 and 2020.

Living Situation and Need for Assistance

48.     People with disabilities in Texas are more likely to live alone and be unmarried, and a
large portion need assistance with activities of daily living. From the 2020 ACS data shown in
Table 4:

     People with disabilities are significantly more likely than people without disabilities to
      live alone—that is, not living with others either in the community or in institutional group
      quarters (20.8% compared to 12.3%).

     They are less likely to be currently married with a spouse present (42.8% compared to
      52.4%), and more likely to be separated or divorced (19.4% compared to 12.1%) or
      widowed (14.4% compared to 3.4%) while not being currently married.

     They are four times more likely than people without disabilities to live in institutional
      group quarters (4.7% compared to 1.1% are in nursing homes, mental hospitals, or
      correctional facilities).

49.      These patterns of disparities are very similar between Texas and the entire U.S.

50.     People with disabilities are also more likely to need assistance with activities of daily
living, which are measured only in SIPP. Because the 2014 SIPP sample has only 566 Texans
with disabilities, I also provide numbers for the full U.S. sample of 10,003. From the data shown
in Table 5, close to two-fifths of people with disabilities (41.2% in Texas and 37.4% in the U.S.)
need assistance with one or more activities, with especially high rates for going outside of the
home for errands (25.5% in Texas), accessing the Internet (15.2%), doing light housework
(13.7%), keeping track of money (12.0%), and preparing meals (11.0%).

51.     Applied to the 2020 Texas population, this indicates that close to 2.3 million Texas
citizens age 18 or older need assistance with one or more daily activities.

52.    Because a large number of people with disabilities live alone, many who need assistance
must rely on non-household members. Over one-third (34.9%, or an estimated 1.9 million in
2020) of Texans with disabilities receive assistance in daily activities from family members,
4.0% (220,000) from friends or neighbors, 4.0% (220,000) from paid help, 1.4% (79,000) from

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      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 129 of 355




partners or companions, 1.4% (78,000) from other non-relatives, with a total of 10.6% (589,000)
from any non-relative (these categories overlap as individuals may receive help from more than
one person).

53.     The above characteristics create greater challenges to voting for many people with
disabilities, particularly when they need assistance and find it difficult to arrange such assistance
due to their higher likelihood of living alone and greater social isolation.

Computer and Internet Access

54.     Due in part to their lower average incomes, people with disabilities in Texas are less
likely to have internet access. From the 2020 ACS data shown in Table 6:

   Among Texas citizens with disabilities eligible to vote, 84.5% live in homes with internet
    access, compared to 95.2% for people without disabilities.

   Translated into absolute numbers, an estimated 460,600 citizens with disabilities who are
    eligible to vote in Texas live in homes without internet access.

55.     These digital gaps also show up when looking at individual rather than household access
to the internet. Further data from the Census Bureau’s 2019 Current Population Survey
Computer and Internet Use Supplement show that:

   People with disabilities in Texas are less likely to use the internet at home (60.1%
    compared to 78.9% of people without disabilities).

   This gap is not decreased by adding in internet access outside the home. Considering all
    forms of internet access, 60.5% of people with disabilities use the internet in any location
    compared to 82.3% of people without disabilities.

   Translated into absolute numbers, an estimated 823,200 Texas citizens with disabilities
    do not use the internet either inside or outside the home.

   The disability gaps are not explained by age differences between people with and without
    disabilities. While older people are less likely to access the internet, Table 5 shows that
    large disability gaps exist within each age group.

   While the 2019 survey has a limited sample of Texans with disabilities, the disability
    gaps in each measure are outside of the margin of error.

56.     These disability gaps in computer and internet access can impact the ability of citizens
with disabilities to obtain necessary resources for voting. Not having internet access can make it
more difficult to: a) register to vote; b) find out how and where to vote, particularly if polling
places have been changed; c) gather information on candidates and issues in order to make
informed decisions in voting; and d) cure issues with mail-in ballot applications. These
difficulties create special problems when voting information is only provided in an online
format.

                                                 14
       Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 130 of 355




Transportation

57.     People with disabilities face transportation barriers. Based on the 2017 National
Household Travel Survey, 1.8 million Texans age 18 or older have travel-limiting disabilities,
defined as “a temporary or permanent condition or handicap that makes it difficult to travel
outside of the home.” The rate of travel-limiting disability in Texas was 10.0% among those age
18 or older. Several findings shown in Table 7 are:

    Texans with disabilities were four times more likely to live in zero-vehicle households
     (14.4% compared to 3.0% of Texans without disabilities).

    Texans with disabilities took fewer average trips per day (2.3 compared to 3.5) and were
     more likely to take no trips in a day (40.0% compared to 15.8%).

    Texans with disabilities are less likely to be drivers than are those without disabilities
     (59.6% compared to 93.0%).

    Texans with disabilities were slightly more likely to use public transportation (12.6%
     compared to 8.8% among Texans without disabilities).

    Texans with disabilities did not make up for transportation barriers by using ride-hailing
     services such as taxis or Uber (only 2.6% did so in the past month compared to 8.8% of
     Texans without disabilities) or by relying on online purchases (only 31.5% did so
     compared to 54.2% of Texans without disabilities.).

    Over half (53.6%) of Texans with disabilities agreed that travel is a financial burden,
     compared to only 39.6% of those without disabilities.

58.    These results are supported when employing a broader disability measure using national
data. As also shown in Table 7, the 2020 Disability and Voting Accessibility Survey (DVAS),
shows that only 69.6% of people with disabilities can drive their own or a family vehicle,
compared to 90.0% of people without disabilities. People with disabilities were also more likely
than those without disabilities to say they faced transportation problems “very often” or “always”
(5.6% compared to 2.9%).

59.     Transportation difficulties can have a negative impact on voting as research finds a
significantly higher likelihood of voting among those who have a vehicle they can drive.10


Social Isolation, Stigma, and Bias

60.     The lower employment levels, greater likelihood of living alone, lower internet access,
and transportation barriers among people with disabilities documented above all contribute to
social isolation. The greater social isolation of people with disabilities is also evidenced in their

10
  Lisa Schur, Todd Shields, Douglas Kruse, & Kay Schriner, Enabling Democracy: Disability
and Voter Turnout. 55 POLITICAL RESEARCH QUARTERLY 167 (2002).
                                                   15
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 131 of 355




lower likelihood of socializing with friends, relatives, or neighbors.11 This social isolation limits
the support network upon which people with disabilities may rely for assistance with
fundamental daily activities, including accessing the right to vote.

61.     The social isolation is reflected in, and reinforced by, the well-documented stigma
attached to disability that continues to be manifested in attitudinal studies of the general
population.12 These attitudes toward people with disabilities impact all areas of an individual’s
life. The stigma attached to disability may impact the perception of a person’s abilities that do
not align with reality. This can impact the ability of people with disabilities to vote by, for
example, making people (particularly those outside of their families) less willing to assist them
with voting, and can also result in people with disabilities themselves being less willing to ask
for assistance when needed.

         VOTING BARRIERS FACING PEOPLE WITH
                    DISABILITIES
Voter Participation

62.     People with disabilities in Texas and nationwide are less likely to vote than their non-
disabled counterparts. Data from the Current Population Survey Voting and Registration
Supplement, conducted by the Census Bureau every two years following national elections, show
that 71.9% of eligible citizens with disabilities in Texas were registered to vote in 2020, and
59.4% voted, compared to 71.2% and 64.5% of citizens without disabilities respectively. These
numbers show that citizens with disabilities in Texas had a similar registration rate as those
without disabilities (within the margin of error), but they were 5.2 points less likely to vote, and
the voting gap is outside the margin of error. In the U.S. as a whole, people with disabilities
were 3.0 points less likely to be registered to vote, and 5.7 points less likely to vote, and the
larger U.S. sample means that we are at least 99.9% confident that there is a true participation
gap in the population. These figures are provided in Table 8. Similar disability participation



11
   Harris Interactive, The ADA: 20 Years Later, KESSLER FOUNDATION AND THE NATIONAL
ORGANIZATION ON DISABILITY at 15-16, July 2010,
http://www.advancingstates.org/hcbs/article/ada-20-years-later-2010-survey-americans-
disabilities.
12
   Fatima Jackson-Best and Nancy Edwards, Stigma and intersectionality: a systematic review of
systematic reviews across HIV/AIDS, mental illness, and physical disability, 18 BMC PUBLIC
HEALTH 919 (2018); Barbara Muzzatti, Attitudes towards disability: beliefs, emotive reactions,
and behaviors by non disabled persons, 35 GIORNALE ITALIANO DI PSICOLOGIA 313 (2008);
Katarina Scior, Public awareness, attitudes and beliefs regarding intellectual disability: A
systematic review, 32 RESEARCH IN DEVELOPMENTAL DISABILITIES 2164 (2011); Denise
Thompson, Karen Fisher, Christiane Purcal, Chris Deeming, and Pooja Sawrikar, Community
attitudes to people with disability: Scoping project No. 39., DISABILITY STUDIES AND RESEARCH
CENTRE, UNIVERSITY OF NEW SOUTH WALES (2011); Harold Yuker, Attitudes toward Persons
with Disabilities, Springer (1st Ed. 1988).
                                                 16
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 132 of 355




gaps at the national level are found in all of the 13 studies going back to the 1992 elections,
which use differing samples and definitions of disability.13

63.     In both the Texas and overall U.S. samples, the disability voting gap is larger than the
disability registration gap, indicating that lower voting among people with disabilities cannot be
explained by lower registration rates.

64.     The importance of variation across different types of disability is shown in the voting
figures. Broken down by type of disability, national voter participation in 2020 was lowest
among people with difficulty dressing or bathing (49.4%), cognitive impairments (50.7%), and
difficulty going outside alone (51.6%), but participation was also low among those with visual
impairments (59.2%) or difficulty walking or climbing stairs (60.4%). These numbers are drawn
from Table 9.

65.     Research indicates that several factors contribute to the disability participation gap,
including lower levels of education and income, lower feelings of political efficacy among
people with disabilities, and greater social isolation that reduces the likelihood of being recruited
to vote by friends, neighbors, or colleagues. These factors do not, however, fully explain the
disability gap in participation.14 Part of the remaining gap in participation can be traced to lower
turnout due to prior difficulties in voting.15

66.     An important note is that voter participation can vary substantially across elections for
citizens both with and without disabilities. An increase in participation in an election among
people with disabilities does not necessarily indicate the absence of continued voting barriers
that discourage participation.


Voting method

67.     Each voting method can present access barriers to people with different types of
disabilities. Voting by mail can be an attractive option for people with mobility impairments,
transportation problems, or other issues that make it hard to leave one’s home. This is
particularly relevant to the 10.0% of Texans who report travel-limiting disabilities as shown in
Table 7, and the 8.3% of Texans who have difficulty walking or climbing stairs and 5.8% of
Texans who have difficulty going outside alone, as shown in Table 1. The 3.3% of voting-

13
   Summarized in Lisa Schur & Meera Adya, Sidelined or Mainstreamed? Political Participation
and Attitudes of People with Disabilities in the United States, 93 SOCIAL SCIENCE QUARTERLY
811 (2012).
14
   Lisa Schur, Todd Shields, Douglas Kruse, & Kay Schriner, Enabling Democracy: Disability
and Voter Turnout. 55 POLITICAL RESEARCH QUARTERLY 167 (2002); Lisa Schur, Todd Shields,
& Kay Schriner, Generational cohorts, group membership, and political participation by people
with disabilities, 58 POLITICAL RESEARCH QUARTERLY 487 (2005); and Lisa Schur & Meera
Adya, Sidelined or Mainstreamed? Political Participation and Attitudes of People with
Disabilities in the United States, 93 SOCIAL SCIENCE QUARTERLY 811 (2012).
15
   Lisa Schur, Mason Ameri, and Meera Adya, Disability, Voter Turnout, and Polling Place
Accessibility, 98 SOCIAL SCIENCE QUARTERLY 1374 (2017).
                                                 17
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 133 of 355




eligible Texans with vision impairments, however, may not be able to vote independently with a
mail ballot, and may need polling places where they can vote independently with an accessible
machine required by the 2002 Help America Vote Act (HAVA).

68.     Overall, people with disabilities are much more likely to vote by mail. Among Texas
voters in 2020, 30.2% of people with disabilities and 8.2% of people without disabilities voted
using a mail ballot, producing a gap of 22.0%, as shown in Table 8. Voting by mail was less
likely in Texas than in the entire U.S. for people both with and without disabilities, but the
disability gap was larger. The percentages of people with and without disabilities who voted by
mail in the full U.S. were 53.2% and 41.9% respectively, producing a gap of 11.3%. The rate of
voting by mail is high across all of the major disability types, as shown in Table 9. For many
people with mobility restrictions, transportation barriers, and difficulty standing in long lines,
voting by mail is effectively the only option they have to vote.

69.     Voting by mail increased in 2020 due to the pandemic. Differences by disability status,
however, existed before the pandemic. In the 2016 general election, Texas voters with
disabilities were more than three times as likely as voters without disabilities to vote by mail
(19.8% compared to 6.0%).

Barriers to In-Person Voting

70.     As noted above, the disability gap in voter participation is not fully explained by standard
predictors of participation. Voting barriers appear to play a role, as voter participation is lower
when voting is more time-consuming and difficult. People with disabilities can face extra
barriers in:

   Finding or getting to the polling place, particularly for those facing transportation barriers
    as described above.

   Getting inside the polling place, particularly for those in wheelchairs or with visual
    impairments.

   Standing in line, particularly for those with chronic illnesses or health conditions that
    limit their endurance.

   Being prevented from voting by poll workers, particularly for those who appear to have a
    cognitive disability.

   Reading or seeing the ballot, particularly for those with cognitive or vision impairments.

   Understanding how to vote or use the equipment, particularly for those with cognitive,
    vision, or upper arm mobility impairments.

   Communicating with poll workers, particularly for those with hearing, speech, or
    cognitive impairments.



                                                 18
       Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 134 of 355




    Writing on the ballot, particularly for those with impairments limiting upper body
     mobility.

    Physically operating the voting machine, particularly for those with vision impairments
     or impairments limiting upper body mobility.

71.     There is empirical evidence on a number of these factors. Barriers in finding or getting to
polling places have been shown to lower voter participation among people in general.16 These
barriers can be greater for people with disabilities: one study found substantially lower voter
participation among people with mobility limitations in areas with streets in poor condition.17

72.     Analysis of the nationally representative Survey of the Performance of American
Elections (SPAE) conducted following the 2020 elections shows that 1.2% of all registered
voters with disabilities said they did not vote because “I tried to vote, but was not allowed to
when I tried” compared to 0.3% of people without disabilities.18 In addition, 1.4% of registered
voters with disabilities in the U.S. reported they did not vote due to long lines at the polls,
compared to 0.3% of those without disabilities. Taken together, these results indicate that a
substantial portion of the 5.7 point national disability gap in voter participation (from Table 9)
can be accounted for by a greater likelihood that registered voters with disabilities said they were
not allowed to vote or were dissuaded by the long lines.

73.     In the 2020 DVAS, over one-sixth (18.0%) of people with disabilities who voted at a
polling place or election office reported at least one or more barriers, which was almost twice the
rate of voters without disabilities (9.8%). The rate of barriers was especially high among those
with cognitive impairments (30.0%) and those needing help with daily activities (24.8%).

74.     Specific barriers are listed in Table 10. The most common polling place barriers people
with disabilities faced were difficulty waiting in line (7.4% among all polling place voters with
disabilities), difficulty reading or seeing the ballot (3.8% ), and getting inside the polling place
(3.2%). These problems were especially likely among those with vision and mobility
impairments, and those needing help in daily activities.19


16
   Henry E. Brady & John E. McNulty, Turning out to vote: The costs of finding and getting to
the polling place, 105 AMERICAN POLITICAL SCIENCE REVIEW 115 (2011).
17
   Philippa Clarke, Jennifer Ailshire, Els Nieuwenhuijsen, Marijke de Kleijn–de Vrankrijker,
Participation among adults with disability: The role of the urban environment, 72 SOCIAL
SCIENCE & MEDICINE 1674 (2011).
18
   The figures in this paragraph are derived from analysis in Survey of the Performance of
American Elections, MIT ELECTION DATA + SCIENCE LAB,
https://electionlab.mit.edu/research/projects/survey-performance-american-elections, last visited
2/28/2022. The data contain responses from 18,200 people registered to vote.
No further information is available on what respondents meant by saying they were “not allowed
to vote.” This could indicate legal barriers such as having their eligibility challenged, having a
mail ballot rejected, not having proper ID, or being at the wrong polling place.
19
   See Thad E. Hall & R. Michael Alvarez, Defining the Barriers to Political Participation for
Individuals with Disabilities, THE INFORMATION TECHNOLOGY AND INNOVATION FOUNDATION,
                                                 19
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 135 of 355




75.    News reports provide examples from across the country of several of these barriers in
voting at polling places:

   Liam Dougherty, who has a progressive muscular disability, has had problems getting
    inside polling places, waiting in line due to bladder control issues, and having poll
    workers not know how to lower the machine to reach his wheelchair.20

   Elizabeth Clay, who is missing her right leg, has difficulty navigating city streets and
    getting to her polling place.21

   Xian Horn, who has cerebral palsy, found the wheelchair-accessible entrance of her
    polling place blocked by trash cans.22

   Emily Ladau, who has Larsen syndrome which affects bone development, found the
    accessible entrance to her polling place locked, and had to rely on her father to go in
    through the main entrance to ask a poll worker to open the door.23

   LouAnn Blake, who is blind, found that poll workers did not know how to set up the
    audio ballot technology at her voting location.24

   Kathy Hoell, a wheelchair user with a brain injury, was initially denied permission to
    vote because poll workers told her she is not “smart enough,” and has had poll workers
    lead her to stairs she could not climb and prevented her from using an accessible voting
    machine because they had not turned it on.25




May 14, 2012, https://elections.itif.org/reports/AVTI-001-Hall-Alvarez-2012.pdf (describing
problems of polling place access, reading the ballot, and understanding the voting process among
focus group participants with disabilities in Los Angeles in 2010).
20
   Michaela Winberg, ‘I’m not included here’: People with disabilities face barriers to voting in
Philly and beyond, WHYY, October 15, 2020, https://whyy.org/articles/voting-while-disabled-
presents-challenges-for-philadelphians/.
21
   Id.
22
   Maggie Astor, ‘A Failed System’: What It’s Like to Vote With a Disability During a Pandemic,
NEW YORK TIMES, September 25, 2020.
23
   Id.
24
   Jeanine Santucci, 30 years after the ADA, access to voting for people with disabilities is still
an issue, USA TODAY, July 26, 2020.
25
   Matt Vasilogambros, How Voters With Disabilities Are Blocked From the Ballot Box, PEW
TRUSTS, February 1, 2018, https://www.pewtrusts.org/en/research-and-
analysis/blogs/stateline/2018/02/01/how-voters-with-disabilities-are-blocked-from-the-ballot-
box.
                                                 20
        Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 136 of 355




76.     In addition, anonymous reports from voters with disabilities collected around the country
by a disability organization regarding voter experiences in the 2020 election included26:

     “I could not turn on the screen”

     “No headsets were available”

     “Headsets available, did not work”

     “Poll worker did not know how to turn on the audio features”

     “Poll worker did not know how to make the sound louder or softer”

     “I did not know how to ‘go back’ or change who or what I voted for”

     “Had error message and could not vote”

     “Had to vote in person because I did not get my mail-in or absentee ballot”

     “Could not understand my ballot”

77.    Barriers to polling place access in Texas were identified in settlements since 2015
between the Justice Department and Harris, Nueces, Galveston, and McLennan counties, which
included “steep ramps, gaps in sidewalks and walkways, and locked gates along the route barring
pedestrian access.”27

Barriers to Voting With a Mail Ballot

78.      Potential barriers to voting with a mail ballot include:

     Complicated instructions in applying for a mail ballot



26
   Experience Survey Results: Power of the Disability Vote, SABE GOVOTER PROJECT, 2021,
https://www.sabeusa.org/wp-content/uploads/2021/10/SABE-GoVoter-2020-Survey-Report.pdf.
27
   Justice Department Reaches Agreement with Harris County, Texas, to Ensure Polling Place
Accessibility for Voters with Disabilities, US DEPARTMENT OF JUSTICE, March 12, 2019,
https://www.justice.gov/opa/pr/justice-department-reaches-agreement-harris-county-texas-
ensure-polling-place-accessibility; Settlement Agreement Between the United States of America
and Nueces County Texas Under the Americans with Disabilities Act at §H,
https://www.ada.gov/nueces_co_tx_pca/nueces_co_tx_sa.html; Settlement Agreement Between
the United States of America and Galveston County, Texas Under the Americans with
Disabilities Act at Attachment E, available at
https://www.ada.gov/galveston_tx_pca/galveston_tx_sa.html; Settlement Agreement Between the
United States of America and McLennan County, Texas Under the Americans with Disabilities
Act at Attachment E, available at: https://www.ada.gov/mclennan_pca/mclennan_sa.html.
                                                  21
       Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 137 of 355




    Application requirements to identify as a person with a disability, which many people
     with significant impairments are reluctant to do due to disability stigma noted above

    The requirement to apply for a mail ballot in every election

    Difficulty reading or seeing the ballot, particularly for people with visual impairments

    Difficulty understanding the ballot or how to fill it out, particularly for people with
     cognitive or developmental disabilities

    Difficulty filling out the ballot or placing it in an envelope, particularly for people with
     limited dexterity

    Difficulty taking the ballot to a mailbox, a drop box, or an election office, particularly for
     people with mobility impairments or difficulty going outside alone

    Postage expense in mailing the ballot in locations where stamps are required to return a
     ballot

79.    In the 2020 DVAS survey, the overall rate of difficulty in voting with a mail ballot was
5.4% among voters with disabilities. The rate was especially high among those with visual
impairments (22.1%) who expressed the most difficulties with reading and filling out the ballot,
as shown in Table 11.

80.    Barriers to voting by mail are exemplified in the following anecdotal cases from across
the country:

    Jack Dougherty voted by mail in 2020 after many experiences of barriers to voting at a
     polling place. Due to dexterity issues, he said he had difficulty in filling out the bubbles
     on the mail ballot and writing his name and address on the correct lines.28

    Katie Maunder, who is blind, said she could not have filled out her mail ballot without
     her mother’s help.29

    Sheryl Grossman has Bloom syndrome, a genetic disorder that weakens her immune
     system and causes cognitive disabilities. She cannot safely go to a polling place or allow
     anyone into her home, and cannot complete a mail ballot, so she had to tape her mail
     ballot to her door with a list of choices and watch as election officials filled out and
     sealed the ballot.30

28
   Michaela Winberg, ‘I’m not included here’: People with disabilities face barriers to voting in
Philly and beyond, WHYY, October 15, 2020, https://whyy.org/articles/voting-while-disabled-
presents-challenges-for-philadelphians/.
29
   Id.
30
   Maggie Astor, ‘A Failed System’: What It’s Like to Vote With a Disability During a Pandemic,
NEW YORK TIMES, September 25, 2020.
                                                   22
       Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 138 of 355




    Joanne Wolf, who has multiple sclerosis and cannot write by hand or sign a mail ballot,
     had her ballot with a signature stamp rejected twice.31

81.    In addition, anonymous reports from voters with disabilities collected by a disability
organization regarding voter experiences with mail ballots in the 2020 election included a
number of barriers that included32:

    “I had to ask for help.”

    “I had problems understanding how to complete the ballot.”

    “I had problems mailing my ballot.”

    “I had to pay postage.”

82.     Experiencing these types of difficulties predicts attitudes among people with disabilities
that discourage voting in the future.33


Need for Assistance in Voting

83.     As described earlier, about two-fifths of people with disabilities need assistance with one
or more activities of daily living. Many people who need assistance with activities of daily
living will also need voting assistance, since voting requires functional abilities that are often
needed to perform activities of daily living (for example, manual dexterity needed for getting
dressed or preparing meals is also needed in operating most voting machines). In the 2020
DVAS, 6.2% of people with disabilities who voted at a polling place reported needing assistance
in voting, compared to 3.7% of those without disabilities.34 Among those who voted by mail,
10.5% of people with disabilities reported needing assistance in doing so, compared to 1.1% of
voters without disabilities.35 The greater gap in assistance needed in mail voting is likely due to
the greater likelihood of severe disability among those who vote by mail.

84.     Among people with disabilities who needed assistance in voting in a polling place, such
assistance was most commonly provided by election officials (54%), family members (19%), and
home aides (6%). Among those who needed assistance in voting with a mail ballot, such
assistance was most commonly provided by family members living with the voter (56%), family



31
   Id.
32
   Experience Survey Results: Power of the Disability Vote, SABE GOVOTER PROJECT, 2021,
https://www.sabeusa.org/wp-content/uploads/2021/10/SABE-GoVoter-2020-Survey-Report.pdf.
33
   Lisa Schur, Mason Ameri, and Meera Adya, Disability, Voter Turnout, and Polling Place
Accessibility, 98 SOCIAL SCIENCE QUARTERLY 1374 (2017).
34
   The difference of 2.7 points is within the 3.1 point margin of error.
35
   The difference of 9.4 points is outside the 3.5 point margin of error.
                                                23
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 139 of 355




members not living with the voter (19%), friends or neighbors (8%), home aides (7%), or other
non-relatives (6%).

85.     People with disabilities are less likely to be able to vote independently (without
assistance) with no difficulties. The 2020 DVAS found that over one-fifth (21.3%) of in-person
voters with disabilities either required assistance or had difficulties in voting, which is almost
twice the 11.9% rate among voters without disabilities. There was also a disability gap among
mail voters, where 14.0% of voters with disabilities either required assistance or had difficulties
in voting compared to 3.2% of voters without disabilities.

86.     As described earlier, Texans with disabilities are more likely than those without
disabilities to live in institutional group quarters such as nursing homes and assisted living
settings. Those in institutions generally have more severe disabilities that are more likely to
require assistance in voting and daily activities. There is, however, tremendous variation in
registration and voting procedures, staff attitudes, and likelihood of voting among nursing homes
and assisted living settings; one study found that residents who wanted to vote were unable to do
so at nearly one-third of sites, and that staff and administrator attitudes were a critical factor.36

87.     Assistance in voting is about more than just driving someone to the polls or helping them
with the physical act of marking a ballot. People with mental health disabilities may require and
receive assistance in various aspects of the voting process that in no way suggest the assistor is
“voting for” the person with a disability or exercising improper influence over the voter. A
substantial literature supports the idea that people with cognitive disabilities, including
intellectual and developmental disabilities, can make important decisions such as voting while
relying on trusted assistors in executing those decisions.37 Such assistance can “facilitate the
exercise of autonomy” for individuals with certain neurological or cognitive conditions.38 In the
context of voting, this assistance often involves more than just reading the ballot aloud and
helping people to mark it.




36
   Jason H.T. Karlawish et al., Identifying the barriers and challenges to voting by residents in
nursing homes and assisted living settings, 20 J. AGING SOC. POLICY 65 (2008).
37
   Id.; Raymond Raad, Jason Karlawish, & Paul S. Appelbaum, The capacity to vote of persons
with serious mental illness, 60 PSYCHIATRIC SERVICES 624 (2009); Jason H. Karlawish et al,
Addressing the ethical, legal, and social issues raised by voting by persons with dementia, 292
JAMA 1345 (2004); Andrew Peterson, Jason Karlawish, and Emily Largent, Supported Decision
Making With People at the Margins of Autonomy, 21 AM. J. BIOETHICS 4 (2021).
38
   Andrew Peterson, Jason Karlawish, and Emily Largent, Supported Decision Making With
People at the Margins of Autonomy, 21 AM. J. BIOETHICS 4 (2021).
                                                 24
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 140 of 355




  SB 1 IMPOSES BARRIERS ON TEXAS VOTERS WITH
  DISABILITIES THAT WILL MAKE IT HARDER FOR
  THEM TO VOTE AND MAY PREVENT SOME FROM
              VOTING ALTOGETHER
88.     The above findings are relevant to an analysis of the likely effects of SB 1 on the ability
to vote among people with disabilities. Drawing on these data and my knowledge of the voting
needs of people with disabilities, it is my opinion that SB 1 will impose barriers to voting on
Texans with disabilities. The following provisions of SB 1 make it harder for Texans with
disabilities to vote and may prevent some from voting altogether:

             Sections 5.02, 5.03, 5.06, 5.07, 5.10, and 5.12
89.     These sections impose new requirements to vote by mail. They now require voters to
provide the number on their Texas driver’s license, Texas election identification certificate, or
Texas personal ID card on both their mail-in ballot applications and on the ballot carrier
envelopes used to return their ballot. If the voter has not been issued one of these numbers, the
voter may instead provide the last four digits of their Social Security number. If the voter has not
been issued any of these numbers, the voter may sign a statement indicating that they have never
been issued one of these numbers. The law further provides that if the information the voter
provides does not “identify the same voter identified” on the voter’s registration application, then
the mail-in ballot application and/or ballot in the voter’s carrier envelope must be rejected. SB 1
provides that a voter may be notified by phone or e-mail of the defect and that the voter may
request to have the voter’s application to vote by mail canceled or go to the voting clerk’s office
in person to correct the defect or go through an online curing process. There are several relevant
research findings regarding the likely impact of these provisions on voters with disabilities:

90.     Texas voters with disabilities were almost four times as likely as those without
disabilities to vote by mail in 2020 (30.2% compared to 8.2%), so these additional requirements
to be able to vote by mail, and the critical consequences if the ID number they provide does not
match the ID number with which they registered, are likely to have a significant negative impact
on many voters with disabilities.

91.     Remembering how one recorded ID information on a registration application is likely to
be difficult for many people with disabilities. Because disability correlates with age, it may have
been a long time since they first registered and many of them may have difficulty remembering
what ID information they presented for their initial registration. As noted above, an estimated
1,082,500 eligible voters in Texas have cognitive disabilities, which are measured as difficulty in
concentrating, remembering, or making decisions. The records or identifying documents may be
held by family members or facility staff, and may not be readily available to people with
disabilities. The staff in congregate settings may be unwilling or uninterested in helping people
with disabilities get the correct information; as noted, research has found that staff attitudes are




                                                 25
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 141 of 355




key determinants of whether residents have the necessary information for voting.39 Though SB 1
permits a voter to “make a statement” that they have not been issued any of the permissible
identification numbers, a voter cannot make a statement indicating that they have been issued
one of these numbers but do not know the number or do not have access to it or cannot provide
the number for some other reason.

92.      Among those whose applications are initially rejected, it is likely that correcting the
information will be difficult for many people with disabilities. Whether attempting to remedy
this in person or online, it is unclear how a voter who does not know these numbers will be able
to cure the defect. Further, voters who are voting by mail due to a disability may be unable to go
in person to cure the defect for the same reason they did not vote in person.

93.     The online curing option may not help voters who are unable to cure in person because,
as discussed above, people with disabilities have lower levels of internet access: a full 15% of
Texans with disabilities living in the community (not in group quarters) do not have internet
access in their homes, compared to only 5% of those without disabilities.40 The gap is larger
among those age 65 or older, where 40% of Texans with disabilities compared to 18% of those
without disabilities do not have internet access. Even those with internet access may be limited
by inaccessible websites. A 2020 report found that 98% of all websites are not fully accessible
to people with disabilities.41 Since 15% of Texans with disabilities do not have access to the
internet at their homes, it is my opinion they will be disenfranchised by this provision since
many will not be able to cure in person either.

94.     Indeed, as has already been reported, as of February 25, 2022, election officials in the
most populous Texas counties have rejected roughly 30% of the absentee ballots they have
received largely because voters did not include their driver’s license number or Social Security
number, or the numbers they put down did not match what officials had on file–new provisions
imposed by SB 1. As reported, this rate of rejection represents a significant increase from past
elections, including 2020, when the statewide rejection rate of absentee ballots was less than 1%
for the general election. In 2020, officials rejected 8,304 absentee ballots in Texas out of nearly a
million votes across the state. This year, that number has already been surpassed in just two
counties.42 As reported by the New York Times:

               But with voting by mail limited to elderly and disabled voters, the concern that
               initially rejected ballots will disenfranchise voters has grown. Guillermina

39
   Jason H.T. Karlawish et al., Identifying the barriers and challenges to voting by residents in
nursing homes and assisted living settings, 20 J. AGING SOC. POLICY 65 (2008).
40
   The ACS does not measure internet access for those living in institutional or non-institutional
group quarters.
41
   Ruderman Family Foundation, 98% of Websites Fail to Comply With Accessibility for People
With Disabilities, ICT SOLUTIONS & EDUCATION MAGAZINE,
https://isemag.com/2020/11/telecom-98-percent-of-websites-fail-to-comply-with-accessibility-
requirements-for-people-with-disabilities/, last visited 2/28/22.
42
   Nick Corasantini, Ballot Rejections in Texas Spike After New Voting Law, NEW YORK TIMES,
Feb. 25, 2022, https://www.nytimes.com/2022/02/25/us/politics/texas-primary-ballot-
rejections.html.
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           Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 142 of 355




                  Nevárez lives at home in the Maverick County border region with her husband,
                  Alfonso Nevárez Sr., and her 98-year-old mother, who is disabled and recovering
                  from a recent surgery. In all three of their ballots, they missed the field to include
                  their identification information, presuming that since their ballot application had
                  been accepted they were free to cast their ballot. “We didn’t look at the fine
                  print,” said Ms. Nevárez, who is also the mother of a former Democratic state
                  representative. “And there’s so much of it, the fine print.” She corrected the three
                  ballots and sent them back by mail. She is hoping that the information is correct
                  — because of her mother’s condition, they cannot go in person to fix any issues.
                  “It is very upsetting,” Ms. Nevárez said.43

95.     I conclude with a reasonable degree of certainty, based on the above data, that Texans
with disabilities are four times more likely to vote by mail, more likely to have difficulty
accessing the requisite ID numbers and ensuring the numbers on the application and envelope
match, and less likely to be able to access the curing process online or in person. As such, the
new barriers imposed by Sections 5.02, 5.03, 5.06, 5.07, 5.10, and 5.12 will make it harder for
people with disabilities to vote. Therefore, I conclude that these sections will cause some Texans
with disabilities to be disenfranchised and a further substantial number to face significant
difficulties in voting that they would not otherwise face but for SB 1.

                                        SECTION 6.01
96.     This section requires any person other than a close relative who simultaneously drives
seven or more voters to the polls for curbside voting to complete and sign a form stating their
name and address and whether they only provided transportation assistance or also assistance
with voting. There are several research findings relevant to this section’s impact on voters with
disabilities.

97.      As discussed above, voters with disabilities are more likely to face transportation barriers
than people without disabilities. Among all Texans of voting age, 10% report a disability that
limits travel. Texans with disabilities are four times more likely to live in a zero-vehicle
household (14.4% compared to 3.0%) and are less likely to be drivers (59.6% compared to
93.0%). Further, 5.8% of Texans have difficulty going outside alone, representing 1.1 million
people. Voters with disabilities are also more likely to be socially isolated, and more likely to
live alone. Because curbside voting is only available to certain voters who are far more likely to
have a disability and people with disabilities are more likely to face transportation barriers and
social isolation, it is my opinion that additional barriers to providing assistance in the form of
group transportation for curbside voting will burden voters with disabilities.

98.     I can conclude with reasonable certainty, based on the above data, that Texans with
disabilities are more likely to face transportation barriers, more likely to live alone, and more
likely to be socially isolated. As such, the barriers imposed by Section 6.01 on providing group
transportation to the polls for curbside voting will make it harder for some Texans with
disabilities to vote. Therefore, I conclude that Section 6.01 will cause some Texans with


43
     Id.
                                                    27
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 143 of 355




disabilities to be disenfranchised, and a further substantial number to face significant difficulties
in voting that they would not otherwise face but for SB 1.

                                      SECTION 6.04
99.     This section adds language to the assistor oath, substantially restricting the amount of
assistance that can be given by anyone except an election officer. This will make voting more
difficult for many people with disabilities. Texas data show that 41.2% of people with
disabilities need assistance in one or more daily activities. National data show that 6.2% of
people with disabilities who voted in a polling place required assistance, and 10.5% of voters
with disabilities who voted with a mail ballot required assistance.

100. This section limits the type of assistance that can be given by an assistor to reading or
marking the ballot, or directing the voter to read or mark the ballot. Because the law does not
define everything that could constitute assistance, voters with disabilities as well as assistors will
be unsure of what assistance is allowed, and voters may be reluctant to make use of assistance
even when it is available for fear of violating the law. This does not allow the assistor to explain
the voting process and choices. In my expert opinion, this is likely to interfere with people with
disabilities’ ability to vote, in particular for the 1,082,500 Texans with cognitive impairments
who are eligible to vote, and other people with neurological and developmental disabilities who
benefit from assistance in making informed choices in important areas of life. Some examples of
valuable voting assistance that arguably go beyond the narrow definition of assistance in the oath
include:

   Using an American Sign Language interpreter to interpret the ballot to someone who is
    deaf and does not read written English fluently. ASL and English are different languages
    with different syntax and grammar. ASL sometimes requires a signed explanation and
    interpretation of key terms and concepts.

   Reminding someone with memory issues from a Traumatic Brain Injury about how to use
    his or her marked sample ballot to refresh recollection about how he or she wanted to
    vote.

   Using simple plain language to help someone with cognitive or developmental
    disabilities understand the voting process. This can include answering the voter’s
    questions about the voting process or the ballot.

   Helping someone with a mobility or cognitive disability navigate the physical polling
    place to find the information they need, speak to the poll workers, and get to the voting
    booth.

   Helping someone with Autism Spectrum Disorder cope with stressful voting lines,
    noises, sensations, or lights. This may include implementing calming strategies to support
    the person so that he or she votes without triggering feelings of being overwhelmed.



                                                 28
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 144 of 355




   Helping someone with a visual impairment set up and use the accessible voting machine.
    This may include setting up the headphones or troubleshooting technical issues that arise
    while the voter is voting and helping the voter deliver his or her paper ballot to the ballot
    counter.

   Helping a person with an anxiety disorder cope with the anxiety of a possibly new and
    stressful situation of navigating the voting technology and process. This may include
    verbal reassurance that the person marked the ballot in the manner he or she intended.

101. I conclude with a reasonable degree of certainty, based on the above data, that a large
number of Texans with disabilities need assistance with voting and that many of them depend on
receiving such assistance. I also conclude that it is highly likely that many Texans with
disabilities will find it difficult or impossible to obtain the assistance they require given the
restrictions imposed by section 6.04. Therefore, I conclude that section 6.04 will cause some
Texans with disabilities to be disenfranchised, and a further substantial number to face
significant difficulties in voting that they would not otherwise face but for SB 1.

                            SECTIONS 6.03 AND 6.05
102. These sections create extra requirements for assistors to document their relationship to
the voter and whether they received any compensation or benefit from a candidate, campaign, or
political committee. These sections will make it more likely that the ballot of a person with a
disability is rejected because of a clerical error or a minor mistake by the person providing
assistance. These sections may also make it more difficult for people with disabilities to find
assistance at all. As noted above, many people with disabilities are socially isolated and may
have a hard time finding someone to assist them. One-fifth of voters with disabilities who needed
voting assistance in 2020 reported receiving it from people who were not family or household
members. Due to the higher need for assistance with voting among people with disabilities, this
provision creates an extra barrier to voting for some people with disabilities.

103. I conclude with a reasonable degree of certainty, based on the above data, that a large
number of Texans with disabilities need assistance with voting and that many of them depend on
receiving such assistance from people other than family members. I also conclude that it is
highly likely that many Texans with disabilities will find it difficult or impossible to find needed
assistance because of sections 6.03 and 6.05 requirements of additional forms and statements.
Therefore, I conclude that sections 6.03 and 6.05 will cause some Texans with disabilities to be
disenfranchised, and a further substantial number to face significant difficulties in voting that
they would not otherwise face but for SB 1.

                                      SECTION 6.06
104. This section criminalizes the provision of assistance by any person who solicits, receives,
or accepts compensation for helping a voter with their mail ballot unless the assistor is an
attendant or caregiver. While attendants and caregivers are exempt, this section will prevent
friends, neighbors, and other non-family members from assisting people with disabilities if they
receive any type of economic benefit. It will also prohibit people with disabilities from getting

                                                 29
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 145 of 355




help from community or nonpartisan civic engagement organizations that routinely provide
voting support to the disability community. The 2020 DVAS study showed that just under one-
fifth (18.1%) of people providing assistance to voters with disabilities with voting by mail were
friends, neighbors, or other non-relatives apart from home aides. In my expert opinion, this
provision will discourage well-meaning assistors from providing that assistance, because any
type of compensation or thank you, such as reimbursement for gas, could be construed as
violating the law. This will restrict the ability to obtain assistance for a substantial number of
people with disabilities.

105. Voters with disabilities are also more likely to be socially isolated, and more likely to live
alone. It is thus very possible that a worker or volunteer with a community or civic engagement
organization, a neighbor, a friend, or another non-family member may be the best and only
option to assist them with voting by mail.

106. I conclude with a reasonable degree of certainty, based on the above data, that a number
of Texans with disabilities need assistance with voting their mail ballots and that some of them
depend on receiving such assistance from people other than previously known attendants or
caregivers. Therefore I conclude that Section 6.06 will cause some Texans with disabilities to be
disenfranchised, and a further number to face significant difficulties in voting that they would
not.

                                      SECTION 7.04
107. This section limits “in-person interaction with one or more voters, in the physical
presence of an official ballot or a ballot voted by mail, intended to deliver votes for a specific
candidate or measure.” It also makes it a crime for any person to receive compensation or other
benefit for collecting another voter’s ballot. As noted above, many voters with disabilities
require assistance in voting, and restrictions on in-person interactions will limit their ability to
obtain needed assistance. Such interaction may be of particular benefit to voters with cognitive
impairments and developmental disabilities who may have difficulty understanding the issues
and voting process but, as described above, have the right to vote. Finding assistance may be
especially difficult for many people with disabilities given their higher likelihood of living alone,
and lower rate of socializing as documented above. It is very possible that someone connected to
a campaign (possibly the person who assists them regularly) may be the best and only option to
assist them with voting. Even if they are assisted by someone working or volunteering with a
campaign, this does not imply that their vote will be influenced by that person. As noted above,
assisted decision making can “facilitate the exercise of autonomy” for people with certain
conditions.44 The assisted voter must approve the vote before it is filed.

108. In addition, people with mobility limitations may not be able to personally deliver their
ballots to mailboxes, and they may not have a close family or household member or lawful
assistant to do so. Restricting the individuals who can help with this process will create extra
difficulties for these voters in delivering their ballot.


44
  Andrew Peterson, Jason Karlawish, and Emily Largent, Supported Decision Making With
People at the Margins of Autonomy, 21 AM. J. BIOETHICS 4 (2021)
                                                 30
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 146 of 355




109. I conclude with a reasonable degree of certainty, based on the above data that a large
number of Texans with disabilities need assistance with voting their mail ballots and that some
of them depend on receiving such assistance from persons other than a close family or household
member or lawful assistant. Therefore I conclude that Section 7.04 will cause some Texans with
disabilities to be disenfranchised, and a further number to face significant difficulties in voting
that they would not otherwise face but for SB 1.

                                     CONCLUSION
110. In sum, in my opinion, based on reasonable certainty, these provisions of SB 1 will create
an extra burden in voting for a significant number of people with disabilities across the state of
Texas and may prevent some from voting altogether. As documented above, people with
disabilities already face many social and economic disparities that impact their ability to vote,
including a high rate of needing assistance in activities of daily living, higher likelihood of living
alone, lower likelihood of driving or travel in general, lower likelihood of internet access, and
lower economic resources compared to those without disabilities. They also must contend with
well-documented social stigma that both reflects and reinforces their social isolation and
increases the difficulty of obtaining necessary resources and assistance in exercising the right to
vote. The number of barriers voters with disabilities face in Texas help explain why voting-
eligible Texans with disabilities were 5.1 percentage points less likely than those without
disabilities to vote in 2020. SB 1 creates extra voting barriers for many Texans with disabilities,
making it more burdensome for them to exercise their right to vote. Media reports have already
demonstrated that people with disabilities are facing new barriers related to SB 1.45 In my
opinion, SB 1 will cause some Texans with disabilities to be disenfranchised entirely and a
further substantial number to face significant difficulties in voting that they would not otherwise
face but for SB 1.




45
   See Juana Summers and Barbara Sprunt, Texas election workers provide practical and
emotional support to confused voters, NATIONAL PUBLIC RADIO, Feb. 7, 2022,
https://www.npr.org/2022/02/27/1082821390/texas-election-workers-provide-practical-and-
emotional-support-to-confused-voter;%20; see also Nick Corasaniti, Ballot Rejections in Texas
Spike After New Voting Law, NY TIMES, Feb. 25, 2022,
https://www.nytimes.com/2022/02/25/us/politics/texas-primary-ballot-rejections.html.
                                                 31
     Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 147 of 355




     Table 1: Disability Prevalence in Texas Using Census Definition, 2020

Figures are for Texas citizens age 18 or older.
                                            Number            % of      Margin of
                                                              adult     error (+/-)
                                                             citizens
                                               (1)              (2)         (3)
Total citizens age 18 or older              19,425,500        100.0%
No disability                               16,401,300         84.4%          0.3%
Disability                                   3,024,200         15.6%          0.3%

Type of disability
    Hearing impairment                         875,900           4.5%         0.1%
    Vision impairment                          638,500           3.3%         0.1%
    Cognitive impairment                     1,082,500           5.6%         0.2%
    Mobility impairment                      1,604,700           8.3%         0.2%
    Difficulty with dressing or
    bathing                                    596,300           3.1%         0.1%
    Difficulty going outside home
    alone                                    1,127,500           5.8%         0.2%

Sample size                                     127,398
Based on analysis of U.S. Census Bureau's 2020 American Community Survey
microdata. A disability is defined as having one or more of the six conditions
listed. See https://www.census.gov/topics/health/disability/guidance/data-
collection-acs.html.
The margin of error is based on a 95% confidence interval.




                                                  32
     Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 148 of 355



     Table 2: Disability Prevalence Using More Expansive Definition
Figures represent percent of Texas adults age 18 or older
                                                          Percen                 Margin of
                                                             t                   error (+/-)
                                                            (1)                      (2)
Any disability                                             30.5%                           2.4%

Hearing impairment                                                   6.3%                    1.2%
Vision impairment                                                    4.7%                    1.1%
Speech impairment                                                    2.1%                    0.7%
Difficulty with physical activities:
      Walking 3 blocks                                              13.5%                    1.7%
      Climbing stairs                                               12.7%                    1.6%
      Lifting                                                        9.3%                    1.4%
      Grasping                                                       4.3%                    1.0%
      Standing^                                                     15.9%                    1.8%
      Pushing/pulling^                                              12.9%                    1.7%
      Sitting^                                                       8.2%                    1.4%
      Crouching^                                                    19.3%                    2.0%
      Reaching^                                                      7.9%                    1.3%
Difficulty with activities of daily living due to physical or mental condition:
      Any of above                                                  13.4%                    1.7%
      Getting around inside home                                     1.7%                    0.6%
      Going outside home for errands                                 8.3%                    1.4%
      Getting in bed or chair                                        4.3%                    1.0%
      Taking bath or shower                                          4.5%                    1.0%
      Getting dressed                                                3.0%                    0.8%
      Eating                                                         0.7%                    0.4%
      Using toilet                                                   1.7%                    0.6%
      Keeping track of money                                         4.7%                    1.1%
      Preparing meals                                                4.1%                    0.9%
      Doing light housework                                          5.0%                    1.0%
      Taking medicine                                                3.8%                    1.0%
      Using telephone                                                1.3%                    0.5%
Mental or cognitive impairment:
      Learning disability                                            4.3%                    1.1%
      Alzheimer's, senility, or dementia                             3.4%                    0.9%
      Intellectual disability                                        1.7%                    0.7%
      Developmental disability                                       0.7%                    0.5%
      Other mental/emotional condition                               4.4%                    1.1%
Sample size                                                          1,569
^ These conditions were not included as part of the expanded disability definition but are
reported here to illustrate the range of limitations faced by people with disabilities.
Based on analysis of 2014 Survey of Income and Program Participation SSA Supplement
microdata. Discussion of the disability definition and fuller results for entire U.S. are in
https://www.census.gov/library/publications/2018/demo/p70-152.html. The margin of error
is based on a 95% confidence interval.




                                                    33
     Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 149 of 355



Table 3: Disability and Demographic Characteristics in Texas, 2020

Figures are for Texas citizens age 18 or older.
                                 Total with      Total with     % with      Margin
                                 disability     no disability   disabilit   of error
                                                                    y         (+/-)
                                     (1)               (2)         (3)         (4)
Total citizens age 18 or
older                              3,024,200     16,401,300       15.6%        0.3%

Female                             1,551,800       8,385,000      15.6%        0.4%
Male                               1,472,400       8,016,300      15.5%        0.4%

Asian                                 60,400         707,000       7.9%        1.1%
Black non-Hispanic/Latinx            428,300       1,963,400      17.9%        0.9%
Hispanic/Latinx                      881,800       5,312,000      14.2%        0.5%
Native American/Alaskan                8,600          39,700      17.8%        4.3%
White non-Hispanic/Latinx          1,533,400       7,851,200      16.3%        0.4%
Other race/ethnicity                 111,600         528,000      17.4%        1.5%

Age 18-34                            487,600       5,874,500       7.7%        0.4%
Age 35-49                            445,800       4,468,800       9.1%        0.4%
Age 50-64                            761,000       3,732,800      16.9%        0.6%
Age 65-74                            601,700       1,591,700      27.4%        0.9%
Age 75-84                            460,600         620,300      42.6%        1.4%
Age 85+                              267,500         113,200      70.3%        2.2%

No HS degree                         583,000       1,488,100      28.1%        1.0%
HS degree                            948,100       3,988,500      19.2%        0.6%
Some college, no degree              720,300       4,025,800      15.2%        0.5%
Associate's degree                   212,200       1,335,200      13.7%        0.9%
Bachelor's degree                    360,000       3,633,600       9.0%        0.4%
Graduate degree                      200,600       1,930,100       9.4%        0.6%

Overall sample size                   23,590        103,808
Based on analysis of U.S. Census Bureau's 2020 American Community Survey
microdata.
The margin of error is based on a 95% confidence interval.




                                                  34
     Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 150 of 355



    Table 4: Economic Status and Living Situation of People with Disabilities

Figures are for Texas citizens age 18 or older.
                                                   Disability      No        Disabili    Margin of
                                                                disability   ty gap     error on gap
                                                                                            (+/-)

                                                       (1)         (2)         (3)         (4)
Employed if working age (18-64)                        40.1%       74.2%      -34.0%        1.3%   *

In poverty                                             18.0%        9.2%        8.9%        0.8%   *

Social Security income                                 47.4%       13.3%      34.0%         0.9%   *
Public assistance income or food stamps                20.3%       10.3%      10.0%         0.8%   *
Medicaid or other low-income health plan               26.5%        6.1%      20.4%         0.8%   *

Living situation
    Live alone                                         20.8%       12.3%        8.6%        0.8%   *
    Live with others, not in group quarters            73.3%       85.6%      -12.3%        0.8%   *
    Noninstitutional group quarters^                    1.2%        1.1%        0.2%        0.1%
    Institutional group quarters^^                      4.7%        1.1%        3.6%        0.2%   *

Marital status
   Married, spouse present                             42.8%       52.4%       -9.6%        1.0%   *
   Separated/divorced                                  19.4%       12.1%        7.3%        0.8%   *
   Widowed                                             14.4%        3.4%      11.0%         0.6%   *
    Never married                                      23.4%       32.1%      -8.8%         0.9%   *

 Sample size                                               9,609   23,590 103,808
* Disability gap is outside 95% margin of error.
^ College dorm, military barracks, group home, mission, or shelter
^^ Nursing home, mental hospital, or correctional facility
Based on analysis of Census Bureau's 2020 American Community Survey microdata.




                                                  35
     Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 151 of 355



      Table 5: Need for Assistance in Disability Population

Figures represent percent of disability population age 18 or older.
                                                        Texas       Margin       United        Margin of
                                                                    of error     States        error (+/-)
                                                                      (+/-)
                                                          (1)          (2)         (3)             (4)
Any help needed with activities of daily living           41.2%         4.5%         37.4%           1.1%
Need help with:
      Getting around inside home                           3.5%         1.5%          3.8%           0.4%
      Going outside home for errands                      25.5%         4.0%         21.2%           1.0%
      Getting in bed or chair                              7.5%         2.3%          7.2%           0.6%
      Taking bath or shower                                9.4%         2.5%          8.6%           0.7%
      Getting dressed                                      6.6%         2.1%          6.9%           0.6%
      Walking                                              7.9%         2.3%          8.2%           0.6%
      Eating                                               0.5%         0.5%          1.3%           0.3%
      Using toilet                                         3.4%         1.7%          3.3%           0.4%
      Keeping track of money                              12.0%         2.9%         12.2%           0.8%
      Preparing meals                                     11.0%         2.7%         12.0%           0.8%
      Doing light housework                               13.7%         2.9%         15.4%           0.8%
      Taking medicine                                      9.7%         2.8%          8.8%           0.7%
      Accessing Internet                                  15.2%         3.1%         13.4%           0.8%

Help provided by^:
     Family members                                      34.9%        4.3%           30.7%           1.1%
     Friends or neighbors                                 4.0%        1.8%            4.0%           0.5%
     Paid help                                            4.0%        1.6%            4.2%           0.5%
     Partner or companion                                 1.4%        1.1%            1.3%           0.3%
     Other non-relative                                   1.4%        1.0%            1.9%           0.3%
     Any non-family member                               10.6%        2.7%           10.7%           0.7%

Sample size                                                   566                         10,003
Based on analysis of 2014 Survey of Income and Program Participation SSA Supplement microdata. See
Table 2 for prevalence figures using this definition of disability. Fuller results for entire U.S. are in
https://www.census.gov/library/publications/2018/demo/p70-152.html.

The margin of error is based on a 95% confidence interval.
^ The categories overlap as the individual may have received help from more than one person.




                                                  36
     Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 152 of 355



    Table 6: Computer and Internet Access by Disability Status in Texas

Figures are for Texas citizens age 18 or older.
                                                       Disability      No         Disabili    Margin of
                                                                    disability    ty gap     error on gap
                                                                                                 (+/-)
                                                          (1)          (2)          (3)         (4)
Home has internet access, 2020
  All                                                      84.8%         95.2%     -10.4%         0.7%   *
  Age 18-64                                                90.4%         96.3%      -5.9%         0.8%   *
  Age 65 or older                                          60.5%         82.3%     -21.8%         1.3%   *

Individual uses internet at home, 2019
    All                                                    60.1%         78.9%     -18.8%         4.5%   *
    Age 18-64                                              68.0%         80.8%     -12.8%         6.4%   *
    Age 65 or older                                        53.1%         67.9%     -14.8%         6.8%   *

Individual uses internet at home or elsewhere,
2019
    All                                                    60.5%         82.3%     -21.8%         4.4%   *
    Age 18-64                                              68.9%         84.4%     -15.5%         6.3%   *
    Age 65 or older                                        53.1%         70.4%     -17.3%         6.8%   *

Sample size
    2020 data                                                 19,465       96,970
    2019 data                                                    535        3,906
* Disability gap is outside 95% margin of error.
Home internet access figures are based on analysis of Census Bureau's 2020 American Community Survey
microdata, and individual internet use is based on analysis of November 2019 Current Population Survey
Computer and Internet Use Supplement microdata.




                                                  37
                         Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 153 of 355




               Table 7: Transportation and Disability

                                                              All          Disability   No disability   Disability gap
                                                              (1)             (2)           (3)              (4)
Data for Texans age 18 or older^
    Have travel-limiting disability                           10.0%           100.0%           0.0%
    Live in zero-vehicle household                                             14.4%           3.0%              11.4%    *
    Average trips per day                                                         2.3            3.5               -1.2   *
    No trips in a day                                                          40.0%          15.8%              24.2%    *
    Driver                                                                     59.6%          93.0%             -33.4%    *
    Public transportation in past 30 days                                      12.6%           8.8%               3.8%    *
    Used ride-hailing in past 30 days                                           2.6%           8.8%              -6.2%    *
    Average online purchases for delivery in past
    month                                                                      31.5%          54.2%             -22.7%    *
    Agree that travel is a financial burden                                    53.3%          39.6%              13.7%    *
National data from 2020 survey with broader
disability measure^^
    Can drive own or family vehicle                                            69.6%          90.0%             -20.4%    *
    Most often use for basic transportation:
              Own or family vehicle                                            82.7%          93.3%             -10.7%    *
              Someone else's vehicle                                            6.4%           1.8%               4.7%    *
              Taxi or rideshare                                                 3.2%           0.5%               2.7%    *
              Para-transit                                                      1.3%           0.2%               1.1%    *
              Other public transportation                                       4.9%           3.0%               1.9%
              Other                                                             1.5%           1.2%               0.3%

    Have transportation problems "very often" or
    "always"                                                                     5.6%           2.9%              2.6%    *

Sample size                                                                     1,768            787
^ From analysis of 2017 National Highway Travel Survey data at https://nhts.ornl.gov/
^^ From https://www.eac.gov/election-officials/us-election-assistance-commission-study-disability-
and-voting-accessibility-2020, Table 31

                                                                      38
                       Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 154 of 355




       Table 8: Voting and Disability in 2020


                                   Texas                                         United States
                                    No        Any       Disabi   Margin of       No       Any       Disabi   Margin of
                                  disabili   disabili    lity    error on      disabili disabili     lity    error on
                                     ty         ty       gap     gap (+/-)        ty        ty       gap     gap (+/-)
                                    (1)        (2)       (3)       (4)           (5)       (6)       (7)       (8)
Among all eligible to vote:
     Registered to vote            71.2%      71.9%      0.7%         4.2%      73.0%     70.1%     -3.0%      1.1% *
     Voted                         64.5%      59.4%     -5.2%         4.6% *    67.5%     61.8%     -5.7%      1.1% *

Method if voted:
     In person on election day     14.2%       9.5% -4.7%             3.6% *    31.2%     25.8%     -5.4%      1.3% *
     Early in person               77.6%      60.2% -17.5%            5.7% *    26.9%     21.0%     -5.8%      1.2% *
     Mail ballot                    8.2%      30.2% 22.0%             5.2% *    41.9%     53.2%     11.3%      1.5% *

 Sample size                          3,745      545                           70,898 11,000
* Disability gap is outside 95% margin of error.
Based on analysis of 2020 Current Population Survey Voting and Registration Supplement microdata.




                                                                 39
                        Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 155 of 355




    Table 9: Voting by Disability Type in 2020

All figures are for entire United
States
                                No         Any        Hearing      Vision        Cognitive    Mobility    Difficulty    Difficulty
                             disabilit   disabilit   impairmen   impairmen      impairmen    impairmen   dressing or       going
                                 y           y           t            t             t            t         bathing     outside alone
                                (1)       (2)          (3)         (4)            (5)          (6)          (7)            (8)
Among all eligible to
vote:
    Registered to vote          73.0%    70.1% *       76.2% *        67.4% *     61.6% *      69.4% *     61.9% *         61.8% *
    Voted                       67.5%    61.8% *       68.5%          59.2% *     50.7% *      60.4% *     49.4% *         51.6% *

Method if voted:
  In person on                 31.2%     25.8% *       25.4% *        24.6% *     26.4% *      25.0% *     23.4% *         23.0% *
  election day
  Early in person              26.9%     21.0% *       22.0% *        22.0% *     19.3% *      19.4% *     14.4% *         16.7% *
  Mail ballot                  41.9%     53.2% *       52.6% *        53.3% *     54.2% *      55.7% *     62.1% *         60.2% *

 Sample size                   70,898 11,000         3,633         1,466          3,315        6,255        1,689           3,769
* Disability gap is outside 95% margin of error.
Based on analysis of 2020 Current Population Survey Voting and Registration Supplement microdata.




                                                                 40
                          Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 156 of 355




                                      Table 10: In-Person Voting Difficulties by Disability Type in 2020

Types of voting difficulties            No          Any             Hearing      Visual      Cognitive        Mobility   No need for     Need help
                                      disabili   disability       impairment   impairmen    impairment       impairment  help in daily    in daily
                                         ty                                         t                                     activities     activities
                                        (1)       (2)               (3)          (4)          (5)              (6)          (7)            (8)
Any difficulty in voting in person       9.8%    18.0%        *     19.3%        23.5%        30.0%      *     17.2%   *     15.2%         24.8% *
at polling place or election office                                                                      *

1. Difficulty in finding or getting     2.3%       1.4%              1.0%        3.8%          3.6%             1.2%          0.8%          3.1%
to the polling place
2. Difficulty in getting inside the     0.4%       3.2%       *      1.6%        1.1%          2.4%             5.1%   *      2.1%          6.0%     *
polling place (for example, steps)
3. Difficulty waiting in line           6.2%       7.4%              8.5%        1.4%   *     11.2%             5.1%          7.1%          8.1%

4. Difficulty reading or seeing the     0.0%       3.8%       *      4.1%       20.5%   *      7.4%      *      5.2%   *      1.5%   *      9.7%     *
ballot
5. Difficulty understanding how to      2.9%       2.7%              0.9%        2.2%          3.5%             2.9%          2.6%          2.9%
vote or use the voting equipment
6. Difficulty communicating with        0.6%       2.1%              3.2%        1.1%          2.5%             2.6%          1.3%          3.8%
poll workers or other officials at
the polling place

7. Difficulty writing on the ballot     0.0%       1.2%       *      0.9%        1.2%          2.3%             2.2%          0.5%          3.2%
8. Difficulty operating the voting      0.9%       1.0%              1.0%        4.1%          1.5%             0.0%          0.9%          1.2%
machine
9. Other type of difficulty in          0.3%       1.8%       *      4.0%        2.2%          4.3%             1.2%          1.7%          2.0%
voting

Sample size                                371       697           124            72           139              298              506          189
* Difference from non-disability sample is outside 95% margin of error
From 2020 Election Assistance Commission survey with results reported at https://www.eac.gov/election-officials/us-election-assistance-commission-
study-disability-and-voting-accessibility-2020, Table 8.




                                                                         41
                           Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 157 of 355




                                     Table 11: Specific Mail Voting Difficulties by Disability Type in
                                     2020

Types of mail voting difficulties      No          Any             Hearing        Visual          Cognitive    Mobility      No need for     Need help
                                     disabili   disability       impairment     impairment       impairment   impairment     help in daily    in daily
                                        ty                                                                                    activities     activities
                                       (1)       (2)               (3)            (4)              (5)          (6)             (7)            (8)
Any difficulty receiving,              2.1%      5.4%        *      5.1%          22.1%      *      6.3%         6.4%      *      3.8%          8.9% *
returning, reading, understanding,
or filling out ballot
Any difficulty reading,                0.7%      2.3%               1.6%           7.9%      *      2.5%         2.5%             1.8%         3.3%
understanding, or filling out
ballot

Difficulty reading mail ballot         0.0%      1.4%        *      1.6%           5.7%      *      1.9%         1.2%             1.0%         2.3%
Difficulty understanding mail          0.4%      0.4%               0.0%           0.0%             0.0%         0.4%             0.3%         0.5%
ballot
Difficulty filling out mail ballot     0.0%      0.8%               0.0%           2.2%             0.6%         1.3%             0.4%         1.7%
Other difficulty completing mail       0.4%      0.1%               0.0%           0.0%             0.0%         0.3%             0.2%         0.0%
ballot

Difficulty receiving mail ballot       1.7%      1.9%               2.5%           5.9%             3.0%         1.9%             1.7%         2.5%
Difficulty returning mail ballot       0.0%      0.7%        *      1.6%           6.7%             2.0%         0.9%      *      0.2%         1.9%

Sample size                            319         797          119            75          155             398             526                  267
* Difference from non-disability sample is outside 95% margin of error
From 2020 Election Assistance Commission survey with results reported at https://www.eac.gov/election-officials/us-election-assistance-
commission-study-disability-and-voting-accessibility-2020, Table 11.




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Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 158 of 355




                                43
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 159 of 355




            EXHIBIT A




                                44
     Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 160 of 355




                                   CURRICULUM VITAE


                                      Douglas L. Kruse

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EDUCATION:

   Harvard University, Cambridge, Massachusetts.
         Ph.D. in Economics, June, 1988.

          Major fields: Labor Economics, Comparative Economic Systems.
          Minor fields: Applied Econometrics, Industrial Organization.
          Dissertation topic: Empirical test of Weitzman profit-sharing theory, and effect of
                 profit sharing on productivity and growth.

   University of Nebraska-Lincoln, Lincoln, Nebraska.
          M.A. in Economics, August 1983.
          Certification in Public Policy Analysis and Program
                  Evaluation, 1983.
          Fields: Public Policy, Field Research, Comparative Economic Systems.

   Harvard University, Cambridge, Massachusetts.
         B.A. in Economics, June 1981, Magna Cum Laude.


EMPLOYMENT:

   Distinguished Professor, July 2014-present; Professor, July 2000-June 2014; Associate
          Professor, July 1994-June 2000; Assistant Professor, July 1988-June 1994; Dept. of
          Human Resource Management, School of Management and Labor Relations, Rutgers
          University. Member of the Graduate Faculties in Economics, Labor and Employment
          Relations, and Human Resource Management.

   Associate Dean for Academic Affairs, School of Management and Labor Relations, Rutgers
          University, 2017-2018.


                                              45
     Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 161 of 355




   Senior Economist, Council of Economic Advisers, Executive Office of the President,
          Washington, D.C., September 2013-August 2014.
   Teaching Assistant, 9/86-5/88, Dept. of Economics, Harvard University.
          Labor Economics, Econometrics, Comparative Economic Systems, and
          Labor Thesis Advising.

       Economic Development Consultant, 5/83-9/84, Department of Economic Development,

State of Nebraska, Lincoln, Nebraska.




OTHER POSITIONS:

   National Bureau of Economic Research (Cambridge, Massachusetts), Research Associate,
          September 1995-present, Faculty Research Fellow, September 1990-August 1995.

   IZA Institute of Labor Economics (Bonn, Germany), Research Fellow, March 2016-present.

   Associate Editor, British Journal of Industrial Relations, January 2011-June 2021.

   Associate Editor, Journal of Participation and Employee Ownership, January 2017-present.

   Editorial Board member, Human Resource Management Journal, January 2017-present.

   Member, Transition Team for a Stronger and Fairer Economy, New Jersey Governor-elect
        Phil Murphy, November 2017-January 2018.

   President, International Association for the Economics of Participation, 2012-2014; Vice-
          President, 2010-2012.

   Co-director, Program for Disability Research, School of Management and Labor Relations,
          Rutgers University, January 2005-present.

   Director, Ph.D. Program in Industrial Relations and Human Resources, School of
          Management and Labor Relations, Rutgers University July 2007-June 2013.

   President’s Committee on Employment of People with Disabilities, Subcommittee on
          Employment Disability Concerns (Washington, D.C.), January 1998-December 2000.

   New Jersey State Rehabilitation Council, October 1999-June 2013.


BOOKS:



                                              46
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      Reviewed in British Journal of Industrial Relations, Industrial and Labor Relations
      Review, and Journal of Occupational Rehabilitation.

The Citizen’s Share: Putting Ownership Back Into Democracy. New Haven, CN: Yale
      University Press, 2013. By Joseph Blasi, Richard Freeman, and Douglas Kruse.

      Reviewed in Administrative Science Quarterly, Journal of American History, and
      Contemporary Sociology.

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       based Stock Options. Chicago: University of Chicago Press, 2010. Edited by
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       Named a “Noteworthy Book in Industrial Relations and Labor Economics, 2003,” by
             Princeton University Industrial Relations Section.
       Named as one of the top 10 business books of 2003 by Business Week.
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             Moral Education.

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Kremlin Capitalism: The Privatization of the Russian Economy. Ithaca, NY: Cornell
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             Australian Journal of International Affairs, British Journal of Sociology,
             Business and the Contemporary World, Business History, Business Week,
             Choice, Europe-Asia Studies, Economics of Transition, Fortune, Journal of
             East-West Business, Journal of Political Ecology, Library Journal, New York
             Review of Books, Review of Political Economy, Russian Review, Slavic
             Review, Social Science Journal, Washington Monthly, and World Today.

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       Awarded “Richard A. Lester Prize for Outstanding Book in Industrial Relations and
             Labor Economics, 1993,” by Princeton University Industrial Relations
             Section.

       Reviewed in Journal of Economic Literature, Journal of Comparative Economics,
             Industrial and Labor Relations Review, Relations Industrielles.

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      What it Means to American Business. New York: HarperCollins, 1991. By Joseph
      Blasi and Douglas Kruse.

       Russian translation published by Delo Publishers (Moscow) in 1995.

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            Princeton University Industrial Relations Section.

       Reviewed in Journal of Economic Literature, British Journal of Industrial Relations,
             Administrative Science Quarterly, Economic and Industrial Democracy.

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                                           48
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            published in the journal in 2002.

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   Status, and Size of Stake.” Advances in the Economic Analysis of Participatory and
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"Involvement work systems and operational effectiveness: Exploring the moderating effect
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         Awarded the 2016 International HRM Scholarly Research Award, Human
         Resources Division, Academy of Management.

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“Firm Survival and Performance in Privately-held ESOP Companies,” in Douglas Kruse,
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                                           62
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                                              63
   Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 179 of 355




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                                            64
 Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 180 of 355




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GRANTS AND CONTRACTS:

   Disability and Voting Accessibility in the 2020 Elections. Lisa Schur and Douglas Kruse.
         This $318,000 contract from the U.S. Election Assistance Commission funded a post-
         election national survey of 2569 people on disability and voting in the 2020 elections.
         Report was delivered February 17, 2021.

   Disability Inclusive Employment Policy RRTC (Rehabilitation Research and Training
         Center). Douglas Kruse, Lisa Schur, Mason Ameri, and Yana Rodgers. Funded by
         U.S. Department of Health and Human Services. Project period 2020-2025. Center
         is based at Syracuse with Rutgers and Harvard as partners. Doug Kruse is PI on the
         Rutgers subaward of $943,000, and co-PI on the overall award of $4,375,000 based at
         Syracuse.

   Disability and Assistive Technology. Douglas Kruse, Lisa Schur, Mason Ameri, and Hazel-
         Anne Johnson. “SFW-HTF-RL: Collaborative Research: Future of Work for People
         with Disabilities – Physical and Cognitive Training Through Perceptive and Adaptive
         Soft (PECASO) Wearable Robots.” Funded by National Science Foundation. Project
         period 2020-2024. Project is based at CUNY with Rutgers as partner. Doug Kruse is


                                              66
 Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 182 of 355




      PI on the Rutgers subaward of $619,279, and co-PI on the overall award of
      $1,884,010 based at CUNY.

Employee Ownership and Employment Stability. Co-PI with Fidan Kurtulus for $40,000
    grant from W.E. Upjohn Institute for Employment Research, 2012-2014. We
    examined public employee ownership firms over the 1999-2011 period, analyzing
    their employment stability and survival during the two recessions. The results were
    published in a book in 2014.

Disability Discrimination and Job Requirements. Co-PI for $200,000 grant from
     Employment Policy Rehabilitation Research and Training Center, based at University
     of New Hampshire and funded by National Institute on Disability and Rehabilitation
     Research, 2010-2015. This project matches data on disability earnings gaps by
     occupation to data on occupational job tasks and ability requirements, examining
     whether disability earnings gaps are limited to occupations in which an impairment
     should limit productivity, or instead also exist in occupations where impairments do
     not limit productivity, which would support the idea that discrimination is at work.

Organizational Practices and Disability. Co-investigator for $500,000 grant from the Office
     of Disability Employment Policy, U.S. Department of Labor, 2006-2007. A
     consortium of Rutgers, Cornell, and Syracuse researchers worked with three other
     research partners and six companies to study how corporate policies and practices, and
     manager and co-worker attitudes, can limit or facilitate employment opportunities for
     people with disabilities. The researchers developed case study standards and
     methodology, and then applied them in six case studies. The information from the case
     studies will provide lessons about what works in diverse settings, helping companies
     develop "best practices" for employing people with disabilities and providing a
     platform for ongoing benchmarking and self-evaluation.

Disability and Demand-side Employment Placement Models. Co-investigator for $2.5
     million grant in collaboration with Syracuse University and the University of Illinois,
     2006-2011, from the National Institute on Disability and Rehabilitation Research, U.S.
     Dept. of Education. This establishes a 5-year center to study factors affecting
     employer demand for people with disabilities. The Rutgers projects include studies on
     contingent work, worker displacement, and 10-year projections of demand for specific
     abilities.

Desired and Actual Work Arrangements Among People with Disabilities. Principal
      investigator for $51,350 in grants for putting disability questions on the 2006 General
      Social Survey. In combination with two work modules (the Work Orientation module
      and the Quality of Work Life module), these data provide the first representative
      estimates of desired work arrangements among both employed and non-employed
      people with disabilities, and the attitudes and experiences of employed people with
      disabilities.




                                           67
 Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 183 of 355




Shared Capitalism: Co-investigator with Richard Freeman, Joseph Blasi, and Chris Mackin
     for $650,000 grant from Russell Sage Foundation and Rockefeller Foundation,
     September 2000-December 2006. We did case studies of 14 U.S. companies with
     various forms of employee ownership, stock options, and profit sharing, with surveys
     from 41,000 employees. For nationally-representative data, we sponsored questions
     on the 2002 and 2006 General Social Surveys regarding attitudes toward and
     experience with employee ownership and profit sharing. Results will form the basis of
     a conference, several articles, and a book.

Design of Disability Questions for Current Population Survey: Principal investigator for
     $102,500 grant from Presidential Task Force on Employment of Adults with
     Disabilities, August 2001-December 2002. I worked with the Bureau of Labor
     Statistics, under a Presidential Executive Order, to design disability questions for the
     monthly population survey of the federal government.

Disability Research Institute: Co-investigator for 5-year cooperative agreement with Social

     Security Administration to do research on employment and disability income among

     people with disabilities. One project with Lisa Schur, funded by a $54,000 grant,

     analyzed the prevalence and trends of alternative work arrangements among people

     with disabilities over the 1992-2000 period, and legal issues facing workers with

     disabilities in such arrangements.


Empowerment Through Civic Participation: A Study of the Political Behavior of Citizens
    with Disabilities: Co-investigator for $102,500 in grants from the New Jersey
    Developmental Disabilities Council, National Institute on Disability and
    Rehabilitation Research, Presidential Task Force on Employment of Adults with
    Disabilities, and Rutgers School of Management and Labor Relations for national
    surveys following the November 1998 and 2000 elections. The 2000 survey had 1000
    respondents and the 1998 survey had 1240 respondents, with 500 respondents with
    disabilities in 2000 and 700 respondents with disabilities in 1998. The project, done
    with collaborators Lisa Schur (Rutgers), Kay Schriner, and Todd Shields (U. of
    Arkansas), compared people with and without disabilities in levels and determinants
    of voter turnout and other forms of political participation.

Survival and Growth of Private ESOP Firms: Co-investigator with Joseph Blasi for $20,000
     grant from ESOP Foundation, National Center for Employee Ownership, and
     Foundation for Enterprise Development, May, 2000-December, 2000. This project
     uses 1983-99 longitudinal Dun & Bradstreet data for 3010 firms to investigate the
     relative survival and growth patterns of ESOP vs. non-ESOP firms.


                                           68
    Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 184 of 355




   Disability and Employment: Principal investigator for $25,000 grant from U.S. Department

         of Labor, 1997. I analyzed Survey of Income and Program Participation dataset to

         construct baseline information for evaluating likely impacts of policy proposals to

         encourage employment among people with disabilities. The report provides portraits

         of employed and non-employed people with disabilities, and comparisons to the

         general population, with respect to demographic characteristics, personal and

         household income sources and amounts, health care insurance and utilization, and

         employment characteristics of the employed.


   Disability, Employment, and Computer Use: Co-investigator, with Alan Krueger of
        Princeton University, for $100,000 grant from Rutgers Disability Research
        Consortium and Princeton Industrial Relations Section. We analyzed employment
        patterns among mobility-impaired individuals, and the extent to which computer
        technologies have affected the employability and earnings power of such individuals.

   ESOPs, Profit Sharing, and Gainsharing in Airlines and High-Technology Industries: Co-
       investigator, with Linda Bell of Haverford College, for $25,000 grant from U.S.
       Department of Labor to collect and analyze survey data from publicly-held firms in
       airlines and high-technology industries, 1995.

   The Productivity and Stability Theories of Profit Sharing: Principal investigator for $47,000
        grant from W.E. Upjohn Institute for Employment Research to study profit sharing in
        publicly-held companies. Published in Upjohn book in 1993.

PRESENTATIONS:

     “Disability and Voting Accessibility in the 2020 Elections.” Presentation to American
        Council on the Blind, February 22, 2021, with Lisa Schur.

     “Disability and Voting Accessibility in the 2020 Elections.” Presentation to U.S. Election
        Assistance Commission, February 17, 2021, with Lisa Schur.

    “Disability and Voting: What Does the Research Say?” Presentation with Lisa Schur for
       “POWER: The Disability Vote” webinar, sponsored by American Association of
       People with Disabilities and REV UP! Campaign, June 22, 2020.




                                              69
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 185 of 355




“Disability and Voting.” Presentation with Lisa Schur for “Protecting the Right to Vote for
    People with Disabilities” webinar, sponsored by Leadership Conference On Civil and
    Human Rights, and National Disability Rights Network, May 21, 2020.

“Understanding Support for Employee Ownership,” New Jersey/New York Center for
   Employee Ownership, Rutgers University, October 29, 2019.

“Where does profit sharing work best? A meta-analysis on the role of unions, culture, and
   values,” International Association for the Economics of Participation conference,
   University of Ljubljana, Slovenia, July 2018.

“Where does profit sharing work best? A meta-analysis on the role of unions, culture, and
   values,” Beyster Symposium, LaJolla, CA, June 2018.

“Employee Ownership: A Look at the Evidence,” Vermont Employee Ownership Center,
   University of Vermont, Burlington, VT, June 2018.

“Disability and Employment,” Sciences Po, St. Germain-en-Laye, Paris, France, March 16,
    2018.

“Citizenship and Disability,” Sciences Po, St. Germain-en-Laye, France, March 12, 2018.

“Tying Employee Rewards to Company Performance through Employee Ownership and
    Profit Sharing,” University of Pennsylvania, July 2017.

“Do Employee Owners Face Too Much Financial Risk? Analysis of the Survey of
    Consumer Finances,” International Association for the Economics of Participation,
    Copenhagen, Denmark, July 2016.

“Do Employee Owners Face Too Much Financial Risk? Analysis of the Survey of
    Consumer Finances,” Beyster Symposium, LaJolla, CA, June 2016.

“The Disability Employment Puzzle: A Field Experiment on Employer Hiring Behavior,"
    World Bank, January 13, 2016, with Mason Ameri and Lisa Schur.

"The Impact of Employee Stock Ownership and Profit Sharing for Low Income Families:
    The Rutgers University Kellogg Foundation Research Project," Kelso Workshop,
    Rutgers University, January 11, 2016.

“The Disability Employment Puzzle: A Field Experiment on Employer Hiring Behavior,"
   NBER Summer Institute on Law and Economics, July, 2015, with Mason Ameri and
   Lisa Schur.

“How Did Employee Ownership Firms Weather the Last Two Recessions? Employee
   Ownership and Employment Stability in the U.S.: 1999-2010,” Beyster Symposum,
   University of California-San Diego, January 2015, with Fidan Kurtulus.

                                         70
 Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 186 of 355




“Survey Results on Polling Place Accessibility in the 2012 Elections,” U.S. Election
    Assistance Commission, Washington, D.C., May 9, 2013

“Differentiating the Truly Great Place to Work Companies From the Good Companies,”
    Beyster Mid-year Fellows Workshop, Rutgers University, February 2013.

“Shared Capitalism,” Keynote Address, International Association for the Economic of
    Participation, Paris, France, July 2010.

“The Effects of Accommodations on the Employment of People with Disabilities,” Jacobus
    ten Broek Symposium, National Federation of the Blind, Baltimore, MD, April 15,
    2011.

“Research Overview for Discussion of CPS Disability Supplement,” U.S. Bureau of Labor
    Statistics, Washington, D.C., October 19, 2010

“Does Shared Capitalism Help the Best Firms Do Even Better?” Centre for Economic
   Performance, London School of Economics, May 26, 2011.

“Shared Capitalism, Corporate Culture, and Performance,” Beyster Institute, University of
    California-San Diego, July 2009.

“Disability at Work: Job Characteristics and Attitudes of Employees with Disabilities,”
    Labor and Employment Relations Association annual conference, San Francisco, CA,
    January 2009.

“Disability and Employment: Building a Research Agenda,” Interagency Committee on
    Disability Research, Subcommittee on Employment, Washington, D.C., June 2008.

“Shared Capitalism Research Project,” Organizational Dynamics, University of
     Pennsylvania, May 2008.

“Building Inclusive Organizations for Employees with Disabilities,” School of Management
     and Labor Relations, Rutgers University, May 2008.

“Disability and Voter Turnout,” University of North Carolina-Charlotte and Carolinas
     Rehabilitation Center, April 2008. With Lisa Schur.

“Worker Responses to Shirking,” M.I.T. Sloan School of Management, November 2007.
    With Richard Freeman and Joseph Blasi.

“Corporate Culture and the Experiences of Employees with Disabilities," Society of
     Industrial and Organizational Psychology, Dallas, TX, May 2006. With Lisa Schur.




                                         71
 Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 187 of 355




“Shared Capitalism in the U.S. Economy: Prevalence, Characteristics, and Employee Views
     of Financial Participation in Enterprises,” NBER/Russell Sage Conference on Shared
     Capitalism, New York, NY, October 2006.

“Do Workers Gain by Sharing? Employee Outcomes Under Employee Ownership, Profit
    Sharing, and Broad-based Stock Options,” NBER/Russell Sage Conference on Shared
    Capitalism, New York, NY, October 2006.

“Risk: Is It Economic Democracy, or Just Another Risk for Workers? Employee Attitudes
     Toward Risk-Sharing and Financial Participation in Company Rewards,” October
     2006.

“Motivating Employee-Owners in ESOP Firms: Human Resource Policies and Company
     Performance,” Industrial Relations Research Association, January 2004.

“Non-standard Work Arrangements and Disability Income,” Disability Research Institute,
     Washington, D.C., June 5-6, 2002. With Lisa Schur.

“Research Evidence on Prevalence and Effects of Employee Ownership,” National Bureau
     of Economic Research, Cambridge, MA, April 12, 2002.

“Changes in the Workforce: Trends and Implications for Employment Law and Collective
     Bargaining,” Industrial Relations Research Association, New Jersey chapter, April 1,
     2002. With Lisa Schur.

“Does the Definition Affect the Outcome? Employment Trends Under Alternative
     Measures of Disability,” Employment & Disability Policy Institute sponsored by
     Cornell University, Washington, D.C., October 2001.

“Non-standard Work Arrangements and Disability Income,” Disability Research Institute,
     University of Illinois at Urbana-Champaign, April 26, 2001.

“Comments on 'The Economic and Social Impacts of Telework',” Conference on Telework,
    U.S. Department of Labor, New Orleans, LA, October 2000.

“Telecommuting and Home-based Work: Differences by Disability Status,” Cornell
     Summer Institute on Disability and Employment Policy, Ithaca, NY, July 2000.

“Disability and Voter Turnout,” presented to President's Committee on Employment of
     People with Disabilities, Subcommittee on Employee Disability Concerns,
     Washington, D.C., January 2000.

“Employment and Participation Among People with Disabilities,” presented to European
    Union High Level Group on Disability, Washington, D.C., October 1999.




                                         72
 Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 188 of 355




“Polling Place Accessibility for People with Disabilities,” National Task Force on Elections
      Accessibility, Washington, D.C., June 1999, with Lisa Schur.

“Telecommuting and Home-based Work: Differences by Disability Status,” Society for
     Disability Studies, Washington, D.C., May 1999.

“Economic Democracy or Just Another Risk for Workers? Reviewing the Evidence on
     Employee Ownership and Profit Sharing,” Conference on Democracy, Participation,
     and Development, Columbia, NY, April 1999.

“Telecommuting and Home-based Work: Differences by Disability Status,” President’s
     Committee on Employment of People with Disabilities, Washington, D.C., January
     1999.

“The New Employee/Employer Relationship,” Aspen Institute’s Domestic Strategy Group,
     Aspen, Colorado, July 1998.

“The Wealth and Income Consequences of Employee Ownership,” paper by Peter Kardas et
     al., presented at NBER conference “Shared Capitalism: Mapping the Research
     Agenda,” Washington, D.C., May 1998.

“Is Employee Ownership an Unstable Form? Or a Stabilizing Force?” MIT-Brookings
     Conference on Corporations and Human Capital, Dedham, MA, January, 1998.

“Employment Policies for the 21st Century,” Social Security Administration conference on
    “Employment Post the Americans with Disabilities Act,” Washington, D.C.,
    November 1997.

“What Affects Voter Turnout? Lessons from Citizens with Disabilities,” Society for
    Disability Studies, Minneapolis, MN, May 1997, with Lisa Schur.

“Profit Sharing and the Demand for Low-Skill Workers,” Federal Reserve Bank of Dallas,
      April 1997.

“The Role of Computer Skills in Employment and Earnings Following a Spinal Cord
     Injury,” Conference on Technology and Persons with Disability, California State
     University-Northridge, Los Angeles, CA, March 1997.

“What Affects Voter Turnout? Lessons from Citizens with Disabilities,” Southern Political
    Science Association, Atlanta, GA, November 1996, with Lisa Schur.

“Disability, Employment, and Computer Use,” American Spinal Injury Association, Seattle,
     WA, April 1996.

“Labor Market Effects of Spinal Cord Injuries in the Dawn of the Computer Age,” Dept. of
     Economics, University of Maryland, Towson, MD, April 1996.

                                           73
 Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 189 of 355




“Profit Sharing and Employee Ownership: Review of the Issues and Research,” Industrial
      Relations Research Association, San Francisco, CA, January 1996.

“Profit Sharing, Employee Ownership, and Corporate Governance,” Seminar on Corporate
      Governance, Columbia University Law School, November 1995.

“Labor Market Effects of Spinal Cord Injuries in the Dawn of the Computer Age,” National
     Bureau of Economic Research, Cambridge, MA, July 1995.

“Employee Ownership and Profit Sharing in the U.S. and Europe,” Chinese State
    Commission for Restructuring the Economic System, New York, NY, July 1995.

“Profit Sharing and the Demand for Low-Skill Workers,” Demand-Side Strategies for the
      Low-Wage Labor Market conference, Russell Sage Foundation, New York, NY, June
      1995.

“Profit Sharing and Public Policy,” Association for Evolutionary Economics, New York,
      NY, January 1994.

“Does Profit Sharing Affect Productivity?” Dept. of Economics, Columbia University, New
     York, NY, October 1993.

“Does Profit Sharing Affect Productivity?” National Bureau of Economic Research,
     Cambridge, MA, July 1993.

“Does Profit Sharing Affect Productivity?” Cornell University, Ithaca, NY, May 1993.

“Does Profit Sharing Affect Productivity?” Eastern Economics Association, Washington,
     D.C., March 1993.

“Profit Sharing, Productivity, and Employment Stability,” U.S. Department of Labor,
      Pension and Welfare Benefits Administration, Washington, D.C., March 1990.

“Policy Implications of Profit Sharing,” paper delivered at Society for the Advancement of
      Socio-Economics, Washington D.C., March 1990.

“Profit Sharing in the 1980's: Disguised Wages or a Fundamentally Different Form of
      Compensation?” paper delivered at Wage Structure Conference, Federal Reserve Bank
      of Cleveland, November 1989.

“Profit Sharing and Productivity” (with Martin Weitzman), paper delivered at Brookings
      Institution conference on worker compensation and productivity, Washington, D.C.,
      March 1989.




                                          74
    Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 190 of 355




   “The Economic Implications of Employment Rights and Practices in the United States,”
        paper delivered at AEA/ACES Annual Meeting, New York, December 1988.

   “Small Business Financing: A Survey of the Experiences and Attitudes of Nebraska Small
        Business Owners,” with F. Gregory Hayden and Steven Williams, Small Business
        Institute Directors Association, February 1984, Denver, Colorado.

   “The Effect of Employee Ownership on Desires for Participation,” Western Social Science
        Association, April 1982, Denver, Colorado.


SERVICE TO PROFESSION:

    Editor, British Journal of Industrial Relations, January 2011- June 2021.

    Associate Editor, Journal of Participation and Employee Ownership, 2017-present.

    Guest co-editor, special issue on Employee Ownership, Human Resource Management,
        2018.

    Co-chair, Awards Committee, Labor and Employment Relations Association, 2015-2018.

    Member, Board of Reviewers, Industrial Relations, 1993-2004.

    Recognized by Industrial and Labor Relations Review as one of its “most productive
         reviewers” over the 1995-99 period.

    Referee for
        Academy of Management Journal
        American Economic Review
        American Journal of Industrial Medicine
        British Journal of Industrial Relations
        Canadian Journal of Economics
        Comparative Economic Studies
        The Economic Journal
        Human Resource Management
        Industrial and Labor Relations Review
        Industrial Relations
        Journal of Comparative Economics
        Journal of Disability Policy Studies
        Journal of Economics and Business
        Journal of Economic Behavior and Organization
        Journal of Economic Issues
        Journal of Labor Economics
        The Milbank Quarterly
        Organization Science

                                             75
   Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 191 of 355




        Policy Studies Journal
        Quarterly Journal of Economics
        Review of Economics and Statistics
        Social Science Quarterly


SERVICE TO GOVERNMENT:

    Member, Transition Team for a Stronger and Fairer Economy, New Jersey Governor-elect
        Phil Murphy, November 2017-January 2018.

    Member of State Rehabilitation Advisory Council, New Jersey Division of Vocational
        Rehabilitation, 1999-2013.

    Report prepared for National Council on Disability, Employment of People with
         Disabilities, May 2007.

    Member of Advisory Committee for the Disability Statistics Center, Cornell University,
        2004-2009.

    Member of Blue Ribbon Expert Advisory Panel for the ADA Impact Study, funded by the
       National Council on Disability, 2004-2005.

    Member of Advisory Committee for the Rehabilitation Research and Training Center for
        Economic Research on Employment Policy for Persons with Disabilities, Cornell
        University, 1998-2004.

    Member of President’s Committee on Employment of People with Disabilities,
        Subcommittee on Employment Disability Concerns, 1998-2000.

    Consultant on designing Behavioral Risk Factor Surveillance System questions to identify
         environmental barriers facing people with disabilities, conducted by Craig Hospital
         (Denver, CO) with funding by Centers for Disease Control, 1998.

    Consultant on designing and writing vocational rehabilitation book about labor market
         prospects for people with disabilities, Rehabilitation Services Administration, 1998-
         99.

    Data prepared at request of Joint Economic Committee of the U.S. Congress, on employer
          stock and 401(k) plans, August 1998.

    Report prepared for U.S. Department of Labor, Office of Policy, Disability and
         Employment: Characteristics of Employed and Non-employed People with
         Disabilities, September 1997.




                                             76
     Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 192 of 355




     Report prepared for U.S. Department of Labor, Office of the American Workplace,
          ESOPs, Profit Sharing, and Gainsharing in Airlines and High-Technology
          Industries, with Linda Bell, 1995.

     Referee for National Science Foundation grant proposals, 1995, 1999.

     Testimony before the Subcommittee on Employer-Employee Relations, Committee on
          Education and the Workforce, U.S. House of Representatives, concerning employee
          ownership and retirement security, February 13, 2002.

     Testimony before U.S. House of Representatives Committee on Small Business,
          Subcommittee on Regulation, Business Opportunities, and Technology (Ron Wyden,
          Chair), concerning bill to provide incentives for profit-sharing and gainsharing plans,
          July 15, 1994.

       Testimony before U.S. House of Representatives Committee on Banking, Finance,and

Urban Affairs, Subcommittee on Economic Stabilization (Charles Schumer, Chair), concerning

“The National Entrepreneurship Act,” May 15, 1984.




SERVICE TO RUTGERS UNIVERSITY:

     Associate Dean for Academic Affairs, School of Management and Labor Relations,
           Rutgers University (July 2017-December 2018)
     Director, Ph.D. Program in Industrial Relations and Human Resources, School of
           Management and Labor Relations, Rutgers University (July 2007-June 2013)
     New Brunswick Faculty Council representative (2014-2017)
     Advisory Committee on Instructional Computing member (2001-2005)
     University Research Council member (1998-2012)
     Faculty mentoring committee member for Jasmine Feng (2016-present), Saunjuhi Verma
           (2015-present), Janice Fine (2007-2012), Saul Rubinstein (1996-2002), Stan Gully,
           (2000-2005), Ryan Smith (1995-2000), Marlene Kim (1993-1999), Barbara Rau
           (1995-1997), and Kirsten Wever (1997-1999).
     Dissertation committee chair for Eric Schulz (1997), Rhokeun Park (2007), Andrea Kim
           (2013), Mason Ameri (2017), and Saehee Kang (current).
     Dissertation committee member for Michael Zigarelli (1995), James Gasaway (1999),
           Maya Kroumova (1999), Douglas Mahony (2001), Haejin Kim (2003), Sean Way
           (2004), Saba Colakoglu (2008), and Dan Weltmann (2017).
     Master's thesis committee chair for Sean Way (2001) and Rhokeun Park (2003)
     Ph.D. Policy Committee, School of Management and Labor Relations (1995-1998, 2000-
           2005)
     Library Committee, School of Management and Labor Relations (1988-1993, 1997-1998)
     Admissions Committee (1989-1990, 1991-1992)

                                               77
    Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 193 of 355




    Health and Safety Committee, School of Management and Labor Relations (1989-1990)
    Several faculty recruitment committees (1991-present)


AFFILIATIONS:

    American Economic Association
    Association for Comparative Economic Studies
    Association for Evolutionary Economics
    Labor and Employment Relations Association
    Royal Economic Society
    Society for Disability Studies




                                          78
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 194 of 355




              EXHIBIT
                54
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 195 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 196 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 197 of 355




              EXHIBIT
                55
     Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 198 of 355




                                     Supplement to
      Report on Identification Number Requirements for Mail Balloting under SB 1


                                  United States v. Texas


              United States District Court for the Western District of Texas




___________________
Eitan Hersh
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May 4, 2022




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  Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 199 of 355




   I.      Abstract

1. Since I filed my expert report on February 28, 2022, I have received updated Department

   of Public Safety (DPS) data and updated voter registration (TEAM) data from the State of

   Texas. I have also received a rebuttal to my report written by Dr. Mark Hoekstra. Finally,

   I have received voter history information from the March 1, 2022 Texas primary, the first

   election that was administered under the identification verification rules set forth by

   Senate Bill 1 (SB 1).

2. In this supplemental report, I re-run the main analysis conducted in my February report

   with the updated DPS and TEAM data. Then, I respond to the main points raised by Dr.

   Hoekstra. Lastly, I conduct a new analysis of data from the March 1 primary.

3. My key findings are as follows:

        a. In spite of the passage of several months of time that might have allowed

           databases to be updated and identification issues to be resolved, my updated

           analysis finds that over 1 in 7 Texas registered voters can submit a mail ballot

           application and/or a mail ballot in perfect accordance with SB 1 and yet election

           officials must reject the voters’ forms.

                      -    Tens of thousands of registered voters are listed with typos in the

                           DPS ID numbers and/or Social Security Numbers on the databases

                           maintained by election officials.

                      -    Hundreds of thousands of individuals who have valid DPS IDs are

                           not listed in election records with these ID numbers.

                      -    Over two million individuals have multiple DPS IDs, while only

                           one of the numbers is listed by election officials.




                                                                                                 2
  Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 200 of 355




            Altogether, over 2.7 million out of 17.3 million registered voters could fill out a

            mail ballot form correctly and have it rejected due to one or more of these

            circumstances. This population includes many Texans over 65-years-old, Texans

            who are homebound and disabled veterans, and active-duty members of the

            military and their families.

         b. Following this update to my analysis, I address critical flaws in the rebuttal report

            of Dr. Hoekstra. I explain how Dr. Hoekstra’s framework for analyzing the effects

            of SB 1 (i.e., estimating the typical number of voters who will be burdened in any

            given election) is inappropriate. Using data from the March 2022 primary

            election, I also show how Dr. Hoekstra’s analysis is wrong even on his own terms

            of evaluation. Whereas Dr. Hoekstra argues that “the likely burden on

            the…registered voters who will either have to cure their ballot or vote in person as

            a result of SB 1 is likely minimal, and quite possibly zero,” I find that the vast

            majority of Texans whose mail ballots were rejected due to SB 1 in March 2022

            did not end up voting at all, either by mail or in person.




   II.      Updated analysis using new versions of DPS and TEAM databases

A. Databases

4. DPS. The updated DPS database I received is dated March 13, 2022. The database

   contains 36,417,304 records, an increase of 189,485 (0.5%) records from the January

   2022 version of the file I analyzed in my main report. As in the version previously

   analyzed, the March version of the data has complete or nearly complete records in all

   fields of interest (e.g., name, date of birth, address, gender) except that 5% of records are


                                                                                                  3
      Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 201 of 355




        not populated with Social Security Numbers, which was also the case in the January data.

        Table 1 below updates Table 1 of my main report with the new data.

    5. The March update to the DPS database contains an additional field that was not

        previously made available to me: “Card Status.” The status field is populated with a

        variety of codes. Of relevance here is a code named “Voluntary Surrender,” which may

        indicate that the ID holder does not possess a physical identification card with that ID

        number listed on it. Without a physical identification card, it may be difficult for a person

        to access their ID number and write it on a government form.

        TABLE 1: Rate of Missing Information in DPS


                                 Missing SSN                            4.98%
                                 Missing unique SSN9                     28.65
                                 Missing First Name                       0.00
                                 Missing Last Name                        0.00
                                 Missing Birthdate                        0.00
                                 Missing M/F Gender                       0.00
                                 Missing Street Number                    0.03
                                 Missing Zip Code                         0.00
                                 TOTAL IN DATABASE                  36,417,304


    6. TEAM. The updated version of TEAM records is dated April 21, 2022. 1 In the TEAM

        data, each county’s records are stored in a different file. Registered voters can be listed

        on many lines within a county file. For instance, Texas counts 29,128 registered voters in

        Anderson County as of March 2022. 2 In the April TEAM export I received, there are


1
  At the time that I received the March DPS data, I also received an updated version of the TEAM data. That export
was dated April 5, 2022. Upon inspection, that export from TEAM excluded several million registered voters. I
alerted counsel to this problem, and I was soon supplied with a new export, dated April 13, 2022. Upon inspection,
this second export of TEAM again excluded several million registered voters. I alerted counsel again and received
the April 21 export on April 25. I do not expect the difference in time between when the DPS export was executed
and when the corrected TEAM export was executed affects any of the substantive findings or conclusions in this
report.
2
  https://www.sos.state.tx.us/elections/historical/march2022.shtml


                                                                                                                     4
  Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 202 of 355




   261,644 rows of registrants in Anderson County. Different rows show different

   interactions that registrants have had with the election system. For each county file, I

   processed the data so that each person, represented by their Voter Unique Identification

   Number (VUID), is listed one time. Specifically, I observed the dates labeled

   “ballot_last_updated” and retained the most recent date for each registrant. I also retained

   registrants who had no date listed in this field. If there were registrants with multiple

   records but only one of the records listed a Social Security Number (SSN) or DPS ID

   Number, I retained the record with those identifiers. I retained the fields of interest (e.g.,

   name, address, date of birth, and so forth) and combined the 254 county files into a single

   file. I then identified individuals who had records in multiple county files. I kept only one

   record for each of these individuals, again ensuring to retain a record with an SSN or

   DPS ID if only one of the records contained these identifiers.

7. After the de-duplication process, the April TEAM file consists of 17,330,189 records. I

   sought to confirm that this number is close to the state’s official reporting. According to

   the Secretary of State’s website, as of March 2022, there were 17,183,996 registered

   Texas voters. Given the typical fluctuation in registration numbers and the fact that the

   April 21 records were pulled several weeks after the publicly reported numbers were

   calculated, a difference of less than 1% suggests the data I have been given by the state is

   consistent with the state’s publicly reported information.

B. Data Quality Checks in the TEAM Voter Records

8. I performed the same set of data quality checks as described in my initial report. Tables 2

   and 3 offer summary statistics on key fields of interest. There are slightly fewer records

   listed with Social Security Numbers and slightly more records listed with DPS ID




                                                                                                    5
  Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 203 of 355




   Numbers. Specifically, whereas 2.34% of records in TEAM were missing an SSN in the

   January data, 2.52% of records are missing an SSN in the April data. Whereas 3.16% of

   records in TEAM were missing a DPS ID Number in the January data, 2.85% of records

   are missing a DPS ID Number in the April data.

9. The numbers are all similar to the January data, with the exception of the address fields.

   Whereas less than 1% of records in the January file were missing values for street

   number and zipcode, over 20% of the records in the April file are missing this

   information. The absence of address information is concentrated in registration records

   that also have a blank “ballot_last_updated” field.

10. The difference in the address fields may be attributable to the fact that state supplied me

   with a different format of the database in April than in January. Ultimately, it is not clear

   to me why the state’s April records show so many voters with missing address

   information. However, as my methodology uses information other than address

   information (e.g., name and birthdate, SSN), I can proceed to update the analysis from

   my prior report with the March and April data. And, indeed, the overall results are very

   similar in this supplementary report as in my initial report.

   TABLE 2: Rates of Missing Information in TEAM


                         Missing SSN                         2.52%
                         Missing Unique SSN9                   6.25
                         Missing First Name                    0.00
                         Missing Last Name                     0.00
                         Missing Birthdate                     0.07
                         Missing M/F Gender                    3.73
                         Missing Street Number                22.57
                         Missing Zip Code                     22.56
                         TOTAL IN DATABASE               17,330,189




                                                                                                   6
    Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 204 of 355




         TABLE 3: Summary of Field Completeness in TEAM


        TOTAL Records in TEAM analysis                 17,330,189
        Records with unique SSN9                       16,246,791               93.75%
        Records with SSN4                              16,893,085                 97.48
        Records with DPS ID Number                     16,836,041                 97.15
        Records lacking SSN4 and DPS ID No.               105,536                  0.61



  C. Methodology

  11. The methodology employed is the same as in my initial report. See Paragraphs 50-73 in

     that report for a detailed explanation. My goal is to look up each registered voter in the

     DPS database and determine if the registered voter has one (or more) DPS ID Numbers

     listed, and to see if there are typos or other inconsistencies between the DPS ID Numbers

     and SSN4s listed on TEAM versus those listed on the DPS Database. I create three

     linkage fields to connect the TEAM and DPS databases together. The first field is the

     nine-digit Social Security Number (SSN9). The second field is the combination of name

     (First and Last) and date of birth. I call this linkage field “ND” for Name + Date of Birth.

     The third field, a combination of Address (Street Number and Zipcode) + Date of Birth +

     Gender, I call “ADG”. Table 4 (a replica of Table 6 from my previous report) illustrates

     the three linking fields with an example of a fictional registered voter named John Smith.

     TABLE 4: Summary of Fields Used in Linking TEAM Database to DPS Database


Field Name    Explanation                                 “John Smith” example
SSN9          9-digit social security number              “XXX-XX-XXXX”
ND            First name + Last name + Date of birth      “JOHNSMITH1977-07-04”
ADG           Address + Date of birth + Gender            “655782051976-07-04M”


  12. As in the main report, in addition to calculating statistics for the whole population of

     registered voters, I also look at several subpopulations. In the prior report, I observed a.)


                                                                                                     7
  Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 205 of 355




   registered voters over age 65, b.) 2020 general election voters, c.) voters with overseas

   mailing addresses, and d.) individuals marked in the DPS database as homebound or

   disabled veterans. In this report, I again investigate registrants over 65, registrants who

   voted in 2020, and registrants who have homebound/disabled veteran statuses. Instead of

   looking at voters with overseas mailing addresses (a population that may contain

   members of the armed forces and military families), I investigate registrants who are

   listed with specific codes in TEAM signaling that they have applied for Federal Post Card

   Application (FPCA) registration forms, which are voter registration forms used by

   members of the military, their families, and Americans who are residing overseas. I refer

   to these as FPCA voters. Finally, I also investigate the subpopulation of registrants who

   match to DPS records indicating that their licenses have been “voluntarily surrendered.”

D. Linkage Part I: TEAM Records with missing DPS ID Numbers

13. I divide the analysis into two parts. First, I examine individuals whose TEAM records do

   not show any DPS ID Number. Second, I examine individuals whose TEAM records do

   show a DPS ID Number.

14. Out of 17,330,189 records in TEAM, 494,148 do not have a DPS ID Number listed in the

   voter registration records. If any of these individuals actually has a DPS ID Number, they

   are instructed by the mail ballot application forms to include that DPS ID Number (and

   only that identification number). But SB 1 requires that these forms – the application and

   the ballot carrier envelope – to be rejected because the DPS ID Number is not listed

   within registration records.




                                                                                                 8
  Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 206 of 355




       TABLE 5: TEAM records by Presence/Absence of Unique SSN9 and DPS ID

       Number


                                      Unique SSN9
                                      Present    Absent TOTAL
                DPS ID     Present    16,144,007 692,034 16,836,041
                Number     Absent      102,784   391,364  494,148


15. I link the 494,148 individuals who do not have DPS ID Numbers recorded in TEAM to

   the DPS database using the SSN, ND, and ADG linkage fields that are described in

   Paragraph 11 above.

16. I first link by SSN9. Of the 494,148 individuals without a DPS ID Number, 102,784 have

   a unique SSN9 listed (as noted in Table 5). Of those, 73.33% match to the DPS database

   by their SSN9. A total of 66.76% of the records match to a single DPS ID Number, and

   6.56% link to multiple DPS ID Numbers.

17. I next link these individuals based on ND. As noted in Table 5, most individuals who lack

   DPS ID Numbers on TEAM also lack an SSN9. However, nearly all of the records have a

   unique ND combination. Of the 494,148 lacking a DPS ID Number on TEAM, 482,787

   (97.7%) have a unique ND. Of those who have a unique ND, 25.81% match to a single

   DPS record and 4.58% match to multiple DPS records.

18. I next link these individuals based on ADG. Of 498,148 records lacking a DPS ID

   Number on TEAM, 231,002 (46.74%) have a unique ADG. Recall that many more

   records in the April TEAM data are missing address information than in the January data.

   ADG is the only linking field that makes use of address information. Of those with a

   unique ADG, 38.98% match to a single DPS record and 3.85% match to multiple DPS

   records.



                                                                                            9
   Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 207 of 355




    TABLE 6: Results of Linking TEAM to DPS Records for TEAM Records without a

    DPS ID Number listed


         No Match to DPS       Single Match to DPS        Multiple Match to DPS        Attempted
                                                                                       to Match
SSN9           26.67%                  66.76%                       6.56%                102,784
ND              69.61                   25.81                        4.58                482,787
ADG             57.16                   38.98                        3.85                231,002
Any             57.00                   37.39                        5.58                486,421


 19. Table 6 summarizes the analysis of records that do not have a DPS ID Number listed on

    the TEAM voter file. Each of the first three rows summarizes a linkage between TEAM

    and DPS based on SSN9, ND, and ADG, respectively. For instance, the first row shows

    that I attempted to match 102,784 records in TEAM based on SSN9. This reflects the

    number of TEAM records without a DPS ID Number that include a unique SSN9. Of

    those, 26.67% did not match to DPS. The others did match.

 20. The bottom row of Table 6 provides the overall summary for the TEAM records lacking

    a DPS ID Number. Of the 494,148 total records lacking a DPS ID Number, I attempted to

    link 486,421 (97.65%) to the DPS database. (The other 2.35% did not have a unique or

       complete value for SSN9, ND, or ADG). Of the individuals I attempted to find on DPS,

       43% matched to a DPS record. That amounts to 209,137 registered voters. These

       individuals possess a DPS ID Number and therefore are instructed by Texas’s mail ballot

       forms to list their DPS ID Number (and only their DPS ID Number) on their mail ballot

       application. However, if they follow those instructions and list only that DPS ID Number,

       SB 1 requires their ballot applications, and their ballots, to be rejected because the

       number is not listed on TEAM.




                                                                                                10
  Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 208 of 355




21. Subpopulations: Of the 209,137 individuals who match to DPS and have a DPS ID

   Number even though no such number is listed on TEAM,

               •   83,622 are over age 65

               •   66,001 voted in the 2020 election

               •   32,252 are over 65 AND voted in the 2020 election

               •   1,574 have FPCA statuses

               •   378 individuals matched to DPS records indicating homebound status or

                   disabled veteran status.

   These numbers show that many active voters who are eligible to vote by mail under

   Texas law are listed in TEAM without DPS ID Numbers but do in fact possess DPS ID

   Numbers.

22. Typos in Social Security Number. Among registrants who lack a DPS ID Number

   recorded on TEAM but who match to a record in DPS based on ND or ADG, I compare

   the SSN4 as recorded on the two databases. I find that 3,015 individuals who appear on

   both databases have discrepancies in their SSN4s. If the DPS records of SSN are correct,

   then these 3,015 cases result from inaccuracies on TEAM. They would cause election

   officials to reject mail ballot forms from citizens who include their correct SSN4 on the

   forms.

E. Linkage Part II: TEAM Records Listed with DPS ID Numbers

23. I now turn to the analysis of the 16,836,041 records in which a DPS ID Number is listed

   in the TEAM databases. As noted above in Table 5, 95.9% of these records have a unique

   SSN9 associated with them. I first link these records to DPS by matching on SSN9. Of




                                                                                               11
    Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 209 of 355




       16,144,007 records with a unique SSN9 on TEAM, 99.53% match to a record in DPS.

       However, 16.03% of the records match to more than one DPS ID Number.

  24. Next, I link records based on the ND combination, as described in Paragraph 11 above.

       The ND combination is unique for 16,669,651 individuals who have a DPS ID Number

       listed on TEAM. Of these, 97.36% match to a record in DPS. However, 15.61% match to

       more than one DPS ID Number.

  25. Next, I link records based on the ADG combination, as described in Paragraph 11 above.

       The ADG combination is unique for 12,662,154 individuals who have a DPS ID Number

       listed on TEAM. Of these, 80.74% match to a record in DPS. However, 7.91% match to

       more than one DPS ID Number.

       TABLE 7: Results of Linking TEAM to DPS Records for TEAM Records with a

       DPS ID Number listed


           No Match to DPS      Single Match to DPS      Multiple Match to DPS       Attempted
                                                                                      to Match
SSN9             0.47%                  83.49%                    16.03%             16,144,007
ND                2.64                   81.75                     15.61             16,669,651
ADG              19.26                   72.83                      7.91             12,662,154
Any               1.17                   84.57                     14.25             16,787,046


  26. Table 7 summarizes the analysis of records with a DPS ID Number on the voter file.

       Consider the bottom row. Of the 16,836,041 records in TEAM listed with a DPS ID

       Number, I attempted to link 16,787,046 (99.70%) of them to the DPS database. The

       remaining 0.30% did not have a unique or complete record on SSN, ND, and ADG. Of

       these 16,787,046 records, 98.83% matched to a record in DPS. However, many of them

       are listed more than once on DPS, with multiple ID numbers. These 14.25% of records

       sum up to 2,392,733 records. That is, for 2.4 million Texas registered voters who have a



                                                                                              12
  Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 210 of 355




   DPS ID Number listed, they may put a correct DPS ID Number on their mail ballot

   application form but nevertheless have their application (or their ballot envelope) rejected

   because the DPS ID Number they write down, while correct, happens not to be the DPS

   ID Number recorded on the TEAM file.

27. The 2.4 million figure may be an underestimate. Many DPS ID holders are listed not just

   with one DPS ID Number but they have alternative ID numbers stored as “AKA DL/ID

   Numbers.” Of the TEAM records that linked to a single DPS ID Number, 1,421,849 of

   them linked to a record that listed alternative ID numbers in the “AKA DL/ID Number”

   field. During her April 20, 2022 deposition, Sheri Gibson, chief of the Texas DPS

   driver’s license division, explained that these AKA DL/ID numbers are identification

   numbers associated with the ID holder that are either erroneous or originate from a prior

   version of the state’s license system. If registrants use these alternative identification

   numbers when submitting a mail ballot application or mail ballot, they will also have

   their forms rejected because the AKA DL/ID Numbers are not the identification numbers

   on the voter registration records that are associated with these registrants. However, if

   these ID Numbers are considered by DPS to be erroneous or otherwise invalid (i.e., not

   just “expired,” which does not impact validity for SB 1 purposes), the implications for SB

   1 are unclear to me. Accordingly, in order to perform a conservative analysis, I focus here

   on registered voters who have multiple DPS ID Numbers exclusive of the AKA DL/ID

   Numbers.

28. Subpopulations: Of the 2,392,733 individuals who match to multiple DPS ID Numbers,

               •   166,035 are over age 65

               •   1,060,944 voted in the 2020 election




                                                                                                13
  Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 211 of 355




               •   82,575 are over 65 AND voted in the 2020 election

               •   1,344 have FPCA status

               •   4,134 individuals matched to DPS records indicating homebound status or

                   disabled veteran status.

   These numbers show that many active voters who are eligible to vote by mail under

   Texas law are listed in TEAM with a DPS ID Number but possess multiple DPS ID

   Numbers. If they list a DPS ID Number other than the one that happens to be recorded in

   TEAM, SB 1 requires their mail ballot forms to be rejected.

29. Typos in Social Security Number. Looking just at the last 4 digits of social security

   numbers, I calculate the number of individuals in TEAM who match to records in DPS

   based on ND and ADG, but whose TEAM records show a different SSN4 than is shown

   on DPS. There are 41,900 individuals who appear on DPS with different SSN4s than

   shown on TEAM. If the DPS database is correct and these individuals mark down their

   correct SSN4 on a mail ballot application, then their application will be rejected because

   of incorrectly recorded data in TEAM.

       a. Subpopulations: Of the 41,900 individuals whose SSN4s listed on TEAM do not

           match the SSN4s listed in the DPS database

               •   14,991 are over age 65

               •   27,247 voted in the 2020 election

               •   10,121 are over 65 AND voted in the 2020 election

               •   101 have FPCA status

               •   88 individuals matched to DPS records indicating homebound status or

                   disabled veteran status.


                                                                                            14
  Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 212 of 355




   These numbers show that many active voters who are eligible to vote by mail under

   Texas law are listed in TEAM with an SSN4 that is inconsistent with the SSN4 listed in

   the DPS database.

30. Typos in DPS ID Numbers. Just as there are discrepancies between the SSNs listed in

   TEAM and the corresponding SSNs listed in DPS, there are also discrepancies in DPS ID

   Numbers. Using the methodology for calculating these discrepancies that was explained

   in my previous report, I calculate that 74,897 individuals do not have a DPS ID Number

   in TEAM that matches any DPS ID Number in DPS.

       a. Subpopulations: Of the 74,897 individuals on TEAM who match to DPS on

           SSN9, ND, and ADG, but do not have DPS ID Numbers that correspond to the

           DPS database,

               •   15,835 are over age 65

               •   31,781 voted in the 2020 election

               •   9,475 are over 65 AND voted in the 2020 election

               •   83 have FPCA status

              •    342 individuals matched to DPS records indicating homebound status or

                   disabled veteran status.

31. Voluntary surrender: Out of 36.4 million DPS records, 2,881,780 have a designation of

   “voluntary surrender.” I isolated a subset of the DPS records to just the ones listed with

   the “voluntary surrender” status and I matched the TEAM records based on SSN, ND,

   and ADG to these DPS records. I find that 1,704,499 current registered voters match to a

   “voluntary surrender” ID Number.




                                                                                                15
  Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 213 of 355




32. Most of these 1.7 million registrants seem to have other DPS IDs that are not

   surrendered. After matching the TEAM records to surrendered DPS IDs, I checked to see

   if the DPS ID number listed on the voter file matches to the surrendered ID Number

   listed in DPS. In 1,487,008 cases (87.24%), the current registered voter has a different ID

   number listed than the surrendered ID.

33. The other 217,491 do not have a different DPS ID Number. For the 217,491 registered

   voters who match to a DPS ID record for which the TEAM database shows the same DPS

   ID Number as a surrendered license, these Texans might be at risk of not being able to

   provide the ID Number that election officials have on file.

34. However, DPS’s Sheri Gipson explained in her deposition that the “voluntary surrender”

   status designation is not a reliable indicator of whether a person is in physical possession

   of the card that lists the associated identification number. In some cases – but not in all

   cases – Texans who have “voluntary surrender” status may have physically surrendered

   the card during a surrender transaction. They also may or may not have disposed of the

   card once it was no longer valid. Therefore, I cannot confidently use this designation in

   counts of individuals who may be affected by SB 1. Instead, I treat all DPS ID Numbers

   associated with registered voters to be valid numbers for the purpose of identification

   verification under SB 1. However, if hundreds of thousands of individuals have a DPS ID

   Number listed on TEAM records that is associated with a license that they potentially

   cannot access because it has been physically surrendered or discarded, this likely

   increases the problems associated with SB 1.




                                                                                                 16
  Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 214 of 355




F. Summary of Results from Updated Analysis

35. To comply with the identification verification requirements in SB 1, registered voters

   who have a DPS ID are instructed to record their ID number on a mail ballot application

   and again when submitting a mail ballot. If they do not have an ID number, they must

   record their SSN4. The analysis from the updated TEAM and DPS files show the

   following:

       a. 209,137 registered voters are not listed in TEAM with a DPS ID, but they do have

           a DPS ID. These individuals are instructed to list only their DPS ID, but if they do

           so, their ballot or ballot application will be rejected.

                i. Of these, 83,662 are over 65 years old, 32,252 of whom voted as recently

                   as the 2020 general election.

                ii. Of these, 1,952 have FPCA status or are listed as disabled veterans or as

                   homebound citizens.

       b. 2,392,733 individuals who are listed on TEAM with an associated DPS ID have

           more than one DPS ID Number. If they happen to write down a DPS ID number

           that is correct but is not the DPS ID number recorded in TEAM, their ballot or

           ballot application will be rejected.

                i. Of these, 166,035 are over 65 years old, 82,575 of whom voted as recently

                   as the 2020 general election.

                ii. Of these, 5,478 have FPCA status or are listed as disabled veterans or as

                   homebound citizens.

       c. 44,915 individuals have SSN4s listed in their TEAM records that do not match

           the SSN4s listed in the DPS database.




                                                                                                17
  Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 215 of 355




          d. At least 74,897 individuals who are listed on TEAM registration records with a

             DPS ID Number do not show the same DPS ID Number listed in the DPS

             database.

36. Altogether, over 2.7 million registered voters in Texas (out of 17.3 million) are at risk of

   having a mail ballot or mail ballot application rejected due to identification number

   requirements in SB 1. These numbers do not include individuals who have misplaced or

   surrendered their IDs or who mis-enter information on a mail ballot form. These 2.7

   million individuals can correctly fill out their forms, but their applications and ballots

   would be rejected nonetheless.



   III.      Response to Dr. Hoekstra

37. Dr. Mark Hoekstra’s rebuttal report of March 29, 2022 does not challenge my database

   matching technique or the numbers derived from this technique. Rather, he challenges the

   interpretation of these numbers and the application of the technique to the questions

   raised in this case. Unfortunately, Dr. Hoekstra’s interpretations and assumptions suffer

   from a number of serious flaws. I will address four key problems in his analysis.

             A. Measuring Burdens

38. Dr. Hoekstra approaches this case by asking whether SB 1 makes absentee voting

   substantially burdensome such that it affects the overall rate of voting in Texas elections.

   I do not believe this is the right question. Texas law grants certain voters the right to vote

   by mail. As I have shown, citizens who are fully qualified by Texas law to vote by mail

   will have their applications and mail ballots rejected because the state’s records do not

   actually allow officials to verify voters’ personal identification in the way SB 1 requires.




                                                                                                18
       Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 216 of 355




         The fact that so many Texans, including elderly and disabled citizens and members of the

         military, can fully comply with the law but will nevertheless have ballots rejected seems

         problematic. Whether Texans who are denied the ability to vote by mail can learn about

         the rejection and make other arrangements in time to vote in person on Election Day, thus

         “curing” the problem, is worth considering, and I address it below. But the fact that SB 1

         requires the rejection of mail ballot materials is a problem, even if voters still manage to

         find a way to vote.

    39. However, even if one believes, as Dr. Hoekstra asserts, that the main question here is

         about whether SB 1 will affect turnout rates, Dr. Hoekstra’s analysis is flawed because it

         relies on evidence that is irrelevant to the issues surrounding SB 1. All of Dr. Hoekstra’s

         tables and figures are copied-and-pasted from an article about mail voting and turnout

         rates that was published in 2021 in Science Advances. 3 That article, written by Professor

         Andrew Hall and his students, is first-rate. I assign it to my own students in my course on

         elections. One of its main findings is that 64-year-olds and 65-year-olds in Texas voted at

         the same rate (but using different voting methods) in years prior to the adoption of SB 1.

         The article does not deal with the question of what happens when new burdens, such as

         identification verification requirements, are introduced to voters.

    40. Dr. Hoekstra views the comparison between 64-year-olds and 65-year-olds as a test for

         how burdens on mail voters in general affect overall turnout. For 64-year-olds, Dr.

         Hoekstra views the burden as high. After all, in Texas, a 64-year-old needs an excuse,

         such as they are out of town or sick, in order to cast a ballot by mail. But 65-year-olds

         can choose to vote absentee by mail without a specific reason, so their burden to vote by


3
 Dr. Hoekstra incorrectly identifies the journal in which this article is published. The article “How did absentee
voting affect the 2020 U.S. election?” was published in Science Advances, not Science.


                                                                                                                     19
  Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 217 of 355




   mail is low. Dr. Hoekstra reasons that if 64-year-olds and 65-year-olds have the same

   turnout rates in 2020, as Dr. Hall’s research shows, then burdens on mail voters in

   general do not affect turnout. As Dr. Hoekstra puts it, “it is implausible to believe that the

   much more moderate limitations on absentee voting enacted by SB1 would reduce

   turnout.”

41. To understand why Dr. Hoekstra’s reasoning is flawed, just consider how easy it is for a

   Texan to anticipate if they will be at least 65 years old on Election Day. In contrast,

   consider how difficult it is for a Texan to anticipate if they will have a problem voting by

   mail due to SB 1. They would have to think: “Do election officials have my DPS ID

   Number on record? Is my DPS ID recorded with a typo in state records? I have more

   than one DPS ID, which one do officials have on record? Do officials have my Social

   Security Number on record? Is there a typo in that record?”

42. The contrast in how easy it is to answer the question of how old one is compared to the

   difficulty in answering the questions about SB 1 protocols illustrates why Dr. Hoekstra’s

   comparison of the burdens of SB 1 relative to the burdens of mail balloting prior to SB 1

   is inapt. Baked into the similarity in overall turnout between 64-year-olds and 65-year-

   olds in 2020 (and earlier years) is an awareness on the part of each age group whether

   they qualified to vote by mail. If they did not qualify by age, they knew they would have

   to vote in person or offer a valid excuse. They could plan accordingly. But with SB 1, it

   is likely that many registrants do not know if their identification information matches

   information held by election authorities. They won’t know whether they will get caught

   up in delays and ballot rejections until they are in the midst of the process of trying to

   vote by mail. They won’t know how quickly, or how close to Election Day, it will be




                                                                                                20
  Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 218 of 355




   before they are advised by election officials of a problem with their materials. And, as I’ll

   show below, by that point it is often too late for the voter to be able to correct the

   problem.

43. In analogizing the burdens on mail voting before SB 1 to those created by SB 1, Dr.

   Hoekstra misjudges the issues involved in this case. The burdens of SB 1, particularly the

   burdens created by faulty and incomplete state records that lead to uncertainty on the part

   of a voter of how and whether they can comply with SB 1, are categorically different than

   the burdens of mail voting related to simple and clear rules such as age-based eligibility.

           B. Dr. Hoekstra’s Mischaracterization of a “Simulation”

44. Dr. Hoekstra repeatedly refers to my analysis as a “simulation,” which is a

   mischaracterization of the research. In Dr. Hoekstra’s strawman interpretation, he

   supposes that I am “simulating” an election held under SB 1 and then estimating that 1 in

   7 voters will be affected in that election. This number is preposterous, argues Dr.

   Hoekstra, because it requires “rather extreme assumptions,” such as that everyone in

   Texas attempts to vote by mail, “a set of potential absentee voters that is vastly larger

   than anything seen in Texas history.” I agree it would be preposterous to assume every

   Texas voter would attempt to vote by mail in a single election, but I do not make that

   assumption in my research.

45. My analysis is not a “simulation” of how many voters are likely to be affected by SB 1 in

   any given election. Rather, the analysis shows how many Texans could run into trouble if

   an election was approaching and they wanted or needed to cast a ballot by mail. In the

   first paragraph of my report, I explain that 1 in 7 Texans “can submit a ballot application




                                                                                               21
  Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 219 of 355




   – as well as a ballot itself – in perfect accordance with the state’s instructions under SB 1,

   and yet Texas election officials must still reject the voters’ forms.”

46. In rebutting an argument that I never made, Dr. Hoekstra’s report misses the mark.

   Consider the voters under 65 in Texas. Some may get sick. Some may become disabled.

   Some may expect a baby to come within a few weeks of Election Day. Some may get

   called out of town for work or for a family obligation. Some may be members of the

   military who are called overseas. If we were to “simulate” how many Texans would fall

   into these categories in any specific election, the number would likely be modest. But in

   any given election cycle, it is impossible to anticipate which specific Texans are going to

   be sick or out of town, or become disabled, or expectant of a baby, or called overseas. So,

   the question I answered in my report is how many Texans, should they suddenly fall into

   these categories and therefore become eligible to vote by mail, might have their mail

   ballot materials rejected.

47. To offer an analogy, suppose a hospital in Texas has medical records for 17 million

   citizens. But for 2.6 million of these people, the records are incomplete or incorrect. If

   one of these 2.6 million Texans comes into the hospital to receive treatment, they could

   face a delay in care or, worse, they could be denied medical care altogether. How big of a

   problem are the faulty medical records? Well, since only a small fraction of the public

   will come sick to the hospital in any one year, an analyst could treat the record-keeping

   issues as a small problem. Dr. Hoekstra’s reasoning is akin to the view that few people

   use the hospital each year, so the faulty records are not a serious problem. Plus, in his line

   of reasoning, sick patients could always try to find another hospital. My read of the

   situation is different. Since any one of these 2.6 million people could come to this




                                                                                                22
  Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 220 of 355




   hospital in any year, the fact that the hospital’s records are incomplete or incorrect for so

   many people creates a broad risk to the public.

           C. Mail Voters Including DPS IDs and SSNs in SB 1 Forms

48. Dr. Hoekstra’s report advances an argument that a narrowly-distributed set of guidelines

   to voters should be taken more seriously than the plain text of SB 1 and SB 1’s

   implementation materials.

49. Texas’s mail ballot application states clearly the circumstances under which voters

   should list the last four digits of their social security number (SSN4) on the form: voters

   are instructed to list their social security number only if they do not have a driver’s

   license number or other DPS identification number. The ballot application states, “If you

   do not have a Texas Driver’s License, Texas Personal Identification Number or a

   Texas Election Identification Number, give the last 4 digits of your Social Security

   Number.” This exact same language is printed on the carrier envelope used for

   submitting a mail ballot. The language in the text of SB 1 is similar: “…if the applicant

   has not been issued a number described by Paragraph (A) [a DPS ID number], the

   last four digits of the applicant’s social security number.”

50. In my original report (footnote 4), I explain that the Texas Secretary of State has issued

   guidance that encourages voters to include both a DPS identification number and an

   SSN4 on these documents, if they have both. However, because that guidance is not

   conveyed in SB 1, on the carrier envelopes that most Texans must use, or on the mail

   ballot applications issued by the Secretary of State, my analysis does not presume that

   voters will follow the Secretary’s guidance.




                                                                                                 23
         Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 221 of 355




      51. Dr. Hoekstra considers this a “serious flaw” in my analysis. On multiple occasions in his

           rebuttal report, he draws attention to a February 16, 2022 press release and video message

           in which Secretary of State John Scott recommends that voters write down on mail ballot

           forms both their SSN4 and their DPS ID Number. Dr. Hoekstra writes, “A more credible

           analysis would assess the extent to which voters who could encounter a problem write

           down both numbers, as recommended by the Secretary of State.”

      52. The text of Secretary’s Scott press release summarizes the language of the mail ballot

           materials and the text of SB 1. 4 A voter must record their DPS ID Number, “OR if you

           have not been issued one of the above numbers, the last 4 digits of your Social

           Security Number.” Further down on the webpage, however, and in contrast to the

           language just quoted, the press release continues, “You may put both numbers in the

           spaces provided on your ABBM and Carrier Envelope.”

      53. The Secretary’s website directs readers to a YouTube video statement by the Secretary of

           State. On the video, the Secretary articulates his recommendation that registrants include

           both the SSN4 and DPS ID on the mail ballot forms, even though both are not required.

      54. The Secretary’s message was released approximately two weeks before the March 1,

           2022 election. In an election season involving 15 million nonvoters and 3 million voters

           (including over 150,000 mail voters), the Secretary’s video message has been viewed a

           total of 676 times, as of April 27, 2022. That View Count includes three views by me,

           and probably dozens, if not hundreds, of views by other experts such as Dr. Hoekstra, by

           lawyers, and by government officials. In short, it appears that few ordinary Texas voters

           have viewed Secretary of State Scott’s message.



4
    https://www.sos.state.tx.us/about/newsreleases/2022/021622.shtml


                                                                                                   24
  Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 222 of 355




55. On the one hand, then, we have the text of SB 1 and the text of the standard mail ballot

   request form and the text of the carrier envelope, all of which say that voters should

   include an SSN4 only if they do not have a DPS ID number. On the other hand, we have

   press statements that few have seen but that suggest voters should include both a DPS ID

   and SSN4 when submitting mail ballot forms. Given the differences in the distribution

   rates for the differing interpretations of SB 1, I think it is appropriate to assume voters

   will follow the instructions on the forms that they must fill out rather than the advice of

   Secretary Scott.

   D. Can Voters Correct Problems Caused by SB 1?

56. Dr. Hoekstra’s next argument is that mail voters whose materials are rejected due to SB 1

   can cure the problem and successfully vote either by mail or in person. For this reason, he

   expects SB 1 would not have a measurable impact on voting rates. Dr. Hoekstra performs

   no test of this claim. Rather, he supports the claim through the argument, discussed

   above, that the burdens imposed by SB 1 are smaller than the burdens imposed on 64-

   year-olds prior to 2021. Since 64-year-olds and 65-year-olds voted at the same rates in

   2020, Dr. Hoekstra thinks burdens from SB 1 are “implausible.”

57. As I will now show, through an analysis of voter data from Texas’s March 1 election, Dr.

   Hoekstra’s speculation is clearly wrong. The majority of Texas registrants whose mail

   ballots were rejected by the state failed to have a ballot counted. In addition to this

   evidence, I will also provide data to help explain why voters are unable to vote after their

   ballots are rejected. As is true across the country, mail voters in Texas tend to cast ballots

   at the end of the election season, sending in their ballot very close to the receipt deadline.

   Correcting an error requires knowing about an error, and many voters may not submit


                                                                                                 25
       Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 223 of 355




         mail ballot forms with enough time to learn about an error, particularly if they are not

         immediately responsive to telephone calls from unfamiliar numbers or emails from

         unfamiliar senders. A voter who submits a ballot application near the deadline may not

         learn that the application was rejected due to SB 1 compliance until it is too late to

         correct it. The next section describes the data and analysis of the March 1 election that

         advances these claims.



         IV.      March 1, 2022 Election Analysis

    58. The April voter file export contains voter history data from the March 1, 2022 primary

         election, the first election held under SB 1. I restrict my attention here to records with the

         election date listed as “03-01-2022.” Across the counties, 3,164,179 TEAM records have

         information related to the March 3, 2022 election. Not all of these records appear to be

         records of successful voters. Some represent individuals whose ballots were rejected or

         who sought a mail ballot application but never submitted the ballot.

    59. The database export shows no record of individuals whose mail ballot applications were

         rejected due to SB 1 compliance issues. 5 However, according to the database, 31,107

         records are listed with a code for a reason that their ballots for the March 1 primary were

         rejected. More than 4 in 5 of these (specifically, 25,429 of them, or 82%) are listed with a

         designation related to the SB 1 law. The designation is for ballots that have “Incorrect or

         Missing SSN/ TDL #.” These numbers align fairly closely with Election Director Keith



5
  I would have analyzed rejected applications if they had been made available to me in the TEAM export. In
deposition, Mr. Keith Ingram, director of Texas’s Election Division, testified that fields used to track acceptance and
rejection of mail ballot applications were included in the export. An Excel spreadsheet labeled STATE057755
shows a code of “IS” under a field of “mail in request reject reason” to indicate “Incorrect or Missing SSN / TDL #.”
However, while the April TEAM database export does use this code for rejected ballots, it shows no such code for
rejected mail ballot applications.


                                                                                                                    26
  Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 224 of 355




   Ingram’s April 7, 2022 disclosure indicating a total of 24,636 rejected ballots statewide.

   Mr. Ingram’s report seems to include records of all rejected mail ballots, though, not

   specifically those associated with incorrect/missing identification numbers. Part of the

   discrepancy is attributable to the fact that there are some individuals who have multiple

   rows in the database indicating that ballots were rejected more than one time.

60. A key question is how many of the individuals who had their ballots rejected were then

   able to vote in person or vote by mail following a correction. Dr. Hoekstra asserts that

   voters can easily substitute in-person voting for mail voting, and because of this, there

   really is no meaningful burden. Dr. Hoekstra concludes his rebuttal report by saying that

   “the likely burden on the…registered voters who will either have to cure their ballot or

   vote in person as a result of SB 1 is likely minimal, and quite possibly zero.”

61. As I show just below, Dr. Hoekstra’s assessment is incorrect. But first, it is worth

   showcasing that there are instances that are consistent with Dr. Hoekstra’s theories. There

   are voters whose records indicate that they applied for and received mail ballots in early

   February. But then they seemed to hit a snag. The voter file lists that their ballots were

   rejected, with a code of “IS”, indicating missing or incorrect information in the SSN or

   DPS ID fields. Fortunately, on other rows in the voter file, the record shows that these

   same voters, whose mail ballots were rejected, ended up casting ballots in-person on

   March 1.

62. The scenario I just outlined seems to be the kind of story that Dr. Hoekstra has in mind,

   namely, a voter hit a problem with SB 1 compliance but was then able to vote in person.

   However, these cases represent the minority of impacted voters. Out of 25,429

   individuals who had mail ballots rejected on account of missing/incomplete identification




                                                                                                27
  Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 225 of 355




   numbers, only 6,509 (25.60%) have records indicating that they cast an accepted mail

   ballot or voted in person. The remaining 18,920 (74.40%) are recorded as not having cast

   a vote. That is, 3 out of 4 Texans who had their mail ballot rejected due to SB 1

   requirements did not go on to successfully cast a ballot in the election.

63. Dr. Hoekstra did not just argue that few Texans would be affected by SB 1. He argued

   specifically (paragraph 30) that, conditional on a registrant having to cure their ballot

   due to SB 1, there would be little or no consequence for turnout. However, as just shown

   with the state’s data, among qualified Texans who went through the trouble of applying

   for and submitting a mail ballot and then had their mail ballot rejected due to SB 1, 3 out

   of 4 of them ended up not having any ballot counted in the March 1 primary at all.

   The Timing of Mail Ballots

64. If mail applicants and mail voters have materials rejected, they are supposed to be

   notified by phone and/or email. But if they are not immediately responsive and/or they

   submit forms right before the deadline, then it might not be possible for them to cure the

   problems presented by SB 1. It turns out that many mail voters submit forms very close

   to the deadline.

65. Consider the calendar for the March 1 state primary in Texas. Texans could send

   applications for a mail ballot as early as January 1, 2022. Applications had to be received

   by election officials no later than February 18. In the TEAM records, 260,275 registrant

   records are listed as submitting an absentee ballot application. Figure 1 shows the dates

   on which those applications were received.




                                                                                               28
     Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 226 of 355




   FIGURE 1




Note: “Jan 1” includes a handful of records that are listed as submitted prior to Jan 1. “LATE”
combines all dates after February 18.


   66. As Figure 1 shows, out of the 49-day period in which registrants could submit a ballot

       application, almost no applications were received for the first third of the timespan. Then,

       starting on January 18, weekdays saw a consistent stream of applications, up until (and,

       actually, after) the February 18 deadline. In fact, of all the applications that were received

       before the deadline, 1 in 5 were received in the last week (February 12-February 18).

       Another 9,973 applications were received after the deadline.




                                                                                                  29
     Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 227 of 355




FIGURE 2




Note: “Feb 1” includes a handful of records that are listed as submitted prior to Feb 1. “LATE”
combines all dates after March 3.


   67. Figure 2 shows the pattern of dates in which the ballots themselves were received. These

       data include 196,831 records and include ballots that were received late or were

       otherwise marked invalid. Here, the pattern looks different than in Figure 1 in that the

       bars rise as Election Day approaches. As the election date gets closer, there are, on

       average, more ballots each day. In fact, the last week of eligibility (from February 25

       until March 3) shows 39% of ballots received by election officials. Over 11% of ballots




                                                                                                  30
       Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 228 of 355




         submitted on time were received on a single date, February 28, the day before Election

         Day.

    68. These patterns suggest that voters may have difficulty addressing problems in mail

         balloting due to SB 1. Given that 1 in 5 Texans who submit applications on time do so in

         the last week of eligibility, and given that 2 in 5 Texans who submit ballots on time do so

         in the last week of the election season means that many voters may not learn that they

         must address problems caused by SB 1 until it is too late. 6 This concern is particularly

         salient given that three-quarters of individuals whose mail ballots were rejected due to SB

         1 did not go on to vote by any method.



         V.       Summary of Findings

    69. In this report, I have updated my analysis of TEAM and DPS data using more recent

         exports from the State of Texas. The results of this new analysis are consistent with the

         analysis of my prior report: many Texans can submit mail ballot forms correctly and yet

         their forms will be rejected due to deficiencies in state records.

    70. Furthermore, I have addressed the major points raised by Dr. Hoekstra. Unlike other

         requirements on mail voters in Texas (e.g., the requirement to have an excuse to vote by

         mail if under age 65), SB 1 requires eligible voters to know detailed information about

         state record-keeping in order to vote by mail without risk of being rejected due to no fault

         of their own. While rejected voters can, in theory, cure errors by not voting by mail, and



6
  According to Texas statute, Section 87.0271(c), in the days right before an election, election officials may try to
notify voters by phone or email and instruct them in how to cure a problem, such as coming in person to vote at the
early voting clerk’s office. Furthermore, voters may be able to cure some SB 1 problems by providing identification
verification during a grace period following an election. However, it is not clear the extent to which officials are able
to make contact with registrants whose ballots/applications are rejected to SB 1. Clearly, the March election data
shows that most voters with ballots rejected due to SB 1 did not end up voting.


                                                                                                                      31
     Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 229 of 355




      instead voting in person, the March 1 election data confirms that three-quarters of

      rejected voters did not successfully vote in the election after their ballots were rejected

      due to SB1.




      I declare under penalty of perjury under the laws of the United States that the forgoing is
      true and correct to the best of my knowledge.


DATED this 4th Day of May, 2022.




      ________________________
      Eitan Hersh




                                                                                                    32
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 230 of 355




              EXHIBIT
                56
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 231 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 232 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 233 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 234 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 235 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 236 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 237 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 238 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 239 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 240 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 241 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 242 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 243 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 244 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 245 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 246 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 247 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 248 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 249 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 250 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 251 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 252 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 253 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 254 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 255 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 256 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 257 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 258 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 259 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 260 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 261 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 262 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 263 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 264 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 265 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 266 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 267 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 268 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 269 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 270 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 271 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 272 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 273 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 274 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 275 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 276 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 277 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 278 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 279 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 280 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 281 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 282 of 355




              EXHIBIT
                57
     Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 283 of 355




                                   ADDENDUM TO
                                  Second Supplement to
      Report on Identification Number Requirements for Mail Balloting under SB 1


                                  United States v. Texas


              United States District Court for the Western District of Texas




___________________
Eitan Hersh
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Department of Political Science
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May 8, 2023




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     Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 284 of 355



I.        Summary

1. In Part IV of my February 3, 2023 report (“Second Supplemental”), I compared the successful

      mail voting rates in the November 2022 election of individuals whose records I had deemed “at

      risk” for a ballot being rejected on account of the identification requirements in SB 1 with the

      successful mail voting rates of those not deemed “at risk.” I found that at-risk voters successfully

      voted by mail at a significantly lower rate than other voters. In his March 3, 2023 rebuttal report,

      the State’s witness, Dr. Mark Hoekstra, raised questions about this analysis. He suggested that my

      analysis had not accounted for the possibility that voters in the at-risk pool a.) could have been

      rejected for reasons unrelated to SB 1, b.) simply substituted voting in-person for voting by-mail,

      and c.) exhibit different voting rates from other voters for reasons that are correlated with being in

      the at-risk pool but have nothing to do with SB 1 compliance (See Hoekstra at Paragraph 21).

2. Following my review of Dr. Hoekstra’s report but before my April 20, 2023 deposition, I

      conducted additional, informal analyses to answer questions raised by Dr. Hoekstra, such as

      checking whether “at-risk” voters did indeed substitute in-person voting for mail voting. During

      the deposition, the counsel for the State asked if I had done analysis since writing my last report. I

      disclosed I had done an analysis related to Dr. Hoekstra’s comments, though I had not formally

      written up computer code nor written up my notes. At my deposition, the State’s counsel asked

      that I share an updated analysis.

3. Responsive to the State’s counsel’s request, I went back to the database and conducted the

      updated analysis that I report on here. I am also providing updated programming code to

      accompany this addendum. In short, the updated analysis shows that voters in the “at-risk” pool

      who applied for a mail ballot (successfully or unsuccessfully) were significantly less likely to

      successfully vote (either by mail or in person) in the November 2022 election. This finding

      cannot be explained by substitution of in-person voting for voting by mail. The finding also

      cannot be explained by key demographic or geographic factors (e.g., age, county of residence).

      Registered voters in the at-risk population who apply for a mail ballot are more than twice as


                                                                                                             2
       Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 285 of 355



          likely as other voters to have a record in the TEAM database indicating that their ballot was

          rejected due to SB 1. This evidence is consistent with the view that the 2.7 million Texans for

          whom identification numbers are incorrectly or incompletely recorded in TEAM are significantly

          more likely than other voters to have ballots rejected and to fail to successfully vote because of

          SB 1.

    II.       Analysis

    4. I start the analysis with the 8,178,445 TEAM records that indicated any kind of interaction with

          election officials related to the November 8, 2022 election (See Paragraph 14 of Second

          Supplemental Report). Of these records, 422,605 have an “application status” code, which

          indicates that the registrant requested a mail ballot, and 390,012 have a “ballot type” code, which

          indicates that the registrant successfully requested a mail ballot.1 TEAM does show some records

          of individuals with an “application status” code who do not have a “ballot type” code. TEAM

          also shows some records of individuals who have a “ballot type” code but not an “application

          status” code. I perform analyses of voter turnout here separately among those who have an

          indicator that they requested a ballot and among those who have an indicator they were sent a

          mail ballot. The results are substantively the same either way.

    5. While there are 8,178,445 records in TEAM associated with the November 2022 election, tens of

          thousands of individuals are listed multiple times. For instance, a person might have one record

          indicating she had a mail ballot rejected and then a separate record indicating that she had a mail

          ballot accepted. In this analysis, I create a file where each person is listed once, and I record for

          that person whether she has any records in TEAM at all indicating she a.) requested a ballot, b.)

          received a ballot, c.) voted by mail, and d.) voted at all.




1
  In the Second Supplemental analysis, I focused on individuals who successfully requested a mail ballot. These are
records that have a ballot type designation as “AB” in TEAM. However, as an alternative, one can base this analysis
on the application status field so as to include individuals who tried, but failed, to receive a mail ballot. The
decision, one way or the other, does not affect any of the core results, as I will show here.


                                                                                                                  3
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 286 of 355
  Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 287 of 355



7. As Table 1 shows, regardless of whether one measures the voting rates among those who

    requested ballots or were sent ballots, Texas registrants in the at-risk pool who attempted to vote

    by mail are over 6 percentage points less likely to successfully vote by mail and 8.5 percentage

    points less like to successfully vote at all, compared to those not in the at-risk pool. All the

    differences in this table are highly statistically significant (p < .0001). Note that the version of

    this analysis from my Second Supplemental Report is the 6.2 percentage point difference in mail

    voting among those who were sent a mail ballot (bottom left of Table 1). Table 1 here shows

    three additional comparisons, finding a consistent, large difference in participation rates among

    those in the at-risk pool and those not in the at-risk pool.

8. Dr. Hoekstra raised the possibility that the individuals who are in the “at-risk” pool are different

    from those not in the “at-risk” pool in ways that are correlated with voter turnout but have

    nothing to do with identification numbers. Dr. Hoekstra performed no analysis on this point, and

    his critique is undermined by the fact that the analysis here is conditioned on individuals

    requesting a ballot. However, responsive to Dr. Hoekstra’s critique, I analyzed the data with two

    key control variables, age and county.

9. As noted in my February 28, 2022 report, at Paragraph 77, registrants without a DPS ID on

    TEAM tend to be older than other registrants. Suppose that, conditional on requesting a ballot, the

    at-risk pool has a higher share of older voters and that those older voters are more likely to not

    successfully vote. A regression analysis that controls for age is responsive to a challenge of this

    sort.

10. In a regression framework, I also control for county variation using county fixed-effects.

    Including county fixed-effects accommodates a concern that what is explaining the lower rates of

    successful voting in the at-risk pool is related to specific counties that have disproportionate share

    of the at-risk pool and disproportionate share of individuals who try, but fail, to vote after

    requesting an absentee ballot.




                                                                                                           5
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 288 of 355
  Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 289 of 355



13. A final piece of evidence that confirms that identification issues are at the heart of differences

       between the at-risk pool and the non at-risk pool comes from the ballot codes in TEAM indicating

       a ballot was rejected on account of ID issues. As noted in my Second Supplemental report

       (Paragraph 19), over 11,000 records show a rejection code related to identification issues. Are

       those rejection codes concentrated in the at-risk population? Yes.

              2.8% of Texas registrants who were sent a ballot and are not in the at-risk pool had their

               ballot rejected due to SB 1 identification requirements.

              6.4% of Texas registrants who were sent a ballot and are in the at-risk pool had their

               ballot rejected due to SB 1 identification requirements.


       This rate for the at-risk registrants is more than double the rate of those not in the at-risk pool, and

       the difference is, again, statistically significant at the p <.0001 level.


III.       Conclusion

14. As requested by the State’s counsel at my deposition, this addendum summarizes the additional

       analysis I conducted following my review of Dr. Hoekstra’s March 3, 2022 report. The main new

       analysis I performed responded to the question of whether at-risk voters were less likely to vote at

       all in the November 2022 election or just less likely to vote by mail. I have found that the at-risk

       voters are significantly less likely than the non-at-risk voters to vote and to vote by mail. This

       finding is robust when controlling for age and county, and when setting aside individuals who

       requested their mail ballots to be cancelled. I further show that those in the at-risk pool are more

       than twice as likely as other voters to have ballots rejected specifically on account of SB 1

       identification requirements. The findings strengthen the conclusions of my previous report that

       individuals for whom TEAM incorrectly or incompletely records identification numbers are

       significantly less likely to vote on account of identification requirements of SB 1.




                                                                                                              7
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 290 of 355




 I declare under penalty of perjury under the laws of the United States that the forgoing is
 true and correct to the best of my knowledge.

 DATED this 8th Day of May, 2023.




 Eitan Hersh




                                                                                               8
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 291 of 355




              EXHIBIT
                58
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 292 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 293 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 294 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 295 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 296 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 297 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 298 of 355




              EXHIBIT
                59
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 299 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 300 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 301 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 302 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 303 of 355




              EXHIBIT
                60
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 304 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 305 of 355




              EXHIBIT
                61
             Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 306 of 355
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                     !"#ÿ%&ÿ'!(()*ÿ!+,ÿ-) ."*ÿ/0ÿ/+1)2!*3)+
                     4567ÿ89:;<7ÿ=75>ÿ89:?ÿ@ABB9>ÿ@8ÿCADBÿ>9ÿ89:?ÿ69:5>8;=ÿEA?B8ÿF9>D5GÿHB7?IJÿ89:ÿ6A5ÿ6K76Iÿ>K7ÿ=>A>:=ÿ9L
                     89:?ÿCADBMD5ÿ@ABB9>ÿ>K?9:GKÿ9:?ÿNABB9>ÿ@8ÿOADBÿP?A6I7?JÿA<ADBA@B7ÿ95ÿ>K7ÿP7QA=ÿR76?7>A?8ÿ9LÿR>A>7;=
                     SO8ÿF9>7?ÿT9?>ABU;
                     P9ÿ>?A6Iÿ89:?ÿCADBMD5ÿ@ABB9>Jÿ89:ÿC:=>ÿ75>7?ÿ>K7ÿL9BB9VD5GÿD5L9?CA>D95W
                          XD?=>ÿYAC7
                          ZA=>ÿYAC7
                          [A>7ÿ9LÿND?>K
                          PK7ÿBA=>ÿ\ÿ]DGD>=ÿ9Lÿ89:?ÿR96DABÿR76:?D>8ÿY:C@7?
                          ^9:?ÿ[?D<7?;=ÿZD675=7ÿ9?ÿ[7_A?>C75>ÿ9LÿT:@BD6ÿRAL7>8ÿT7?=95ABÿ̀[ÿ5:C@7?
                          ^9:?ÿ?7=D]75>DABÿA]]?7==ÿaC:=>ÿA__7A?ÿ7QA6>B8ÿA=ÿBD=>7]ÿ95ÿ89:?ÿ<9>7?ÿ?7GD=>?A>D95ÿ?769?]UÿP9
                          B99Iÿ:_ÿ>K7ÿA]]?7==ÿBD=>7]ÿ95ÿ89:?ÿ<9>7?ÿ?7GD=>?A>D95ÿ?769?]Jÿ:=7ÿ>K7ÿSbCÿ̀ÿc7GD=>7?7]d;ÿ>99Be
                          HD>8
                          f`Tÿ69]7
                     g)hÿ*)ÿ-) ."*ÿ!ÿ0.1."*ÿ)+ÿ&)iÿjkk(3"!*3)+ÿ1)ÿ'!(()*ÿl&ÿ%!3(
                     `Lÿ89:ÿ?767D<7]ÿAÿ59>D67ÿaT[Xeÿ>KA>ÿ89:?ÿbNNOÿVA=ÿ?7m76>7]ÿ@76A:=7ÿ89:ÿ]D]ÿ59>ÿ_?9<D]7ÿA5
                     D]75>DLD6A>D95ÿ5:C@7?ÿ9?ÿ>K7ÿ5:C@7?ÿD56B:]7]ÿ95ÿ89:?ÿbNNOÿ]D]ÿ59>ÿCA>6Kÿ957ÿ9Lÿ>K7ÿ5:C@7?=
                     A==96DA>7]ÿVD>Kÿ89:?ÿ<9>7?ÿ?7GD=>?A>D95ÿ?769?]Jÿ89:ÿCA8ÿ69??76>ÿ>K7ÿ]7L76>ÿ95BD57ÿ>K?9:GKÿ>K7ÿP7QA=
                     R76?7>A?8ÿ9LÿR>A>7n=ÿNABB9>ÿ@8ÿOADBÿP?A6I7?UÿoK75ÿ89:ÿB9GÿD5ÿ>9ÿ>K7ÿNABB9>ÿ@8ÿOADBÿP?A6I7?Jÿ89:ÿVDBBÿ@7
                     _?9C_>7]ÿ>9ÿ75>7?ÿ89:?ÿ_7?=95ABÿD]75>DLD6A>D95ÿ5:C@7?a=eUÿ4567ÿ89:?ÿ_7?=95ABÿD]75>DLD6A>D95
                     5:C@7?ÿD=ÿ<ABD]A>7]ÿ@8ÿ>K7ÿOADBÿNABB9>ÿP?A6I7?Jÿ>K7ÿb__BD6A>D95ÿL9?ÿAÿNABB9>ÿ@8ÿOADBÿ89:ÿ_?7<D9:=B8
                     =:@CD>>7]ÿVDBBÿ@7ÿ_?967==7]U
                     P9ÿ:>DBDp7ÿ>K7ÿNABB9>ÿ@8ÿOADBÿP?A6I7?Jÿ89:ÿC:=>ÿ75>7?W
                           ^9:?ÿP7QA=ÿ[?D<7?;=ÿZD675=7ÿY:C@7?ÿ9?ÿP7QA=ÿT7?=95ABÿ̀]75>DLD6A>D95ÿY:C@7?JÿbY[
                           PK7ÿBA=>ÿL9:?ÿ]DGD>=ÿ9Lÿ89:?ÿ=96DABÿ=76:?D>8ÿ5:C@7?qÿbY[
                           ^9:?ÿ?7=D]7567ÿA]]?7==ÿA=ÿBD=>7]ÿD5ÿ89:?ÿ<9>7?ÿ?7GD=>?A>D95ÿ?769?]
                     `Lÿ89:ÿ?767D<7]ÿAÿ59>D67ÿ>KA>ÿ89:?ÿbNNOÿVA=ÿ?7m76>7]ÿL9?ÿA59>K7?ÿ?7A=95Jÿ89:ÿCA8ÿ@7ÿA@B7ÿ>9ÿ6:?7ÿ>K7
                     ]7L76>ÿ@8ÿ=:@CD>>D5GÿAÿ57VÿbNNOÿaT[Xeÿ>9ÿ89:?ÿ69:5>8n=ÿEA?B8ÿF9>D5GÿHB7?IÿVD>Kÿ>K7ÿ69??76>7]
                     D5L9?CA>D95U
                     P9ÿ695LD?Cÿ89:?ÿD5L9?CA>D95ÿA=ÿBD=>7]ÿ95ÿ89:?ÿ<9>7?ÿ?7GD=>?A>D95ÿ?769?]ÿ@7ÿ=:?7ÿ>9ÿ<D=D>ÿ>K7ÿnbCÿ̀
                     c7GD=>7?7]dnÿ>99Bÿ95ÿ>K7ÿP7QA=ÿR76?7>A?8ÿ9LÿR>A>7n=ÿO8ÿF9>7?ÿT9?>ABU
                     `Lÿ89:ÿKA<7ÿ=_76DLD6ÿr:7=>D95=ÿA@9:>ÿ89:?ÿ?7GD=>?A>D95ÿ9?ÿ>K7ÿ=>A>:=ÿ9Lÿ89:?ÿb__BD6A>D95ÿL9?ÿNABB9>ÿ@8
                     OADBJÿ89:ÿ=K9:B]ÿ695>A6>ÿ89:?ÿ69:5>8ÿ7B76>D95=ÿ9LLD67U
                     sstuvwÿx yÿÿ ÿyÿÿ ÿ zÿÿ{{ÿÿ ÿ{| 
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Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 307 of 355




              EXHIBIT
                62
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 308 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 309 of 355




              EXHIBIT
                63
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 310 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 311 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 312 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 313 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 314 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 315 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 316 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 317 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 318 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 319 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 320 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 321 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 322 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 323 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 324 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 325 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 326 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 327 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 328 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 329 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 330 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 331 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 332 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 333 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 334 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 335 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 336 of 355




              EXHIBIT
                64
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 337 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 338 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 339 of 355




              EXHIBIT
                65
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 340 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 341 of 355




              EXHIBIT
                66
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 342 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 343 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 344 of 355




              EXHIBIT
                67
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 345 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 346 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 347 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 348 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 349 of 355




              EXHIBIT
                68
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 350 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 351 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 352 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 353 of 355




              EXHIBIT
                69
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 354 of 355
Case 5:21-cv-00844-XR Document 609-9 Filed 05/26/23 Page 355 of 355
